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               IHS Chemical




               Chemical Economics
               Handbook
               Titanium Dioxide
               (788.5000)


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Summary
Titanium dioxide (TiO2) is the standard white pigment used principally in paints, paper and plastics. It is
the most important pigment in the world, accounting for approximately 70% of total volume. Titanium
dioxide is made by processing a variety of titanium-containing minerals such as ilmenite and rutile. Rutile
has a titanium dioxide content of 9496%, making it highly desirable as a feedstock. However, ilmenite is
much more plentiful, but has a titanium dioxide content of 50–60%, so it is usually upgraded, or
beneficiated, to a titanium dioxide content of 80% (titanium slag) or 94% (synthetic rutile). The feedstock
is treated with either chlorine or sulfuric acid, followed by oxidation and further processing to 98+% TiO2
purity. The pigment is then surface treated to make it easier to process in various end-use applications.

The year 2014 was characterized by poor titanium dioxide market demand, which resulted in further
consolidation among the top producers. Other factors that came into play were that China became a major
producer increasing supply, while demand declined with the slowdown in Chinese construction. In 2013,
Huntsman announced it was acquiring Rockwood Holdings’ titanium dioxide and pigments business for
$4 billion, making it the second-largest titanium dioxide producer in the world after DuPont.

Despite the decline in demand in 2014, some additional new capacity came online in 2014, with
additional projects under construction or planned. In March 2014, Walter Liew, the man who stole
DuPont’s chloride-process titanium dioxide secrets and sold them to China’s Panang Company, was
found guilty in a California court of espionage. For years, Western-based producers of chloride-process
titanium dioxide had been reluctant to build in China for fear of losing their technological advantages. In
2014, China accounted for 32% of global titanium dioxide supply, with exports increasing by 50%. Three
new Chinese titanium dioxide plants began construction in 2014, and when completed will add an
additional 220 thousand metric tons of capacity.

Demand for nanoparticle titanium dioxide for use in high-efficiency photovoltaic (PV) installations is
expected to increase demand for titanium dioxide during 2014–19. Titanium dioxide nanoparticles are
used as a semiconductor in this technology, making it more economical and efficient.

In 2014, global titanium dioxide capacity is estimated at 8.5 million metric tons, up from 7.5 million
metric tons in 2011. Meanwhile Chinese capacity has increased nearly 30% from 2011 at 2.8 million
metric tons to 3.7 million metric tons in 2013. In 2014, Chinese titanium dioxide capacity is 44% of total
world capacity, up from 38% in 2011.

In 2014, the paints and pigments industry faced substantial challenges in the western hemisphere as
Asian, in particular Chinese, producers increased levels of cheaper finished product. This has resulted in
destocking of inventories, which is projected into 2015 and will result in a slow increase in titanium
dioxide production and consumption.

In an effort to be more environmentally friendly and economically viable, the Chinese government is
advocating the chloride process, and as a result the small sulfate-process plants are expected to decline or
be phased out.

Currently, the major feedstock producing regions are Australia, South Africa, Canada, and India, with
Australia being the largest. The world feedstock market was estimated at 7.5 million metric tons of
titanium dioxide content in 2014. Approximately 94% is used as feedstock for titanium dioxide pigments,
with the remainder (about 500 thousand metric tons in 2014) used in the production of ceramics, stick-
and wire-based welding electrodes, asbestos-free brake pads, ceramic glaze for roofing tiles, catalysts,
ferrotitanium, and titanium metal.

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Titanium dioxide is produced by more than 70 producers in China and approximately 20 producers
elsewhere. The average capacity of Chinese plants is about 40 thousand metric tons per year, while non-
Chinese plants have an average annual capacity of 60 thousand metric tons. Between the end of 2011 and
the end of 2014, there has been 850 thousand metric tons of capacity added in China, compared with less
than 100 thousand metric tons in the rest of the world.

In about 80% of applications, either sulfate- or chloride-based TiO2 can be used, but for environmental,
economic and quality reasons, chloride-process plants continue to be favored over sulfate plants in
industrialized countries, particularly for new production facilities. In the Western world, output from
sulfate plants has stagnated for 20 years, while the incremental growth in consumption has been satisfied
by increases in chloride process output. The situation has been different in China in the past, however, as
practically all plants are based on sulfate technology using domestic ilmenite as a feedstock. This trend
has already started to change over the last three years. Of the 850 thousand metric tons of new capacity
added in China over the last three years, 310 thousand metric tons is for chloride-based TiO2. Over the
next five years, it is estimated that 680 thousand metric tons (58%) of the new 1,180 thousand metric tons
of capacity additions in China will produce titanium dioxide by the chloride process.

The following table presents world TiO2 capacity by region and process for 2014:

                       World Capacity for Titanium Dioxide—2014
                       (thousands of metric tons, gross weight)
                                                             Sulfate-   Chloride-
                                                              Based       Based        Total
                       North America                             17        1,783       1,800
                       Central and South America                  60           --          60
                       Western Europe                            640         765       1,405
                       Central Europe                            162           --        162
                       CIS                                       170           --        170
                       Middle East                                 --        200         200
                       Africa                                     25           --          25
                       Japan                                     209          84         293
                       China                                   3,367         340       3,707
                       Other Asia                                166         200         366
                       Oceania                                     --        250         250
                       Total                                   4,816       3,622       8,438
                       Source: IHS Chemical estimates.
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In 2014, the total global market for TiO2 was about 6.4 million metric tons, worth about $20 billion. The
2014 world supply/demand summary for titanium dioxide is as follows:




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World Supply/Demand for Titanium Dioxide
(thousands of metric tons)
                                                                                                    Average Annual
                                 Annual                                                               Consumption
                               Nameplate                                                              Growth Rate,
                                Capacity    Production Imports Exports           Consumption               2014–19
                             2011 2014 2019      2014    2014    2014          2011 2014 2019             (percent)
North America
 United States              1,541 1,546 1,546       1,280        215     671   724    824     932                  2.5
  Canada                           99   102   102     92          88      70    82    110     121                  2.0
  Mexico                      152       152   352    142          98     151    85      89    106                  3.5
 Total                      1,792 1,800 2,000       1,514        401     892   891 1,023 1,159                    2.5%
Central and
South America
  Brazil                           60    60    60     58         144       2   187    200     231                  2.9
  Other                            --    --    --      --        130       2   141    128     147                  2.9
 Total                         60    60    60          58        274       4   328   328   379                    2.9%
Western Europe              1,394 1,405 1,310       1,257        487     484 1,241 1,260 1,336                      1.2
Central Europe                146   162   162         122        190      60   230   252   288                      2.7
CIS                           158       170   210    141          59      91   108    109     115                  1.1
Middle East                   140       200   250    180          81      70   151    191     232                  4.0
Africa                             25    25    25     22         116       1   118    137     159                  3.0
Asia
  China                     2,857 3,707 4,887       2,498        220     554 1,652 2,173 2,854                     5.6
  Japan                       303       293   293    177          93     103   206    167     170                  0.4
  Other Asia                  393       366   366    268         735     319   637    685     829                  3.9
  Oceania                     250       250   250    200          30     173    54      57     75                  5.6
  Total                     3,803 4,616 5,796       3,143       1,078   1,149 2,549 3,082 3,928                   5.0%
Total - World               7,518 8,438 9,813       6,437       2,686   2,751 5,616 6,382 7,596                   3.5%
Source: IHS Chemical estimates..
                                                                                                           © 2015 IHS



 The major consuming industries for TiO2 pigments are paints and surface coatings, plastics, and paper
 and paperboard. Consumption tends to parallel general economic trends for these end-use applications.
 The following chart presents the world consumption of titanium dioxide by end use in 2014:




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                                                                              2014
                             World consumption of titanium dioxide by end use

                                                                         Other
                                                                          5%
                                                           Paper
                                                            9%




                                               Plastic
                                                25%
                                                                                               Paint and
                                                                                               Coatings
                                                                                                 61%



                             Source: IHS Chemical estimates based on company reports                       © 2015 IHS




Ultrafine grades of titanium dioxide (particle sizes between 1 and 150 nanometers) are used as catalysts,
UV blockers, color pigment precursors, and electroceramics. This area is growing, but is relatively small
and will not affect the overall market significantly.

North American consumption has dropped noticeably during the last decade, mainly due to the decrease
in coatings consumption caused by the poor construction and manufacturing markets. Paint and coatings
remains the largest outlet, accounting for almost 60% of consumption. Western European and Japanese
consumption remains stagnant. The real driver to growth is China, where the coatings and plastics
industries continue to expand at high rates. The potential remains high. Per capita consumption of TiO2 in
China is about 1.1 kilograms per year, compared to 2.7 kilograms for Western Europe and the United
States.

The following table shows how regional consumption patterns have changed in recent years:

    World Consumption of Titanium Dioxide
    (thousands of metric tons, gross weight)
                                                                                                                        Average Annual
                                                                                                                          Growth Rate,
                                                                                                                               2014–19
                                                     2004              2008            2011    2014          2019             (percent)
    North America                                    1,338               980             891   1,023         1,159                  2.5
    Central and South America                          225               295             328     328           379                  2.9
    Western Europe                                   1,183             1,241           1,241   1,260         1,336                  1.2
    Central Europea                                      239              280            230     252           288                   2.7
    CIS                                                    --               --           108     109           115                   1.1
    Middle East                                           92              104            151     191           232                   4.0
    Africa                                                74               82            118     137           159                   3.0
    Japan                                                221              212            206     167           170                   0.4
    China                                                757              966          1,652   2,173         2,854                   5.6
    Other Asia                                           482              544            637     685           829                   3.9
    Oceania                                               45               50             54      57            75                   5.6
    Total                                            4,656             4,754           5,616   6,382         7,596                 3.5%
    a. Central Europe includes CIS countries under the definition Central and Eastern Europe in 2004 and 2008.
    Source: IHS Chemical estimates.
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The following three pie charts illustrate how consumption patterns have changed between 2011 and 2014,
and the forecast consumption by region in 2019:

                                                                          2011
                          World consumption of titanium dioxide by region

                                                               Middle East
                                                 Central and   and Af rica
                                                   South           5%
                                                  America
                                                    6%
                                                                                        China
                                                                                        29%
                                    Other Asia
                                   and Oceania
                                       16%




                                            North
                                           America
                                            16%
                                                                                  Europe and
                                                                                     CIS
                                                                                     28%

                                                      Total = 5.6 million metric tons

                          Source: IHS Chemical                                                  © 2015 IHS




                          World consumption of titanium dioxide by region 2014

                                                 Central and Middle East
                                                   South     and Af rica
                                                  America        5%
                                                    5%

                                   Other Asia
                                  and Oceania                                           China
                                      15%                                               34%




                                         North
                                        America
                                         16%
                                                                             Europe and
                                                                                  CIS
                                                                                  25%
                                                      Total = 6.4 million metric tons

                          Source: IHS Chemical                                                  © 2015 IHS




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                                                                                 2019
                                 World consumption of titanium dioxide by region
                                                                Central and
                                                                  South
                                                                 America
                                                    Middle East    5%
                                                    and Af rica
                                                        5%

                                          Other Asia
                                         and Oceania
                                                                                               China
                                             14%                                               37%




                                                North
                                               America
                                                15%


                                                                       Europe and
                                                                           CIS
                                                                          24%
                                                             Total = 7.6 million metric tons

                                 Source: IHS Chemical                                                  © 2015 IHS




Between 2011 and 2014, China increased its share of total world titanium dioxide consumption from 29%
to 34%, and is forecast to further increase its share to 37% by 2019. An average annual growth rate of
about 5.6% is forecast for Chinese consumption over the next five years.

The largest producers of titanium dioxide are as follows:

      Major World Producers of Titanium Dioxide—2014
                                                                          Annual Capacity
                                                       (thousands of metric tons)              Percent of
       Global                                                   Middle East                        World
      Position Company                    Americas Europe CIS    and Africa Asia Pacific Total  Capacity
         1    DuPont                         1,102       --  --            --       160 1,262       15.0
           2       Huntsmana,b                          78        742       --                 25             60    905        10.7
           3       Cristal                          275           190       --             200              100     765         9.1
                             a
           4       Kronos                           180           383       --                 --              --   563         6.7
           5       Tronox                           225             90      --                 --           150     465         5.5
           6       DF Group                             --           -- 170                    --             --    170         2.0
           7       ISK                                  --           --     --                 --           167     167         2.0
                   Total                         1,860          1,405 170                  225              637 4,297       50.9%
      a. Includes interest in 50/50 Louisiana Pigment joint venture.
      b. Includes Sachtleben and Sachtleben Chemie as of October 2014, when the titanium dioxide business of
      Rockwood Holding was acquired.
      Source: IHS Chemical estimates.
                                                                                                                          © 2015 IHS



The poor profitability and stagnant growth in Europe and the United States prompted rationalization by
some producers of sulfate process–based plants leading up to 2012, but a slight upturn in demand over the
last three years has led to slightly higher operating rates at the same capacity level. After a capacity
reduction in Western Europe of 45% between 2008 and 2011, plant capacities have remained at the
same level between 2011 and 2014, although a slight decrease is forecast, with the pending closure of the
titanium dioxide production facility at Huntsman’s Calais site in 2015.


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As a result of increased demand starting in 2010 with industry rationalization, supplies of TiO2 feedstock
and pigment became tight, especially for higher-grade pigments used in demanding applications. The
price of natural rutile (high-grade feedstock with 95% titanium content) was about $500 per metric ton in
2010, then reached $2,400 per metric ton in early 2012. Prices averaged $1,250 per metric ton in 2013,
and dropped to under $1,000 by mid-2014. Prices then stabilized between mid-2014 and February 2015.
Titanium dioxide pigment prices rose about 17% between 2011 and 2012. The dramatic increase in TiO2
pricing prompted many large users, especially in the coatings industry, to reduce use. All major coatings
producers have tried to reduce use by 10–20% in the short term by sourcing from suppliers of lower-grade
material for some applications. Prices began to drop again in mid-2012, and continued the downward
slide to the end of 2014. Akzo Nobel, the largest coatings producer in the world, has partnered with the
Chinese company, Guangxi Cava Titanium Dioxide Co., Ltd., to produce TiO2, with production at a 100
thousand metric ton sulfate plant scheduled to start up between 2015 and 2016.

The TiO2 industry expects to have attractive margins for the foreseeable future. The development of new
feedstock mines can take 5–10 years and new grassroots pigment plants take 4–5 years to complete,
especially when permitting and infrastructure needs must be addressed. With demand forecast to rise by
45% annually, the industry needs 200300 thousand metric tons of new capacity every year (discounting
capacity in China, which generally does not make high-quality pigment). In 2011, DuPont announced
plans to increase global capacity by about 30% by expanding existing plants by 2014, and over the last
three years its US capacity has increased by almost 5%.

The seven major world titanium dioxide producers account for just over half of world capacity, the
remainder are about 75 Chinese producers with a 44% capacity share, and other smaller regional
producers with a 5% share. The following chart presents the world’s major titanium dioxide producers, by
percentage share of capacity:

                                                                    2014
                          Major world producers of titanium dioxide
                                                            Other
                                           DF Group   ISK    5%
                                              2%      2%
                                            Tronox
                                              5%

                                      Kronos
                                        7%
                                                                                    Chinese
                                                                                   Producers
                                    Cristal                                           44%
                                     9%




                                     Huntsman
                                       11%

                                                           DuPont
                                                             15%
                                                 Total = 8.4 million metric tons

                          Source: IHS Chemical                                             © 2015 IHS




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Introduction
Titanium dioxide (TiO2, molecular weight 79.9) is the largest-volume white pigment. Two basic crystal-
phase forms of titanium dioxide are produced commercially—anatase and rutile. The crystal structure for
both forms is tetragonal, but the rutile form is more closely packed and denser and has a higher refractive
index than anatase. The rutile pigment is also more abrasive.

Titanium dioxide is valued for its opacifying strength (commonly called hiding power) and brightness.
The following table presents the refractive index, tinting strength and hiding power of several white
pigments, illustrating the excellent properties of titanium dioxide:

                   Characteristics of White Pigments
                                                                                            Relative Relative
                                                                        Refractive           Tinting        Hiding
                                                                                      a               b               c
                                                                              Index       Strength         Power
                   Rutile TiO2                                                   2.76             100           100
                   Anatase TiO2                                                  2.55               71               78
                   Zinc Sulfide                                                  2.37               36               39
                   Lithopone (72% BaSO4, 28% ZnS)                                    --             16               18
                   Antimony Oxide                                                2.09               17               15
                   Zinc Oxide                                                    2.02               12               14
                   Basic Lead Carbonate                                          2.00                 9              12
                   Basic Lead Sulfate                                            1.93                 7              10
                   Basic Lead Silicate                                              --                5               8
                   a. The typical refractive index for paint resins is between 1.50 and 1.68.
                   b. Tinting strength of a pigment is the relative ability to mask color.
                   c. The hiding power of rutile titanium dioxide is 147 square feet per pound.
                   Source: Based on information in Riegel’s Handbook of Industrial Chemistry, 8th ed., J. A. Kent,
                   ed., Van Nostrand Reinhold Company, New York, 1983, pp. 788-789.
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There is an optimum particle size (0.20.3 micron, or 200300 nanometers) at which TiO2 particles are
most efficient at reflecting and scattering light. Titanium dioxide pigments are made with particle sizes
very close to the optimum for maximum hiding power.

Other important features of titanium dioxide pigments are excellent resistance to chemical attack, good
thermal stability and resistance to ultraviolet degradation. Rutile pigment is more resistant to UV light
than anatase. Rutile is preferred for paints and plastics, especially those exposed to outdoor conditions,
and in inks. Anatase pigment has a bluer tone than the rutile type, is less abrasive and is used mainly in
indoor paints and in paper, ceramics, rubber, and fibers manufacture. Both rutile and anatase pigments
can be made more resistant to photodegradation by coating the pigment particles, which also improves the
dispersibility, dispersion stability, opacity, and gloss. Usually alumina, silica, zirconia, or a combination
is used; generally, silica is most beneficial in retarding the photoactivity of the pigment, while alumina is
most advantageous at enhancing dispersibility and binder compatability. Generally, rutile pigments
contain 115% coating and anatase pigments contain 15%. The higher coating levels are utilized for
pigments typically used for applications such as flat (low-gloss) paints.




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Despite their lower price, anatase-grade pigments account for only 10% of total world production. About
two-thirds of the total anatase supply is used in markets where quality is less important, such as paper,
low-priced emulsion paints, or tiles and enamels. Only one-third of the anatase supply is used in
applications where its specific properties are highly valued, such as when a bluish tint is desired in some
plastics. Anatase finds some use because of its photocatalytic properties; total world demand is 15
thousand metric tons per year as an active material for the removal of NOx compounds from waste gases
of coal-fired power plants and for the cleaning of exhaust gases of diesel engines.

Traditionally, the industry has offered a wide variety of titanium dioxide grades tailored for specific
applications. In recent years, producers have introduced so-called “multipurpose products” to try to
reduce the number of grades needed, in efforts to increase operating efficiencies. For example, in the
paint market, titanium dioxide producers are offering a universal product that is acceptable for use in flat
(low-gloss) coatings and enamel (high-gloss) coatings.

Some manufactured titanium dioxide is used for nonpigment purposes. These products, with coarse
particle sizes, are obtained at an intermediate step (prior to coating with inorganic oxides) in the
manufacture of titanium dioxide pigment. Some producers offer a “buff” titanium dioxide that is made by
grinding rutile ore to produce a product of 95% TiO2 content. The product can be used as a partial
replacement for white TiO2 in formulations that are tinted with other color pigments. Total worldwide
sales of pigment by the HITOX process was $14 million in 2013, down from $18 million in 2012. Sales
were up significantly as some new customers switched from conventional TiO2 pigment due to the sharp
increase in prices. The pigment is typically priced 2025% below that of standard TiO2. As prices of
high-quality titanium pigment dropped in mid-2012 through to the end of 2013, so fell sales volumes of
HITOX.

The estimated size of the world nonpigment market was about 500 thousand metric tons in 2014. The
largest segments are ceramic fluxes (45%) and welding fluxes (25%). Another nonpigment market is
nanoscale or ultrafine grades of titanium dioxide (particle sizes between 1 and 150 nanometers), which
are used as sunscreens, catalysts, UV blockers, color pigment precursors, and electroceramics. These
particles have the ability to absorb, reflect and scatter ultraviolet light, but have a nonirritating effect on
human skin. In clear wood coatings, TiO2 with particle sizes of 10–15 nanometers display photocatalytic
properties, yet still maintain transparency. Total global market size of ultrafine particles is about 2.5
thousand metric tons per year, with cosmetics accounting for about 50% of the total. Japanese producers
have been very active in development activities. Several companies have been developing nanosized TiO2
for use in paints, which reduces the amount of pollutants on the surface of walls, thereby keeping the
surfaces white and free of contaminants like NOx compounds. However, commercial acceptance, to date,
is small.

Anatase-grade TiO2 is used as a denitrification catalyst, where use is growing due to legislation in the
United States and South Korea. Titanium dioxide is an effective odor and contaminant absorber due to its
photocatalytic properties.


Industry structure
In 2014, the total global market for TiO2 was about 6.4 million metric tons, worth about $20 billion. In
recent years, 80% of growth has been in the Asia Pacific region, with China accounting for 50% of the
region’s growth. Consumption in China grew by about 6% annually over the last three years. Growth will
continue to be highest in the lesser developed regions of the world. The table below shows the 2014
consumption of TiO2, expressed as kilograms of consumption per capita, and expected growth rate:


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                   World Per Capita Consumption and Total Consumption
                   Growth Rates for Titanium Dioxide—2014
                                                                          Average Annual
                                                                            Consumption
                                                       Per Capita            Growth Rate,
                                                     Consumption                  2014–19
                                                      (kilograms)                (percent)
                   United States                              2.7                      2.5
                   Brazil                                     1.0                       2.9
                   Western Europe                             2.7                       1.2
                   Germany                                    3.6                       1.0
                   Poland                                     1.5                       3.9
                   Russia                                     0.6                       1.1
                   India                                      0.2                      11.3
                   China                                      1.1                      12.3
                   Japan                                      2.1                       0.4
                   Malaysia                                   1.3                       4.8
                   Vietnam                                    0.5                       4.0
                   Australia                                  3.0                       4.7
                   Source: IHS Chemical estimates.
                                                                                  © 2015 IHS



Per capita consumption in the United States dropped from 4 to 2.5 kilograms per person between 2006
and 2011, but has grown slightly over the last three years from 2.5 to 2.7 kilograms per person, mainly
due to the increase in the output of coatings. On the other hand, per capita consumption in China has
doubled between 2006 and 2014.

Several large TiO2 producers publish financial information on their businesses.


DuPont

In October 2013, DuPont announced it was considering spinning off its Performance Chemicals segment,
which includes titanium technologies, fluoroproducts, and chemical businesses, and renaming this new
company Chemours. This company would be a wholly owned subsidiary of DuPont until separated. The
separation is set to be completed by mid-2015.

In 2011, DuPont announced plans to expand capacity by 350 thousand metric tons over the coming years.
The Altamira plant in Mexico is adding a new 200 thousand metric ton line by the beginning of 2016,
bringing total capacity to 352 thousand metric tons. The other four plants in the United States and Taiwan
have already expanded the additional 150 thousand metric tons. The actual breakdown is uncertain, but
believed to be accurate.




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                DuPont Titanium Dioxide Capacity by Plant and Process—2014
                (thousands of metric tons)
                                                          Sulfate-               Chloride-
                                                           Based                   Based             Total
                De Lisle, MS                                        0                 360              360
                Edgemoor, DE                                        0                 190              190
                New Johnsonville, TN                                0                 400              400
                Altamira, Mexicoa                                   0                 152              152
                Kuan Yin, Taiwan                                    0                 160              160
                Total                                               0               1,262            1,262
                a. Altamira to be expanded to 352 thousand metric tons by early 2016.
                Source: IHS Chemical estimates, based on DuPont website.
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Huntsman

Huntsman, the world’s second-largest producer, operates seven plants in Europe, half of Louisiana
Pigments in the United States, and a plant in Malaysia. On 1 October 2014 Huntsman completed the
acquisition of Rockwood Holdings Performance Additives and Titanium Dioxide businesses for $1.1
billion in cash and an estimated $225 million for certain unfunded pension funds. The European
Commission gave permission to the acquisition on 10 September 2014, subject to Huntsman divesting its
TR52 titanium dioxide business. This accounted for an estimated 30 thousand metric tons of titanium
dioxide per year, but did not include any associated manufacturing assets.

The following table shows the Huntsman titanium dioxide capacity in 2014, by plant and process:

               Huntsman Titanium Dioxide Capacity by Plant and Process—2014
               (thousands of metric tons)
                                                                    Sulfate-        Chloride-
                                                                     Based            Based            Total
               Lake Charles, LA (50%)                                        0               78           78
               Pori, Finland (Sachtleben)                                  130                0          130
               Calais, France                                               95                0           95
               Duisburg, Germany (Sachtleben)                              100                0          100
               Krefeld, Germany (Sachtleben)                               107                0          107
               Scarlino, Italy                                              80                0           80
               Huelva, Spain                                                80                0           80
               Greatham, United Kingdom                                    150                0          150
               Umbogintwini, South Africa                                   25                0           25
              Kermaman, Malaysia                                           60                 0           60
              Total                                                        827               78          905
              Source: IHS Chemical estimates.
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Since completing an initial public offering (IPO) in 2004, the company reports financial results for its
TiO2 operations in the pigments segment. Recent results are below.

                                                                                  a
                  Huntsman Pigments Business Segment Results
                  (millions of dollars)
                                                                  Earnings Before Interest, Taxes,
                                                                   Depreciation and Amortization
                                          Revenues                                      (EBITDA)
                                                                                                      b
                  2003                        1,010                                             112
                                                                                                      b
                  2004                            1,048                                         108
                                                                                                      b
                  2005                            1,053                                         145
                                                                                                      b
                  2006                            1,058                                         117
                  2007                            1,109                                            54
                  2008                            1,072                                            21
                  2009                               960                                           26
                  2010                            1,213                                          215
                  2011                            1,642                                          508
                  2012                            1,436                                          352
                  2013                            1,269                                          111
                  2014                            1,549                                           76
                  a. Also includes the sale of gypsum and iron sulfate by-products.
                  b. Proforma.
                  Source: Huntsman annual reports.
                                                                                            © 2015 IHS



Cristal

Cristal is currently the third-largest producer of titanium dioxide. Huntsman’s acquisition of Sachtleben’s
plants in Finland and Germany pushed it down from being the second-largest producer in 2013. It
produces by both the chloride and sulfate process. In total it has seven plants in six countries on five
continents. It is the fifth-largest feedstock producer in the world, with a plant at Paraiba, Brazil.

                 Cristal Titanium Dioxide Capacity by Plant and Process—2014
                 (thousands of metric tons)
                                                                Sulfate-       Chloride-
                                                                 Based           Based           Total
                 Ashtabula, Ohio                                      0               215          215
                 Salvador, Brazil                                    60                 0             60
                 Thann, France                                       40                 0             40
                 Stallingborough, UK                                  0               150          150
                 Yanbu, Saudi Arabia                                  0               200          200
                 Australind, Western Australia                        0               100          100
                 Total                                              100               665          765
                Source: IHS Chemical estimates.
                                                                                             © 2015 IHS




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Kronos

Kronos, a 100%-owned subsidiary of NL Industries, with titanium dioxide operations in North America
and Europe, issued the following financial information:

                                                                  a
                   Kronos Business Segment Results
                                 Sales of Titanium Dioxide               Operating          Operating
                                Thousands of      Millions of               Margin               Rate
                                  Metric Tons         Dollars             (percent)          (percent)
                   1995                   366             894                  18.0               100
                   2000                   436           922.3                  13.9               100
                   2001                   402           835.1                  19.4                91
                   2002                   455           875.2                  10.5                96
                   2003                   462         1,008.2                  13.1               100
                   2004                   500         1,128.6                   9.9               100
                   2005                   478         1,196.7                  14.7                92
                   2006                   511         1,279.4                  11.1                97
                   2007                   519         1,310.3                   6.5                98
                   2008                   478         1,316.9                   3.6                97
                   2009                   445         1,142.0                  -1.4                76
                   2010                   528         1,449.7                   9.0                99
                   2011                   503         1,943.3                  16.5               103
                   2012                   470         1,976.3                  11.1                85
                   2013                   498         1,732.4                  -5.9                86
                   2014                   507         2,273.0                   9.2                93
                   a. Sales of titanium dioxide account for about 90% of the unit.
                   b. Estimates based on the first nine months of results, forecast to year end.
                   Source: Kronos annual reports.
                                                                                              © 2015 IHS



In 2013, the Kronos sales volume breakdown was 54% coatings, 33% plastics, 5% paper, and 8% other.
The geographic breakdown of sales is 49% Europe, 33% North America, 4% Asia Pacific, and 14% rest
of the world. The following table shows the Kronos titanium dioxide capacity in 2014 by plant and
process:

                Kronos Titanium Dioxide Capacity by Plant and Process—2014
                (thousands of metric tons)
                                                           Sulfate-          Chloride-
                                                            Based              Based                  Total
                Lake Charles, LA (50%)                             0                  78                  78
                Varennes, Quebec                                 17                   85                102
                Langerbrugge, Belgium                              0                  85                  85
                Leverkusen, Germany                              30                 165                 195
                Nordenham, Germany                               69                    0                  69
                Fredrikstad, Norway                              30                    0                  30
                Total                                            146                413                 559
                Source: Kronos annual report.
                                                                                                   © 2015 IHS




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Tronox

Tronox is the fifth-largest producer of titanium dioxide in the world. In 2006, Kerr-McGee divested the
unit. The financial and operating information for the operation is reported below (consisting essentially
only of production and sales of titanium dioxide).
                                         a
                   Tronox Results
                                                               Pigment           Operating Profit for
                                              World           Segment             Pigment Segment,
                                        Production            Revenue                       Excluding
                                    (thousands of          (millions of                 Special Items
                                                                                                       b
                                      metric tons)               dollars)       (millions of dollars)
                   2000                        480                 1,034                            168
                   2001                              483             931                              56
                   2002                              508             995                              33
                   2003                              532           1,079                              55
                   2004                              549           1,209                              51
                   2005                              580           1,278                            102
                   2006                              610           1,320                              78
                   2007                              597           1,321                              12
                   2008                               na           1,116                              na
                   2009                               na             938                              43
                   2010                               na           1,068                            170
                   2011                              na            1,514                            377
                   2012                              na            2,006                            213
                   2013                              na            2,272                              59
                   2014c                             na            2,035                              52
                   a. Prior to 2006, operation was Kerr-McGee’s Pigments Division. Data consist
                   essentially only of production and sales of titanium dioxide.
                   b. Calculated by subtracting cost of goods sold and selling, general and
                   administrative expenses from net sales.
                   c. Estimates based on the first nine months of results, forecast to year end.
                   Source: IHS Chemical estimates.
                                                                                               © 2015 IHS



In 2014, Tronox reported that 80% of its TiO2 sales were to the coatings industry, 18% to plastics, and 3%
to paper and specialty manufacturers. Sales in North America represented 41% of the total, followed by
30% to Asia Pacific, 24% to Europe, and 5% to South and Central America. In Europe, Tronox declared
bankruptcy in 2009 mainly due to the former parent company offloading its substantial legacy
environmental liabilities on the divested entity. The company operated as a debtor-in-possession until
February 2011, at which time it emerged from Chapter 11 bankruptcy. Tronox’s 2014 operating rate was
over 93%.

Tronox acquired Exxaro Resources’ mineral sands operations in June 2012, which created the world’s
largest vertically-integrated TiO2 pigment company. By acquiring the mineral sands company, Tronox
intends to reduce earnings volatility caused by raw material price fluctuations and/or supply constraints,
and increase scale for easier access to capital markets.


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The following table shows the Tronox titanium dioxide capacity in 2014 by plant and process:

                 Tronox Titanium Dioxide Capacity by Plant and Process—2014
                 (thousands of metric tons)
                                                                    Sulfate-              Chloride-
                                                                     Based                  Based                Total
                 Hamilton, MS                                              0                   225                225
                 Botlek-Rotterdam, Belgium                                 0                     90                90
                 Kwinana, Australia                                        0                   150                150
                 Total                                                        0                   465               465
                 Source: Tronox annual report.
                                                                                                             © 2015 IHS


Only in the last several years has the industry made enough profits to justify major expansions. The
construction of a new greenfield chloride-process plant costs approximately $450 million, based on a
world-scale annual capacity of 100 thousand metric tons and a construction cost of $4,000 per metric ton
of capacity. Incremental expansions are much less costly, and the industry has had a history of
debottlenecking and capacity creep. Industry experts generally believe that the sustainable price of TiO2
must be approximately $2,400 per metric ton to justify an incremental expansion, $2,800 per metric ton
for a new line in an existing plant and $3,5004,000 per metric ton to justify a new plant. The exact price
will depend on the producer and location, as there is considerable differences in costs among producers.
Only when possibilities for incremental expansions or new lines (i.e., brownfield expansions) have been
exhausted will the industry proceed to building new plants (i.e., greenfield expansions).

During the 1990s titanium dioxide averaged $2,200 per metric ton, and prices were even somewhat lower
during 200010. The following table shows that real prices for titanium dioxide generally fell from 1975
to 2009, but reached a peak value in 2012, then subsided in 2013 and 2014:

              Average US Unit Shipment Values for Titanium Dioxide Pigments
              (dollars per metric ton)
                                               Current Dollars                               Constant 1998 Dollars
              1990                                      2,150                                               2,690
              1995                                      1,910                                               2,040
              2000                                      1,880                                               1,780
              2001                                      1,890                                               1,740
              2002                                      1,800                                               1,630
              2003                                      1,830                                               1,620
              2004                                      1,780                                               1,530
              2005                                      2,180                                               1,820
              2006                                      2,150                                               1,740
              2007                                      1,870                                               1,470
              2008                                      2,210                                               1,670
              2009                                      2,210                                               1,680
              2010                                      2,610                                               1,980
              2011                                      3,610                                               2,740
              2012                                      3,610                                               2,740
              2013                                      3,340                                               2,540
              2014                                      3,210                                               2,440
              Source: “Historical Statistics for Mineral and Material Commodities in the United States—Titanium Dioxide
              Pigment,” US Geological Survey.
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Manufacturing processes
Raw material preparation

Most ores are concentrated or otherwise processed to raise the TiO2 content before they are suitable as
raw material for pigment production. The methods of concentrating and/or processing the ores to make
TiO2 concentrate are described in the following flowchart:

   Titanium ore concentration and processing
                                    Primary (Rock) Deposits                        Secondary (Sand) Deposits



                                      Gravity
      Concentration                    and
                                     Magnetic
                                    Separation                             Gravity, Magnetic and Electrostatic Separations



                                                           35%                                                45-50%
                                                           TiO 2                                                TiO 2
                                                      (Allard Lake)                                       (Richards Bay)



                                                                                                                                Iron
                                                         Electric                                               Electric     Reduction
      Ore Processing                                    Smelting                                               Smelting         and
                                                                                                                             Chemical
                                                                                                                             Leaching



                                         43%                                              94-96%                               90-95%
                                       or More            80%          35-80%               TiO 2               85%              TiO 2
      Product                            TiO 2            TiO 2          TiO 2              Rutile              TiO 2           Rutile
                                       Ilmenite           Slag         Ilmenite           (natural)             Slag         (synthetic)




                                      Sulfate           Sulfate       Sulfate or           Chloride          Chloride or      Chloride
      Raw Material For:                                               Chloride                                Sulfate
                                      Process           Process                            Process                            Process
                                                                       Process                                Process

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   Source: IHS Chemical estimates




Titanium is the world’s ninth most abundant element, being five times less abundant than iron but one
hundred times more abundant than copper. In nature, titanium occurs in complex oxides, usually in
combination with iron and also with the alkaline earth elements. These impurities color the ores from buff
to black and they are therefore far removed from the requirements of a clean white titanium dioxide
pigment.

There are two basic types of titanium-bearing deposits of economic importance. The primary sources are
massive ore bodies that contain relatively large amounts of ilmenite (FeO·TiO2 with 50–60%
concentrations of TiO2) associated with magnetite, hematite, or other iron oxide ores. These bodies are
found mainly as black sands in Australia, South Africa, India, the United States, and Malaysia; and also
as hard rock deposits in Canada, Norway, and the United States. Ilmenite supplies about 90% of the
world’s consumption of titanium minerals. The price of ilmenite was about $300 per metric ton in mid-
2013 before dropping down to $150 per metric ton in early 2015.




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The second most available ore is the buff-colored mineral rutile, which contains around 95% TiO2 with
smaller amounts of iron and other impurities. Rutile sands are mostly found in Australia, Sierra Leone,
and South Africa. Natural rutile is valued more highly than ilmenite, since it is required to make high-
quality TiO2 for highly valued end uses and is essential for chloride-process plants. The price of natural
rutile rose from about $500 per metric ton in 2010 to $2,650 per metric ton in early 2012. The average
price in 2013 had dropped back to $1,550, and then further to just over $1,000 by the end of 2014.

Dredging and dry mining techniques are used for the recovery of heavy-mineral sand deposits. Gravity
spirals are used to separate the heavy minerals suite, while magnetic and high-tension separation circuits
are used to separate the heavy-mineral constituents.

Ilmenite is not suitable as a feedstock to the chloride process, but can be enriched to titanium slag, which
is the residue left after electric smelting to extract molten iron from ilmenite, or beneficiated, physically
or chemically treated, to increase the TiO2 content to 9295% (synthetic rutile). The processes convert the
fine ore sands into more desirable, coarser TiO2 feedstocks. In early 2012, the average global price of slag
was about $800 per metric ton, up from about $450 per metric ton in 2010 and much of 2011. At the end
of 2012, prices started to decline, and prices have averaged about $730 in 2014.

Other minerals of titanium are leucoxene (calcium titanate) and anatase (titanium oxide), but neither is
commercially significant at present. Usually, FeO content is minimized to remove its strong color. Each
TiO2 producer has its own purity requirements and hence places value on certain physical properties. For
example, Japanese producers tend to prefer ilmenite with higher FeO content even though it has a lower
TiO2 content than the ores generally favored by European producers.

The titanium dioxide producers align themselves prudently with vendors to assure a long-term supply.
Lately, the upstream vendors have also been consolidating. Supplies of feedstock started tightening in late
2010, leading to significant price increases and concerns over future supplies, as there are long lead-times
between project approvals and actual start-ups.

The most important commercial sources of titanium minerals are alluvial or beach sand deposits, which
occur along the coastlines of Australia, India, South Africa, and the United States. Other commercial
sources include rock ilmenite deposits; cemented sand deposits (sandstone); and the mining of other
minerals, such as tin, gold, and oil-bearing sands, which produce minor amounts of titanium minerals or
zircon as a by-product.

The following table presents the major sources of titanium feedstocks:




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Sources of Titanium Feedstock
                                            Titanium
                                             Dioxide   Principal Locations of
             Product                         Content   Commercial Deposits                                       Typical End Use
Ilmenite Concentrate from                   44-45%   Canada, Ukraine, Norway                         Feed for sulfate process or captive
Ilmenite-Bearing Rock                                                                                titanium slag plant
Ilmenite from Beach Sands                   48-51%         Australia, United States                  Foundries, feed for sulfate process or
                                                                                                     synthetic rutile production
Ilmenite from Beach Sands                   54-60%         Australia, India                          Feed for sulfate process or synthetic
                                                                                                     rutile production
Altered Ilmenite from                       60+%           Eneabba (Western                          Feed for sulfate process or synthetic
Mineral Sands                                              Australia), United States                 rutile production
Titania Slag by Smelting                    75-80%         Canada                                    Feed for sulfate process
Ilmenite/Haematite Rock
Titania Slag by Smelting 45%                85%            South Africa                              Feed for sulfate or chloride process
Ilmenite Sand
Synthetic Rutile Produced by                92-95%         India, Australia                          Feed for chloride process
Iron Reduction and Chemical
Leaching of Ilmenite Sands
Upgraded Slag by Smelting and               95%            Canada                                    Feed for chloride process
Upgrading Ilmenite/
Haematite Rock
Natural Rutile from                         94-96%         Australia, South Africa,                  Feed for chloride process, welding rod
Mineral Sands                                              Ukraine, United States                    electrodes and coatings, titanium metal
                                                           and India
Source: Cullen, John, “Mineral Sands 2002,” Australian Journal of Mining, July/August 2002, p. 26.
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Estimated 2014 production and reserves of titanium dioxide feedstocks for the major producing regions of
the world are summarized below.




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                                                                                                                       a
    World Mine Reserves and Production for Titanium Mineral Concentrates—2014
    (thousands of metric tons, TiO2 content)
                                                                 a
                                                      Ilmenite                                                Rutile
                                       Reserves                      Production               Reserves                  Production
    Australia                           170,000                           1100                   7,400                         480
    Brazil                                 43,000                            70                          --                           --
    Canada                                 31,000                           900                          --                           --
    China                                 200,000                          1000                          --                           --
    India                                  85,000                           340                        na                            26
    Madagascar                             40,000                           340                          --                           7
    Malaysia                                     --                            --                        --                          14
    Mozambique                             14,000                           500                          --                           --
    Norway                                 37,000                           400                          --                           --
    Sierra Leone                                 --                            --                      na                          120
    South Africa                           63,000                          1,100                    8,300                            65
    Sri Lanka                                    --                          32                          --                           --
    Ukraine                                 5,900                           210                     2,500                            50
                                                                                                                                          b
    United States                           2,000                           100                   28,000                           incl
    Vietnam                                 1,600                           500                          --                           --
    Other                                  26,000                            90                       400                             8
    Total                                 718,500                          6,682                  46,600                           770
    a. Includes that part of the reserve base that could be economically extracted or produced at the time of determination.

    b. Included in ilmenite production.
    Source: Mineral Commodity Summaries-Titanium Mineral Concentrates, US Department of the Interior, US Geological Survey.
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The largest producers of titanium dioxide feedstocks are presented in the following table:




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     Major World Producers of Titanium Dioxide Feedstocks—2014
                                  Global
                               Market Share                Mine                          Feedstock
                                (percent)               Locations                         Produced
     Rio Tinto                      29      Quebec, Canada (through Rio       Ilmenite, upgraded slag. RTIT
                                            Tinto Iron and Titanium [RTIT])   capacity 1.3 million metric tons
                                            and South Africa (through         and RBM 1.05 million metric
                                            Richards Bay Minerals, which is   tons per year.
                                            74% owned)
     Iluka Resources                    12    United States, Eastern and      Ilmenite, rutile, synthetic rutile.
                                              Western Australia               Closing US operations in 2015.

     Tronox                             11    South Africa and Western        Ilmenite, rutile, slag, synthetic
                                              Australia                       rutile
     Bemax/Cristal                      4     Australia                       Ilmenite, rutile
     Titania (Kronos)                   4     Norway                          Ilmenite
                         a              4     Ukraine                         Ilmenite, rutile
     Crimea Titanium
     DuPont                             2     United States                   Ilmenite
     Other                              34                                    Mostly ilmenite
     Total                             100%
     a. Feedstocks produced at Volnogorsky GOK and Irshansky GOK.
     Source: IHS Chemical estimates.
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Rio Tinto produces titanium dioxide feedstocks at Rio Tinto Iron and Titanium in Canada (100% owned)
and Richards Bay Minerals in South Africa (74% owned). In Canada, hard rock ilmenite mining is done
at Havre-Saint-Pierre, Québec, and refining and technology completed at Sorel-Tracy, Québec. Canadian
capacity is 1.3 million metric tons of titanium slag and 1.0 million metric tons of iron. South Africa is
about 1 million metric tons of titanium slag and 1 million metric tons of iron. Global titanium dioxide slag
production had increased from 1.4 million metric tons in 2011 to 1.6 million metric tons in 2013, prior to
declining 11% in 2014 to 1.4 million metric tons.


Pigment manufacturing processes

The two commercial processes used to produce titanium dioxide pigments are the sulfate process and the
chloride process. The sulfate process is the older technology and, until the 1990s, accounted for most of
the existing titanium dioxide capacity in the world. However, today, the chloride process accounts for
about 55% of world capacity. Both anatase-grade and rutile-grade pigments can be produced by the
sulfate process. The chloride process is the newer process and accounts for most of the capacity in the
United States and all capacity built since 1959. Anatase-grade titanium dioxide pigment cannot be
economically made via the chloride process.

The essential steps of the two processes are summarized in the flowchart on the following page.




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Titanium dioxide manufacturing processes
                                                          Sulfate Process                                                  Chloride Process
                                                                                                                Rutile, Natural or Synthetic, or Other Raw
                                  Ilmenite                                          Titanium Slag               Materials that Contain at Least 68% TiO           2
                                                             Sulfuric Acid                                                 Carbon         Chlorine



                                  Digestion                                            Digestion                                Chlorination




                                 Reduction                           Scrap Iron




                                Clarification                                        Clarification                              Purification



                                                                                                              Waste or
                                                                                  TiOSO 4                    By-Product
                              Crystallization                  Nuclei
                                  (cool)                                          Solution

                           TiOSO 4
                           Solution                          Hydrolysis
                                                               (heat)                                       Oxygen               Oxidation


    Copperas
  (FeSO 4·7H 2O)                                                                                                                               Chlorine
                                                              Filtration
                                                                                                                                        TiO 2
                                                                                       Aqueous
             Precalcination                                                             Waste                                                   a
               Additives                                                                                                      Neutralization



                                                            Calcination

                                                            TiO 2



                               Dry Grinding                                          Wet Grinding                                   Dry Grinding



                      Uncoated TiO            2
                                                  Pigment      Coating                 Coating                                Uncoated TiO     2
                                                                                                                                                    Pigment
                                                               Materials


                                                                                   Filtering, Drying
                                                                                  and Dry Grinding


                                                                             Finished TiO     2
                                                                                                  Pigment
a. Neutralization can be done in the wet-grinding step.

Source: IHS Chemical estimates                                                                                                                            © 2015 IHS




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Commercial titanium dioxide is typically supplied in 25-kilogram multilayer paper or plastic sacks, or in
500- or 1,000-kilogram “big bags,” or as a slurry in trucks, railcars, or barges.


Sulfate process

The feedstock for this process is ilmenite ore or titanium slag. The ilmenite or slag is digested by
concentrated sulfuric acid and the soluble sulfates are extracted by leaching with water or dilute sulfuric
acid. If ilmenite is the raw material, the solution is then treated with iron scrap to reduce ferric salts to
ferrous salts; only ferrous salts are present when slag is used. The resultant solution is clarified to remove
the heavy metals and suspended solids and then chilled to about 10°C to precipitate the iron as copperas
(FeSO4·7H2O). If slag is used, the reduction and copperas recovery steps are not required. The solutions
are treated identically in the ensuing steps.

After filtration and concentration, the pregnant liquor containing the soluble titanyl sulfate is hydrolyzed
to an insoluble hydrous titanium dioxide that precipitates out after seeding crystals are added to the
solution. The precipitate is collected, filtered, bleached, washed and subjected to calcination to yield a
titanium dioxide ready for finishing treatment. The crystalline form obtained depends mainly on the
nuclei added or formed during the precipitation step, the precalcination additives and calcination
temperature.

Next, the particles are coated; nearly all commercial TiO2 pigments are given a surface treatment or
coating to:

    x   Improve wetting and dispersion in different media (water, solvent or polymer)

    x   Improve compatibility with the binder and enhance dispersion stability

    x   Improve color stability

    x   Improve durability

Generally, silica or alumina oxides are used; organic coatings such as polyols, amines and/or silicone
derivatives can be applied. The level of surface coatings is 3–20%; it is incorrect to infer that a titanium
dioxide pigment having a TiO2 content of 89% and 10% surface treatment is not a high-performance
product. Generally, titanium dioxide pigments with high levels of surface treatments are preferred in flat
and low-gloss architectural coatings due to their ability to provide optical spacing in systems containing
high levels of filler. The average TiO2 content of pigments used in flat paints tends to be around 85%,
while that used in high-gloss architectural and other highly durable coatings tends to be around 95%. The
TiO2 content tends to be even higher for pigments used in more demanding applications such as plastics
and paper laminates. Worldwide, about two-thirds of the sulfate-based titanium dioxide sold has relatively
low TiO2 content (80–90%).

The recovery of titanium dioxide from the mineral feedstock is 80–86% of the TiO2 content of the
mineral. Therefore, every pound of finished pigment with an assumed 95% TiO2 content would require
input of approximately 2.7 pounds of lower-grade ilmenite (45% TiO2 content) or 1.4 pounds of titanium
slag (80% TiO2 content). Sulfuric acid consumption varies depending on the exact TiO2 content of the ore
used and process variations of each manufacturer. The amount of concentrated sulfuric acid consumed is
22.5 pounds per pound of pigment when slag is the starting material and 4.04.5 pounds per pound of
pigment if lower-grade ilmenite is used.

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Waste treatment from the plant includes the recycling of acid streams, neutralization of acid to gypsum
for sale, recovery of copper and the utilization of iron sulfate wastes (i.e., copperas) as flocculants, animal
feeds, or conversion to iron oxide pigments. Modern plants produce 34 tons of coproduct per ton of
TiO2. Overall, about half of the coproducts are sold, reused or converted into other products. One of the
chief by-products is iron sulfate, which can be used in water purification or as a reactant in the chemical
industry. The coproducts for which a market cannot be found must be disposed of in an environmentally
controlled manner.

The advantages that the sulfate process has over the chloride process are:

    x   It is a batch process, so capacity additions can be more easily made in small increments.

    x   Feedstocks with lower purity can be tolerated in the sulfate process; however, waste disposal
        concerns are an issue.

    x   Chemical raw materials are cheaper, safer to use, and more readily available (sulfuric acid and
        scrap iron are available almost everywhere).

    x   It is preferred for producing pigment in certain applications such as paper (less abrasion) and inks
        (better dispersibility).

    x   It is an easier process to operate.

When the TiO2 industry is oversupplied, customers prefer the newer chloride-process products and, thus,
sulfate process plants tend to operate at lower utilization rates than chloride-process plants. It is believed
that some marginally profitable, older sulfate plants continue to operate because of the high cost of
shutting down the operations, which can be $50100 million.


Chloride process

This process was introduced commercially in the United States by DuPont in 1956. Natural rutile
concentrate (typically 95–96% TiO2), synthetic rutile, chlorinatable slag, or high grade “chlorinatable”
ileminite is chlorinated in the presence of carbon to titanium tetrachloride (TiCl4) in a fluid-bed reactor.
The titanium tetrachloride is separated from other chlorinated products and purified by distillation; it is
then oxidized in the vapor phase to yield titanium dioxide and chlorine. A nucleating agent, either water
vapor or aluminum chloride is added to produce the desired particle sizes. The TiO2 is collected in bag
filters, milled to break aggregates, and coated.

The chlorine is collected and recycled. Approximately 90% recovery of chlorine is possible when rutile
ore is used.

Comparing the feedstocks, generally, using chlorinatable ilmenite yields the lowest cost. DuPont’s costs
are estimated to be 15–20% below the average of the industry. DuPont uses a one-step process where
low-grade ore is chlorinated directly without any beneficiation. The feedstock is a composition of
ilmenite, leucoxene, and rutile ranging from 55% to 65% TiO2 by weight, which is derived from
DuPont’s mining operation in Florida, and supplemented with imports from Australia. Generous
quantities of ferric chloride are produced due to the relatively high concentration of iron in the ore, which
are either (1) sold on the merchant market, mainly for water treatment (the DuPont Edgemoor, Delaware
plant); (2) injected into a underground deepwell (its DeLisle, Mississippi plant); (3) recycled back into the
process (the New Johnsonville, Tennessee plant); or (4) converted into NaCl (New Johnsonville plant).

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The amount of feedstock required to make TiO2 depends on the purity of the ore:

                         Feedstock Consumption for Production of Titanium
                         Dioxide by Chloride Process
                                                                             Feedstock
                                                             Purity        Consumption
                          Feedstock                   (percent TiO2     (metric tons per
                                Type                       content)   ton of TiO2 output)
                         Ilmenite                               62                 1.6-1.7
                         Slag                                   85              1.10-1.15
                         Rutile                                 95              1.06-1.08
                         Source: IHS Chemical estimates.
                                                                                 © 2015 IHS


The estimated consumption of other raw materials varies with the specific process; the table below shows
raw material consumption using natural rutile as the ore feedstock.

                 Raw Materials Consumed for Chloride Process Production of
                 Titanium Dioxide from Mineral Rutile (95% TiO2 content)
                 (metric tons raw material per metric ton of TiO2)
                 Caustic Soda                                                          0.50-0.60
                 Chlorine                                                              0.13-0.15
                 Coke                                                                  0.10-0.30
                 Oxygen                                                                0.45-0.50
                 Source: IHS Chemical estimates.
                                                                                        © 2015 IHS


When a lower titanium content is chlorinated (e.g., Richards Bay slag or a mixture of altered ilmenite and
rutile with TiO2 content of about 85%), more chlorine is consumed because more waste chlorides (FeCl3)
are formed. In this case, chlorine consumption may increase to 0.220.25 metric ton per metric ton of
TiO2 produced. DuPont processes ilmenite in its North American operations that has a TiO2 content of
62%; chlorine consumption is 0.620.65 metric tons per metric ton of product.

The advantages of the chloride process over the sulfate process are as follows:

    x   It produces a superior intermediate product, which is purer and has a tighter range of particle size,
        providing an excellent base pigment suitable for providing a wide range of properties. It is the
        preferred pigment for high-end applications like automotive coatings and durable plastics.*

    x   It can be built in very large, single-stream units and is a continuous process. Generally, chloride
        plants focus on high volume, commodity grades of pigment. Sulfate plants are more flexible, and
        can accommodate the special needs of smaller customers.
    x   It is less labor and energy intensive. Cash costs for the chloride process are generally 15% lower
        than those for the sulfate process.
    x   It is much more environmentally friendly, in that the chlorine can be recycled and large quantities
        of by-products are not produced. The sulfate process generates about 3.5 tons of waste per ton of
        product from ilmenite feed, while the chloride process generates about 0.2 ton from rutile feed.


*   Huntsman investor presentation, 8 March 2012.

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Unlike the sulfate process, the chloride process technology is tightly held and is generally not licensed.
The chloride process is more technically challenging, with the need to handle and use potentially
corrosive chlorine at high temperatures (~1,200°C) and problems posed by burner configuration and
product recovery. For these reasons, sulfate-based plants are usually preferred in developing areas of the
world such as China and India.

The main worldwide suppliers of ore for the chloride process are (in descending order of importance) Rio
Tinto, Iluka, and Tronox.

In 2008, researchers at the University of Leeds announced the development of a new chlorine-based
patented process (US Patent Application 20070110647), which involves roasting the mineral ore with
alkali to remove contaminants, followed by reaction of the coarse residue with 20 times less than the
usual amount of chlorine. With an average yield of up to 97% TiO2, the process has the potential to
reduce production costs as well as waste disposal costs. The contaminants can be washed and leached
with acid to yield products for use in the electronics industry. The researchers formed a partnership with
Millennium (now owned by Cristal), the second-largest TiO2 producer.


Other processes

In 2002, Altair International described a new process for making titanium dioxide (US Patent 6,375,923).
Features of the process include the ability to:

    x   Recycle all chemical additives used in the process and thus eliminate hazardous waste disposal
        concerns of by-product chlorides

    x   Produce either rutile or anatase pigment

    x   Process low-grade ilmenite ore

Specifically, the process involves the digestion of ore by hydrochloric acid, followed by the addition of
iron powder to reduce ferric iron to insoluble ferrous chloride that is filtered out in order to substantially
reduce the iron content of the solution. The ferrous chloride is pyrolyzed to recover acid and produce iron
oxide. Solvent extraction with phosphine oxide removes titanium oxychlorides and chlorides from the
leach solution. The titanium oxychlorides and chlorides are purified and then spray hydrolyzed to yield
titanium dioxide hydrate, which is then calcined and washed to yield pigment-grade titanium dioxide.
Altair claims to be able to reduce the capital costs, which would lower the barrier to entry and allow
production at the mine.

Altair also describes a method for making nano-sized titanium dioxide particles in US Patent 6,440,383.
The titanium oxychlorides and chlorides solutions are hydrolyzed in the presence of additives (e.g.,
phosphoric acid) in a spray dryer, followed by calcination to convert the amorphous titanium dioxide to
ultrafine particular state. Next, the particles are milled and dispersed into individual particles. Altair
claims that this process allows greater control over the particle size distribution compared to the more
conventional nano-sizing processes (such as the burning of titanium tetrachloride in an oxygen-hydrogen
flame or plasma arc or the precipitation of titanium dioxide from a titanyl sulfate solution, followed by
calcination and intense steam micronization). In April 2007, Altair formed a joint venture with Sherwin-
Williams (AlSher Titania) to pool the Altair Hydrochloride Pigment process (AHP) and other
technologies. In 2007, the joint venture began operation of a pilot plant, with plans to build a 5 thousand
metric ton-per-year demonstration plant and then a 70 thousand metric ton-per-year commercial facility.

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The pigments would be used in paints and coatings, where the nanoscale particles would remove
contaminants from air and water. In 2010, Altair (now Altair Nanotechnologies) transferred its 30% share
of AlSher Titania to Sherwin-Williams. In 2011, Sherwin-Williams relocated the production equipment to
Cleveland, Ohio.

Argex Titanium Inc. is building a 50 thousand metric ton titanium dioxide plant at Salaberry-de-
Valleyfield, Québec. Completion is scheduled for the first quarter of 2017. Argex has developed a new
solvent extraction process, replacing the chloride and sulfate process for producing titanium dioxide.
Some of the raw materials will come from its mines at Lac Brule and La Blache, Québec. Argex is
working with PPG to produce paint- and coating-grade titanium dioxide.

On 26 August 2014, the US subsidiary of Helm (Hamburg, Germany) announced it would be the
exclusive distributor for 50% or up to 25 thousand metric tons of the titanium dioxide produced at Argex
Titanium’s planned 50 thousand metric ton plant at Salaberry-de-Valleyfield, Québec. The exclusivity
runs for seven years once the plant reaches certain output levels, which are expected the first quarter of
2017.


Environmental issues
Waste disposal is an important factor in the production of TiO2 pigments. The costs incurred with effluent
treatment can be major considerations in determining the viability and profitability of TiO2 operations.
The sulfate process generally poses more problems in waste disposal and pollution control than does the
chloride process because the raw material is often a low-grade ilmenite ore; the process generates up to
4.5 pounds of copperas (iron sulfate, FeSO4·7H2O) per pound of TiO2. In addition, waste sulfuric acid
must be neutralized and air emission standards must be met for boiler stack gases and gases generated
during digestion and calcination.

In recent years, there has been greater use of higher-TiO2-content titanium slags to lessen effluent
problems. Also, technology for concentrating dilute waste acid and recycling concentrated waste acid in
sulfate plants advanced significantly in the 1990s.

In Germany, Tronox (now Crenox) recovers and concentrates waste acid from its Uerdingen plant; some
is reused and the rest is decomposed to provide sulfur dioxide for manufacture of fresh acid and iron
oxide cinder that is sold to the cement industry. Kronos’s Leverkusen plant sends its strong waste acid to
the Duisburg plant of Sachtleben Chemie for generation and sells the copperas. The Duisburg plant
concentrates the waste acid for reuse and calcines the remainder to generate sulfur dioxide and fresh
sulfuric acid. Sachtleben Chemie, located in a residential area, made investments during the 1980s to
clean and recycle all spent washing fluids from waste-gas scrubbing systems. In 1989, the company
ceased all dumping of waste acid into the North Sea. The company also now converts all by-products
from the titanium dioxide production to useful products, such as converting iron to high-quality iron
oxides. Recently, Sachtleben eliminated the last remaining waste product, gypsum, which was used as
“seeds” to control crystal development (rutile or anatase particles) during production. A new gypsum-free
process has now been installed to replace this production stage. Kronos’s Nordenham plant installed a
waste acid concentration system in 1987, so that all waste discharge into the ocean from German TiO2
plants has ceased. In late 2007, Kemira (now Sachtleben) agreed to limit emissions of sulfur dioxide and
particulates and sell all by-product iron phosphate, rather than massing it on its production site in Pori,
Finland. In return, authorities agreed to let the company expand its plant from 120 thousand metric tons
per year to 150 thousand metric tons per year; the current capacity is 130 thousand metric tons.



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Some producers treat wastes to form salable products. Waste acid can be reacted with lime and limestone
to form gypsum (CaSO4), which is recovered for sale as wallboard, as a cement additive and as a soil
conditioner. Large quantities of iron salts (mainly ferrous sulfate) are sold for use in water and sewage
treatment, in the production of iron oxide pigments, for odor control, for chromate reduction in cements,
and in agriculture. The use of ferrous sulfate is increasing rapidly in Europe due to recent legislation that
limits the concentration of chromate VI in cement. Recycling wastes has become state of the art for the
industry. Over the past 20 years, the European TiO2 industry has invested about 1.4 billion euros in
environmental improvement.

Chloride-process plants also have waste streams to consider, but they are generally of lower volume, and
mostly entail the treatment of wastewaters. DuPont in the United States generates considerable quantities
of waste ferric chloride (FeCl3); other producers using the chloride process do not make FeCl3 in
sufficient quantities to justify recovery. DuPont has also been the target of environmentalists at its plants
in Mississippi and Tennessee, who charge that the company is producing potentially harmful dioxins.

Dust emission and control remain environmentally challenging factors for producers of titanium dioxide,
especially in the case of pigment-grade (powdered) and ultrafine titanium dioxide.

In Europe, the REACH (Registration, Evaluation and Authorization of Chemicals) program introduces a
new system of registration, evaluation, authorization, and restriction of chemical substances designed to
ensure safe use of chemicals. Only EC registered and approved importers can sell products. The REACH
program took effect in July 2007. All chemicals produced, imported and used in the European Union must
be registered in a well-defined timetable. All products, both pure and mixed, used in quantities of one
thousand metric tons per year had to be registered by 1 December 2010; all products used in quantities of
100–1,000 metric tons annually by 1 June 2013; and finally all products used in excess of one metric ton
per year must be registered by 1 June 2018. By fulfilling preregistration procedures, an enterprise can
continue selling in or exporting to European Union.

The manufacturing of TiO2 by the chloride and sulfate processes is already covered by three EU titanium
dioxide directives, which stipulate stringent limits for liquid and gaseous emissions. These are:

    x   Council Directive 78/176/EEC, which deals with disposal

    x   Directive 82/883/EEC, which deals with monitoring and surveillance

    x   Council Directive 92/112/EEC, which deals with pollution reduction

The European Union is attempting to simplify the titanium dioxide directives by including the three into a
revised IPPC (integrated pollution prevention and control) directive. In December 2010, the IPPC
Directive 2010/75/EU was published in the Official Journal of the European Union and came into force
on 6 January 2011. It represents a coalescing of seven directives, including the three titanium dioxide
directives, into one piece of legislation.

The Titanium Dioxide Manufacturers Association-TDMA (Brussels, Belgium) published updated safety
advice for storage and handling of anhydrous titanium tetrachloride. The document provides principles of
the Responsible Care Program. All TDMA TiO2 companies are signatories to Responsible Care.




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Transportation and handling
Titanium dioxide pigments are sold in three major forms: dry powder in bags, dry powder in bulk and
aqueous slurry (70% solids concentration) in bulk.

For many years, TiO2 pigment was sold only in 50-pound bags. Although these bags are still the most
economical and convenient delivery method for small consumers, there are certain inherent
disadvantages, such as higher labor and packaging costs, larger space requirements for warehousing, dust
generation and spillage, than bulk systems. Alternative delivery systems include large semibulk bags
capable of holding up to a ton of pigment.

As consumers of titanium dioxide consolidate, especially in the paint industry, the industry, particularly in
North America, has increased deliveries of slurry. Larger users find it more economical to handle slurries,
especially for latex-based architectural coatings and can increase productivity in highly automated plants.
Just-in-time delivery schedules are also facilitated.


Supply and demand by region
North America

United States

Raw materials

About 95% of the titanium ore consumed in the United States is used to make TiO2, while the remaining
5% is used in welding rod coatings and for manufacturing carbides, chemicals, and metal.

The US Geological Survey reports the following:




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                    US Consumption of Titanium Concentrates for Pigments
                    (thousands of metric tons, gross weight)
                                                                               Rutile
                                         Ilmenite and                    (natural and
                                                                                                                a
                                        Titanium Slag                      synthetic)                 Total
                    1995                            1,410                            453               1,863
                    2000                            1,240                            513               1,753
                    2001                            1,160                            455               1,615
                    2002                            1,280                            464               1,744
                    2003                            1,280                            466               1,746
                    2004                            1,460                            418               1,878
                    2005                            1,260                            394               1,654
                    2006                                na                            na               1,800
                    2007                                na                            na               1,600
                    2008                                na                            na               1,440
                    2009                                na                            na               1,360
                    2010                                na                            na               1,460
                    2011                                na                            na               1,310
                    2012                                na                            na               1,390
                    2013                                na                            na               1,460
                    2014                                na                            na               1,535

                    a. Total includes all titanium concentrates processed for titanium dioxide as well
                    as for welding rod coatings, and for manufacturing carbides, chemicals and
                    metals. Consumption of TiO2 accounts for about 95% of the total.

                    Sources:
                    (A) Mineral Industry Surveys - Titanium and Titanium Metal Concentrates, US Department of
                    the Interior, US Geological Survey (data for 1995–2011).
                    (B) IHS Chemical estimates (data for 2012–14).
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The largest titanium reserves, owned by DuPont in Starke, Florida, account for 75% of US reserves.
DuPont consumes approximately 300 thousand metric tons per year from these mines. In the late 1980s,
the declining reserves of domestic deposits led to the closure of one of the ilmenite mines near Starke,
Florida. A new mine at Maxville on the same ore body began production in the early 1990s, thus
extending the region’s production life to 2017. In addition, ilmenite is recovered from old tailings
stockpiled from earlier mineral sand operations.

Other sizable ilmenite deposits are owned by Iluka Resources in Old Hickory, Virginia. The company
processes (dry milling operation) ilmenite in Stony Creek, Virginia. Total US production of ilmenite and
rutile had increased from around 200 thousand metric tons in 2010 to 300 thousand metric tons in 2011.
Since then, production has declined. In 2012, Stony Creek production of ilmenite was 214.7 thousand
metric tons, and in 2013 it declined to 189.6 thousand metric tons. In 2014, production is estimated at
55.7 thousand metric tons. The plant is scheduled for closure in 2015. In recent years, imports have been
approximately one million metric tons annually.

Iluka had considered adding new capacity, but decided against it. Iluka had investigated two mine sites to
increase production an additional 6–10 years. It included Hickory, Virginia (19 kilometers away) and
Aurelian Springs, North Carolina (60 kilometers away).


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Current US ilmenite deposits are projected to be exhausted by 2020, but two new mines are projected.
Southern Ionics is planning to have the South Mission Line completed by second-quarter 2014 and the
North Mission Line completed by the first-quarter 2015 in Charleton County and Brantley Co, Georgia,
respectively. The processing plant will be in Offerman in nearby Pierce County. It is supposed to be
completed by November 2014.

Production of titanium-containing minerals is projected as follows:

               Southern Ionics Titanium Mineral Production Forecast
               (thousands of metric tons)
                                         Gross Weight                                              TiO2 Content
                         Ilmenite Leuxocene Rutile                     Total      Ilmenite Leuxocene Rutile
               2014          12.9        3.4  7.3                       23.6           8.3        2.7  7.0
               2015           33.8                9.0      19.3         62.1           21.6                  7.1     18.6
               2016           63.0               16.7      35.9        115.6           40.3                 13.1     34.6
               2017           62.7               16.7      35.7        115.1           40.1                 13.1     34.4
               2018           74.3               19.7      42.3        136.3           47.6                 15.5     40.8
               2019           70.8               18.8      40.3        129.9           45.3                 14.8     38.8
               2020           68.6               18.2      39.0        125.8           43.9                 14.3     37.6
               Source: Southern Ionics Presentation.



The following table presents US imports of raw materials by harmonized code:

                 US Imports of Raw Materials for Titanium Dioxide Production
                 (thousands of metric tons, gross weight)
                                Titanium                                 Natural           Synthetic
                                    Slag               Ilmenite           Rutile              Rutile               Total
                 2000                563                   265              265                 173                1,266
                 2001                  594                 467                 197                 127             1,385
                 2002                  445                 395                 211                 179             1,230
                 2003                  432                 395                 255                 172             1,254
                 2004                  457                 244                 216                 144             1,061
                 2005                  667                 154                 184                 182             1,187
                 2006                  693                 187                 251                 104             1,235
                 2007                  668                 246                 379                     82          1,375
                 2008                  461                 573                 365                 122             1,521
                 2009                  414                 260                 224                     56           954
                 2010                  475                 459                 265                 122             1,321
                 2011                  506                 377                 262                 119             1,264
                 2012                  618                 374                 277                 112             1,381
                 2013                  682                 389                 279                 127             1,477
                 2014                  667                 344                 278                  76             1,365
                 Sources:
                 (A) Mineral Industry Survey - Titanium, US Department of the Interior, US Geological Survey (data for
                 2000–07).
                 (B) Global Trade Atlas, Global Trade Information Services, Inc. (data for 2008–14).
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The following table presents US imports of raw materials for the production of titanium dioxide (includes
material that is used to make products other than pigment). Natural rutile’s harmonized code is
# 2614.00.6040, while synthetic rutile is shown in harmonized code # 2614.00.3000. Ilmenite is shown in
harmonized code # 2614.00.6020 and titanium slag is # 2620.99.5000.

          US Imports of Raw Materials for Titanium Dioxide Production
          (thousands of metric tons, gross weight)
                                 Titanium Slag
                                  South                               Unprocessed Ilmenite
                                                                                                      a
                      Canada      Africa     Other     Total        Australia      Other      Total
          1970           123           0         0      123               87           --        87
          1975            193          0           0    193                89         21        111
          1980            132         55           0    187               307         17        324
          1985            177         88           0    265               460        neg        460
          1990            100        269           6    375               326         20        346
          1995              41       347         neg    388               294        179        473
          2000            123        400          40    563               113        152        265
          2001            258        336          --    594               261        206        467
          2002              95       350          --        445           265        130        395
          2003              58       351          23    432               238        157        395
          2004            122        335          --        457           120        124        244
          2005            168        472          27        667           135         19        154
          2006            159        512          22        693           127         60        187
          2007            193        475          --        668           228         18        246
          2008            106        355           0        461           219        354        573
          2009            109        305           0        414           105        155        260
          2010            150        325           0        475            98        361        459
          2011            191        315           0        506           244        133        377
          2012            303        315           0        618           245        129        374
          2013            223        459           0        682           189        200        389
          2014            205        339         123        667           215        129        344




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         US Imports of Raw Materials for Titanium Dioxide Production (continued)
         (thousands of metric tons, gross weight)
                                                                       b
                                                      Natural Rutile
                                                                                        c          a
                     Australia         Sierra Leone               South Africa    Other       Total
         1970             203                18                              0         0        221
         1975             151                 0                              0       neg        151
         1980              87                37                              7         1        131
         1985              60                30                             40         3        133
         1990             121                53                             42         2        218
         1995              62                11                           114          5        192
         2000             113               neg                           140         12        265
         2001              56                --                           141        neg        197
         2002              61                --                           138         12        211
         2003             117                --                           123         15        255
         2004              57                --                           147         12        216
         2005              35                --                           137         12        184
         2006              60                 8                           136         47        251
         2007             145                27                           170         37        379
         2008             136                11                           176         42        365
         2009             122                11                             76        15        224
         2010             125                30                             97        13        265
         2011             106                10                           133         13        262
         2012             131                  1                          135         10        277
         2013              95                43                           118         23        279
         2014              70                22                           157         29        278


                                         Synthetic Rutile
                                                                                        d          a
                     Australia           Malaysia                 South Africa    Other       Total
         1970              na               --                               --        0         na
         1975              31               --                               --       21         53
         1980              93               --                               --       16        109
         1985              30               --                               --        0         30
         1990              53               --                               --        4         57
         1995             122               0                                0         5        127
         2000             159               0                                0        14        173
         2001             103               --                               --       24        127
         2002             176               --                               --        3        179
         2003             164               8                                --      neg        172
         2004             138               5                                --        1        144
         2005             158              14                                --        9        182
         2006              73               9                               22       neg        104
         2007              65               2                               15       neg         82
         2008             111               3                                5         3        122
         2009              48               5                                --        3         56
         2010             109               4                                9         0        122
         2011             112               6                                1         0        119
         2012             107               1                                0         4        112
         2013             124               2                                0         1        127
         2014              72               3                                0         3         76




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              a. Totals may not equal the sums of the categories because of rounding.
              b. Some of the rutile data incorporate industrial applications other than pigment production.
              c. Includes Canada, India, Mexico, the Netherlands, and Sri Lanka.
              d. Includes Brazil and the Netherlands, as well as Malaysia prior to 1995.
              Sources:
              (A) Minerals Yearbook, US Department of the Interior, Bureau of Mines (data for 1970 and 1975-1990).
              (B) Mineral Yearbook-Titanium, US Department of the Interior, US Geological Survey (data for 1995-2006).
              C) Mineral Industries Survey-Titanium, US Department of the Interior, US Geological Survey (data for 2007).
              (D) Global Trade Atlas. Globatl Trade Information Services, Inc. (data for 2008–14).
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Titanium dioxide

Producing companies

The following table presents US producers of titanium dioxide:

US Producers of Titanium Dioxide
                                                Annual Capacity
                                                                   a
                                              as of 1 January 2015
            Company and                           (thousands of
           Plant Location                          metric tons)            Process                       Trade Name/Remarks
Cristal Global                                                                         Formerly known as Millennium Inorganic Chemicals,
                                                                                       which was acquired in 2007.
    Ashtabula, OH                                        215              Chloride     Start-up in 1969. Feedstock is imported natural or
                                                                                       synthetic rutile and titanium slag. Technology licensed
                                                                                       from DuPont. Plant also sells titanium tetrachloride to
                                                                                       manufacturers of titanium sponge, catalysts and
                                                                                       specialty chemicals.
    Baltimore, MD                                         0               Chloride     Plant permanently closed in 2013, after being idled in
                                                                                       2009. Plant had started up in 1970. Feedstock was
                                                                                       imported natural or synthetic rutile and titanium slag.

DuPont
 DuPont Titanium Technologies
   De Lisle, MS                                          360              Chloride     Start-up in 1979. Feedstock is a mixture of Australian
                                                                                       high-TiO2-content ilmenite.
    Edgemoor, DE                                         190              Chloride     Start-up in 1956. Feedstock is a captive mixture of
                                                                                       high-TiO2-content minerals including ilmenite. Supplies
                                                                                       paper-grade pigment. By-product ferric chloride is
                                                                                       marketed by Eaglebrook (acquired by Kemiron in late
                                                                                       2004).
    New Johnsonville, TN                                 400              Chloride     Start-up in 1959. Added third production line in 2000,
                                                                                       which boosted annual capacity from 320 thousand to
                                                                                       385 thousand metric tons.
Louisiana Pigment Company
   Lake Charles, LA                                      156              Chloride     Start-up in 1966. Company is a 50% Kronos, 50%
                                                                                       Huntsman Pigments joint venture. Feedstock is slag
                                                                                       purchased from Rio Tinto or natural rutile ore from
                                                                                       Iluka.
Tronox
   Hamilton, MS                                          225              Chloride     Start-up in 1965. Feedstock is captive synthetic rutile.

Total                                                   1,546
a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores and product mixes, as well as maintenance
schedules and changing environmental requirements.
Source: IHS Chemical estimates.
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On 19 December 2014, DuPont announced plans to spin off its mostly commodity Performance
Chemicals business unit, which contains titanium technologies (44% of sales), fluoroproducts (35% of
sales), and chemical solutions (21% of sales). The new company will be called The Chemours Company
and is expected during the first quarter of 2015.

On 16 May 2011, DuPont announced plans to expand titanium dioxide globally by 350 thousand metric
tons, with Altamira, Mexico gaining a new titanium dioxide line of 200 thousand metric tons scheduled
for early 2016. The remaining four sites have already expanded their capacities and are shown in 2014
data.

To ensure a supply of feedstock, in early 2012, DuPont announced an agreement with Gunson Resources
to offtake ilmenite from its Western Australian Coburn mine. On 8 December 2014, Gunson Resources
Ltd. changed its name to Strandline Resources Ltd.

On 1 October 2014, Huntsman acquired Rockwood Holdings’ titanium dioxide and additives business for
$1.28 billion, which included color pigments, timber treatment chemicals, thermoplastic compounding,
and water treatment chemicals. It included the Sachtleben titanium dioxide plants at Duisburg and
Krefeld, Germany, and Pori, Finland. Combined titanium dioxide capacity is 340 thousand metric tons.
On 1 December 2014, Huntsman announced it would cut 900 jobs in the titanium dioxide and additives
segment to generate $130 million in savings by mid-2016. Huntsman is also considering titanium dioxide
capacity reductions. It was announced that 75% of the 900 jobs lost would be cuts at the three titanium
dioxide plants acquired from Rockwood Holding in Finland and Germany.

In October 2014, PPG and Henan Billions opened a 100 thousand metric ton titanium dioxide plant at
Jiaozuo, China.

Changes in the industry during the 2000s are as follows:

    x   In 2000, Kerr-McGee acquired the Kemira titanium dioxide plants in Savannah, Georgia.

    x   In 2001, Millennium mothballed a 44 thousand metric ton-per-year sulfate-process plant in
        Savannah, Georgia, largely as a result of declining consumption for the paper industry.

    x   In 2003, Kerr-McGee shut a 54 thousand metric ton-per-year sulfate plant in Savannah, Georgia.

    x   In 2004, Lyondell acquired Millennium.

    x   In 2006, Kerr-McGee divested the titanium dioxide and other inorganic chemicals operation into
        Tronox, a publicly traded company.

    x   In 2007, Lyondell sold its Inorganic Chemicals Division, which consisted primarily of titanium
        dioxide operations of the former Millennium, to Cristal Global of Saudi Arabia.

    x   In March 2009, Cristal idled the chloride process–based 51 thousand metric ton-per-year plant in
        Baltimore, Maryland.

    x   In late 2010, Tronox shut its 110 thousand metric ton-per-year chloride process–based plant at
        Savannah, Georgia.




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   x   In April 2011, Cristal announced plans to close the Baltimore plant beginning in July 2011, with
       permanent shutdown by the end of 2013.

   x   In mid-2011, Tronox announced plans to acquire the mineral sands assets of Exxaro in the KZN
       and Namakwa sands operations in South Africa and its 50% interest in the Australian-based
       TiWest ore and TiO2 plants. In exchange, Exxaro obtains a 38.5% interest in Tronox. As of early
       2012, the transaction awaited shareholder and regulatory approval. The new Tronox will have
       capacity to produce about 465 thousand metric tons of TiO2, 95 thousand metric tons of rutile,
       380 thousand metric tons of slag, and 220 thousand metric tons of synthetic rutile.

The following table presents US nameplate capacity and production of titanium dioxide:

                        US Capacity and Production for Titanium Dioxide
                        (thousands of metric tons, gross weight)
                                           Annual                                    Operating Rate
                                        Capacitya             Production                      (percent)
                        1965                    647                  523                            81
                        1970                    763                     585                            77
                        1975                    858                     549                            64
                        1980                    793                     660                            83
                        1985                    859                     783                            91
                        1990                  1,070                     979                            92
                        1995                  1,355                    1,250                           92
                        2000                  1,500                    1,400                           93
                        2001                  1,526                    1,340                           88
                        2002                  1,583                    1,410                           89
                        2003                  1,598                    1,464                           92
                        2004                  1,589                    1,511                           95
                        2005                  1,589                    1,310                           82
                        2006                  1,622                    1,440                           89
                        2007                  1,622                    1,440                           89
                        2008                  1,696                    1,350                           80
                        2009                  1,646                    1,230                           75
                        2010                  1,541                    1,320                           86
                        2011                  1,541                    1,290                           84
                        2012                  1,541                    1,140                           74
                        2013                  1,490                    1,200                           81
                        2014                  1,546                    1,280                           83
                        a. Effective capacity as of December 31.
                        Sources:
                        (A) Current Industrial Reports, Series M28A, US Department of Commerce, Bureau
                        of the Census (datum for Production for 1965).
                        (B) Federal Trade Commission: Docket No. 9108, initial decision filed September 4,
                        1979 (data for Production for 1970–75).
                        (C) Minerals Yearbook, US Department of the Interior, US Geological Survey (data
                        for Production for 1980–2002, 2005, and 2009–11).
                        (D) IHS Chemical estimates (all other data).
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Effective capacity will depend on the variations in feedstock ores and product mixes, as well as
maintenance schedules and changing environmental requirements.


Salient statistics

The following table presents US supply/demand for titanium dioxide (data are based on gross weight of
titanium dioxide, which commercially is 9294% TiO2). Trade values include harmonized code numbers
320611 and 282300, excluding 320619 at the suggestion of several producers.

       US Supply/Demand for Titanium Dioxide
       (thousands of metric tons, gross weight)
                                                 a
                                     Shipments                                    Stocks
                                                                  b         c
                     Production   Commercial         Total Imports Exports (year-end) Consumption
       1955               370.9       358.2          383.7        --   35.4        na       335.5
       1960               413.3        396.1         424.7      5.5     18.1         64.7          403.4
       1965               523.2        475.8         519.9     45.0     15.4         92.3          550.0
       1970               585.2        508.8         584.0     54.6     13.6         97.0          620.7
       1975               549.5        502.8         537.1     24.0     14.2         97.1          545.3
       1980               659.7            --        663.6     88.5     38.2         75.5          683.6
       1985               783.3            --        862.4    178.0     92.5         51.5          893.0
       1990               978.7            --   1,116.40      147.6    202.3         61.7          925.4
       1995               1,250            --        1,330     183       342         120           1,080
       2000               1,400            --           --     209       453         141           1,156
       2001               1,340            --           --     203       390         159           1,143
       2002               1,410            --           --     227       521         145           1,116
       2003               1,464            --           --     236       545         156           1,111
       2004               1,511            --           --     246       606           na          1,180
       2005               1,310            --           --     342       512           na          1,140
       2006               1,440            --           --     276       331           na          1,315
       2007               1,440            --           --     214       578           na          1,076
       2008               1,350            --           --     172       677           na            845
       2009               1,230            --           --     162       626           na            766
       2010               1,320            --           --     192       730           na            782
       2011               1,290            --           --     188       754           na            724
       2012               1,140            --           --     190       598           na            732
       2013               1,200            --           --     201       633           na            768
       2014               1,280            --           --     215       671           na            824
       2019               1,450            --           --       --        --          na            932
                                         Average Annual Growth Rate
                                                  (percent)
       2014–19            2.5%            --        --       --            --           --          2.5%




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      a. The difference between Total Shipments and Commericial Shipments is interplant transfers.
      b. Datum for 1960 is an estimate, based on the assumption that 99% of imported material classified by the source
      as “titanium potassium oxalate and all mixtures containing titanium” was titanium dioxide. Since 1963, titanium
      dioxide pigments have been reported as a separate category by the source. Imports prior to 1958 are assumed to
      be negligible.
      c. Reported data prior to 1975 include substantial quantities of extended TiO2 pigment. Therefore, these data have
      been adjusted to a 100% TiO2 basis using assumptions based on data on the quantities and values of TiO2
      pigments exported by country. Since 1971, no adjustments have been made, although minor quantities of extended
      pigments were exported in some years.
      Sources:
      (A) Facts for Industry, Series M28A, US Department of Commerce, Bureau of the Census (data for Production and Shipments for
      1955).
      (B) Current Industrial Reports, Series M28A, US Department of Commerce, Bureau of the Census (data for Production for 1960-1965,
      Shipments for 1960-1970 and Stocks for 1960-1975).
      (C) Federal Trade Commission, Docket No. 9108, initial decision filed September 4, 1979 (data for Production for 1970-1975 and
      Shipments for 1975).

      (D) Titanium Dioxide from Belgium, France, the United Kingdom and the Federal Republic of Germany, USITC Publication 1009, US
      International Trade Commission, November 1979 (data for interplant transfers [see footnote a] for 1975 and for Imports for 1975 ).

      (E) US Imports, US Department of Commerce, Bureau of the Census (data for IMPORTS for 1960–70).
      (F) US Exports, US Department of Commerce, Bureau of the Census (basis for Exports estimates for 1955–70 and data for Exports for
      1975).
      (G) Minerals Yearbook, US Department of the Interior, Bureau of Mines (data for 1980–95).

      (H) Minerals Yearbook, US Department of the Interior, US Geological Survey (data for 1996–2006, except as noted in footnotes d-f).

      (I) Minerals Commodity Surveys, US Department of the Interior, US Geological Survey (data for 2007–11).

      (J) IHS Chemical estimates (all other data).
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Consumption

In the United States, 5560% of TiO2 is consumed in paints and coatings, 2530% in plastics, 1015% in
paper and 5–10% in all other uses. Demand tends to be seasonal and is the highest in the spring and
summer as paint sales peak. The percentage of TiO2 used in plastics has grown recently at the expense of
other outlets.

Historical US consumption of TiO2 (reported by industry to the Bureau of Mines and more recently the
US Geological Survey) is shown below. The data are based on shipments to domestic users by the
domestic producers and on an estimate of imports by market. Each major market is discussed following
the table.




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              US Consumption of Titanium Dioxide Pigments
              (thousands of metric tons, gross weight)
                                  Paints and                                   Paper and
                                                                                                              a
                                   Coatings              Plastics             Paperboard              Other              Total
             1975                        313                    55                   110                  67               545
             1980                        345                    85                   154                  88               672
             1985                        485                  145                    183                  34               847
             1990                        453                  154                    245                  73               925
             1995                        507                  191                    268                 114             1,080
             2000                        570                  245                    235                 106             1,156
             2001                        585                  286                    172                 100             1,143
             2002                        584                  294                    165                  73             1,116
             2003                        625                  252                    180                  63             1,111
             2004                        648                  262                    187                  65             1,180
             2005                        670                  276                    137                  57             1,140
             2006                        634                  292                    140                  84             1,315
             2007                        626                  253                    134                  63             1,076
             2008                        499                  196                    101                  49               845
             2009                        447                  182                     91                  46               766
             2010                        453                  199                     85                  45               782
             2011                        421                  196                     70                  37               724
             2012                        431                  186                     72                  43               732
             2013                        456                  190                     73                  49               768
             2014                        488                  203                     74                  59               824
             2019                        563                  235                     67                  67               932
                                               Average Annual Growth Rate
                                                        (percent)
             2014–19                      2.9%         3.0%           –2.0%                              2.6%            2.5%
             a. Prior to 2001, the source broke down data into the following categories: elastomers, floor
             coverings, printing inks, coated fabrics and textiles, ceramics and roofing granules.
             Sources:
             (A) Minerals Yearbook-Titanium, US Department of the Interior, Bureau of Mines (data for 1985–95).
             (B) Minerals Yearbook-Titanium, US Department of the Interior, US Geological Survey (data for 1996–2008).
             (C) Minerals Commodity Summaries-Titanium and Titanium Dioxide, US Department of the Interior, US Geological
             Survey (data for 2009–11).
             (D) IHS Chemical estimates (data for 1975, 1980 and 2016).
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Paints and coatings

In 2014, paints and coatings accounted for 488 thousand metric tons or 59.2% of total US consumption,
with growth forecast at 2.9% annually during 201419. This percentage is somewhat lower than in many
other regions of the world.

Titanium dioxide is the major pigmenting constituent of most surface coatings, especially where opacity
is desired; rutile grade is used predominantly in exterior paints because of its superior hiding power as
well as higher chalk resistance. Sometimes anatase titanium dioxide is added to the paint to promote
slight chalking, thus assisting in dirt removal. In interior paints, the selection of pigment is less critical.

There are three types of coatings: architectural, product finishes, and special purpose. Architectural
coatings are used on residential and nonresidential structures, product finishes on factory-produced goods,
and special-purpose coatings are applied to various industrial structures in outdoor settings. The
breakdown of use of titanium dioxide is skewed toward use in architectural coatings. In 2014, it is
estimated that 57% is for architectural coatings, 30% for product finishes, and 13% for specialty finishes.

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Loadings of TiO2 in architectural coatings vary widely, depending on the gloss, color, and quality of
paint. For flat coatings, TiO2 usually accounts for about 50% of the total cost of raw materials, while with
high-gloss coatings, TiO2 accounts for about 33% of the total. Most producers of architectural coatings
offer low- to high-level grades of paint. The higher grades contain more pigment and resin and less filler
and water.

One trend that leads to increased use of titanium dioxide is greater use of semigloss paints for wall
coverings rather than flats, as consumers prefer brighter, sharper colors especially for bedrooms. TiO2 is
required for even most off-white colors of paint, as some pigments (e.g., organic violets and
phthalocyanine) must be mixed with TiO2 to develop bright colors. (Many organic pigments absorb
visible light so they appear black. TiO2 assists in scattering the light.) All pastel colors are based on
titanium dioxide.

During 201112, producers of architectural coatings have experienced pronounced drops in profitability,
in large part caused by the sizeable increase in TiO2 prices. This has led to concerted efforts to reduce
usage. Actions taken to date include the following:

    x   Increased use of substitute low-cost fillers such as calcium carbonate, kaolin, and other materials,
        but this tends to compromise aesthetics or properties.

    x   Use of hollow latex particles (Dow Chemical’s Ropaque®) or precomposite polymer technology
        (Evoque™ also by Dow Chemical). Ropaque consists of spherical styrene/acrylic beads supplied
        in an emulsion. After application, water permanently diffuses from the center of the beads and is
        replaced by air, resulting in discrete encapsulated air voids uniformly dispersed throughout the
        dry paint film. Air spaces are introduced into the dried coating, creating a difference in refractive
        index between the air, which tends to make the TiO2 more efficient as a hiding agent. Evoque
        Pre-Composite Polymer strongly interacts with the surface of TiO2 particles, forming a pigment-
        polymer composite that results in more even distribution of TiO2 particles in the paint film, which
        improves hiding, leading to lower TiO2 consumption. It is believed that use of these products
        remains minor. Globally, however, consumption is very small.

    x   Procurement is from nondomestic suppliers of titanium dioxide, typically from low-cost regions
        such as China or Eastern Europe. The biggest drawback is that quality tends to be inconsistent,
        and only sulfate-based pigment is available. Still, Sherwin-Williams, for example, reports that its
        use of lower-grade sulfate-based TiO2 is now over 20%, while PPG reports use of about 10%.
        Sulfate-based pigment with suitable quality can be substituted readily for chloride-based pigment
        in flat or low-gloss architectural coatings with little perceived difference.

Producers of TiO2 have been improving the types of surface coatings on the pigment used to improve
dispersability, which allows the use of somewhat less TiO2 per unit of surface coated. Other approaches
are also being developed. For example, several recent patents (e.g., US Patent Application
US2005/0009954 A1) describe a method to improve dispersibility, and thus lower the concentration, of
TiO2 in paint formulations. The emulsion polymer is composed of a monomer with a phosphorus acid
group (e.g., 2-phosphoethyl methacrylate), which forms a covalent bond with the titanium dioxide
pigment to produce a coating with a good combination of hiding power, dirt pickup resistance and other
properties.

The distribution of architectural paints has changed significantly in the past 20 years. Sales through mass
merchandisers, such as Home Depot, Lowe’s, and others has grown from 510% in 1990 to 25% in 2011
and an estimated 2530% in 2014. Consolidation within the paint industry has resulted in continuing
pressure on the titanium dioxide producers.

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Another change that has taken place in the architectural coatings market, from a TiO2 supplier’s
viewpoint, has been in the choice of pigment used. Before 1990, it was not uncommon to find that a paint
manufacturer would use three types of TiO2; one type for solvent-based gloss paints, another for interior
water-based gloss paints and another for low-gloss or matte emulsion paints. Today, most paint
manufacturers use a multipurpose TiO2 product across their formulations. This leads to cost savings
through reduced inventory, simpler formulations and even improved performances for the coating
manufacturer. Multipurpose and general-purpose TiO2 pigments now account for nearly 75% of the TiO2
pigments used in architectural paints. In recent years, the use of pigments with high levels of surface
coatings in flat finishes has decreased and some paint manufacturers are now using multipurpose
pigments in conjunction with appropriate extender blends with no loss of performance or increase in cost.
Most TiO2 manufacturers are expecting this trend to slow as most conversions have been made. Most
research efforts are now focused on improving the durability of titanium dioxide in high-value products
through new surface treatments to minimize agglomeration and maximize dispersibility of the pigment,
and/or tighter particle size distribution to minimize fines (which are more photochemically active, leading
to higher rates of paint degradation) and coarse particles (which cause discontinuities in thin-film
applications). Dow Chemical now offers Avanse™ technology, where a monomer with a phosphorus acid
group (e.g., 2-phosphoethyl methacrylate) is added to an acrylic emulsion polymer to form a composite
particle with TiO2 through covalent bonding. This enhances hiding power, along with other properties.

Another trend is the move toward receiving more TiO2 in slurry form by rail or tank truck, which can
easily be processed in large, highly automated paint production facilities. Slurry is a convenient, efficient
method of adding titanium dioxide into a waterborne paint formulation. The dispersion is finer than can
be achieved in most plant operations. Moreover, slurry is delivered directly from storage tanks to the
mixing area; thus, there is no waste generation in the form of discarded bags or trapped pigment and
delivery to the paint mixing area can be carefully metered. Slurry handling facilities are relatively simple
and are frequently justified by the system savings achieved. In some cases, productivity in the coatings
plant can be improved by as much as 20% if the paint manufacturer uses large volumes of a limited
number of titanium dioxide grades.

Plastics and rubber

In 2014, plastics and rubber accounted for 203 thousand metric tons or 24.6% of total US consumption,
with growth forecast at 3.0% annually during 201419.

Plastics have accounted for 2527% of US consumption of TiO2 in recent years. Titanium dioxide is by
far the most widely used white pigment in plastics. Virtually all plastics have some applications that
require TiO2. The major portion of titanium dioxide pigment consumption is accounted for by the huge
commodity thermoplastics, including polyolefins (primarily low-density polyethylenes), polystyrene,
polyvinyl chloride (PVC), and ABS (acrylonitrile-butadiene-styrene copolymer). With polyolefins, TiO2
is usually incorporated by first preparing a color concentrate (composed of a relatively high concentration
of pigment and other additives dispersed in the polymer), which is then blended into the base polymer.

Titanium dioxide pigments are incorporated into plastics to provide whiteness and opacity. In some
applications, such as outdoor PVC siding, higher loadings (1222%) are used for ultraviolet light
protection and improved dimensional properties (TiO2 use is usually reported as parts per hundred parts
of resin by weight). Typical applications are silage film, boat and automobile covers, agricultural film,
and snack food packaging in polyethylene. It is believed that over one-fourth of the TiO2 consumed by the
plastics industry is for tinting or adding opacity to colored organic or inorganic pigments. Titanium
dioxide competes for use with the much lower-priced calcium carbonate or calcined kaolin clays.



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Almost all of the vinyl building products, including siding, windows, decking, and fencing, contain TiO2.
PVC pipe for plumbing and other uses also contains TiO2. In these products, TiO2 provides protection to
the vinyl by absorbing the ultraviolet (UV) rays from the sun. This prevents degradation of the vinyl,
providing long lasting beauty for the lifetime of these products. Both vinyl and laminate home flooring
contain TiO2.

Titanium dioxide is used to color thin packaging film to provide opacity and to allow the film to be
printed for advertising and information purposes. Also, TiO2 pigments absorb UV radiation to help protect
the packaged goods from harmful rays, which could reduce the storage life of fat-containing food.

Paper and paperboard

In 2014, paper and paperboard accounted for 74 thousand metric tons or 9.0% of total US consumption,
with consumption forecast to decline at 2.0% annually during 201419. In general, production of paper
has declined in North America and Western Europe. As a result, consumption of titanium dioxide is
declining. The exception is China, where pulp and paper is growing.

In addition, much of the global papermaking industry has shifted from acid (alum) sizing to alkaline
sizing, which increases product longevity and adds strength, as chemical reactions between acid and the
paper components (leading to progressive yellowing of paper) are avoided. The use of alkaline sizing
allows the large-scale use of calcium carbonate because it does not react with the sizing, as it does with
alum. As much as 70% of the titanium dioxide used in uncoated free-sheet printing and writing papers can
be eliminated. However, with higher-quality paper (e.g., those exhibiting high brightness such as annual
reports and expensive advertising), there has been little change in TiO2 consumption so as to maintain
quality standards.

The most commonly used pigment for papermaking is kaolin clay, sometimes in combination with
calcium carbonate. Titanium dioxide is used in higher-quality products to impart opacity and brightness.
Three segments of the paper market account for the bulk of TiO2 consumption.
    x   Coated printing and writing papers (accounts for 50% of all TiO2 use), which includes high-end
        magazines and advertisements. TiO2 allows magazines to take advantage of lighter weight papers
        while maintaining a quality product with clean, white, bright pages, and allows catalogers to
        display their products on pages that maximize the true look of their merchandise without the
        degrading interference of print show-through.
    x   Bleached and coated paperboard (25%), including packaging used for foods and beverages,
        detergents and tissues. Coated board, coated recycled board, and whitetop corrugated linerboard
        packaging all use TiO2 in their surface coating to provide the highly opaque, bright, clean, white
        coated surface enabling high-quality printed graphics. White plastic packaging films and
        containers for food, beverage, personal care and other consumer goods also contain TiO2 to
        provide an opaque, white, bright appearance to display printed graphics.
    x   Uncoated printing and writing papers (20%), which includes copy paper and form bonds.

There is also some use of TiO2 in industrial packaging and coated groundwood (e.g., catalogs and weekly
magazines). Highly durable plastic paper also contains TiO2 for opacity and brightness.

Use of TiO2 has decreased in uncoated sheet, but increased in coated sheets in recent years. Some of the
higher growth is in the coated hardboard sector for beverages and detergent packaging, where clean,
bright colors are preferred. There is little TiO2 consumption in the huge markets such as newsprint, tissue
paper, and unbleached paperboard. These markets account for 75% of all paper and board production in
the United States.

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The amount of titanium dioxide incorporated depends on the grade and quality of paper produced. The
highest levels of TiO2 are incorporated into decorative laminating paper (loadings of 1025%), thin paper
(610%), waxed paper for frozen-food wrap (510%), cover and text paper (48%), offset paper for
publication and printing (12%), and general bond and writing paper (01%). On average, loadings of
TiO2 in North America are 1015 kilograms per metric ton for uncoated and coated printing grades, with
510 kilograms per metric ton for bleached and coated paperboard. The exact content of loading depends
on the paper grade; higher grades of paper consume higher loadings of TiO2. Generally, loadings are
higher in North America than in other parts of the world.

Titanium dioxide pigments can be incorporated directly into the paper as it is formed on the paper
machine (wet-end application) or can be applied to the paper after it has been formed, as a component of a
coating, to give a very high aesthetic quality. Traditionally, the industry has used anatase pigment, as it
works more effectively with optical brighteners than rutile grade. In addition, it is less abrasive, so the life
of paper cutting blades is extended. However, in recent years, the industry has moved more to rutile
pigment, mainly to benefit from being able to receive product in slurry form.

Inorganic materials such as calcined kaolin, carbonates, alumina, silica and other materials can be used as
filler to extend the use of TiO2 pigment. In Europe, this practice is more common than in North America.
Calcium carbonate is currently the most important filler, especially with the gradual shift in papermaking
toward alkaline sizing and the low prices of calcium carbonate.

Other

In 2014, all other applications accounted for 54 thousand metric tons or 6.6% of total US consumption,
with growth forecast at 4.4% annually during 201419. One of the growth segments will be use of nano
titanium dioxide for use in photovoltaics (PVs).
Elastomers. Titanium dioxide pigments are used in a number of natural and synthetic elastomer products.
The two largest elastomer markets for TiO2 are white sidewalls for passenger tires and rubber footwear
(e.g., tennis, gym, and jogging shoes). Other elastomer products that contain TiO2 include floor mats,
gloves, rainwear, wall coverings and sports equipment (the outer coverings of some golf balls typically
contain TiO2). The TiO2 content of white sidewall formulations varies from 8% to almost 20% for
applications in which high ozone resistance is desired. Up to 15% TiO2 is recommended for white stock
thermoplastic elastomers, for UV protection as well as improved color. Anatase-grade TiO2 is primarily
used by the elastomer industry.
Consumption of TiO2 for tires is believed to account for about one-half of elastomeric consumption of
TiO2, although consumption in other products is apparently increasing at a faster rate. Future use of TiO2
in elastomers is still largely dependent on use in passenger tires, even though applications in other
elastomers are growing. Because of the trend away from whitewall tires, use in elastomers has been
decreasing in recent years.
Printing inks. Titanium dioxide consumption in printing inks is estimated at around 9.5 thousand metric
tons, with consumption forecast to decline at 2.0% annually during 201419.
Titanium dioxide accounts for 10% of the total pigment used by North American printing inks producers.
Some white printing inks may contain as much as 55% TiO2 by weight (primarily rutile), which is
substantially more than typical white paints. Many light-colored inks also require a substantial amount of
TiO2 for their formulation. All of the major ink types—flexographic, rotogravure, letterpress, and
lithographic—consume some TiO2, although lithographic and specialty ink categories, such as screen
process inks, are minor markets for TiO2. The most important markets, which account for 90% of
consumption of TiO2-containing inks, are packaging, particularly flexible packaging such as polyethylene
food wrap. Other uses include metal cans and small amounts for publications.

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Modern printing presses operate at very low coating thicknesses (typically less than 10 microns) so very
fine grades of TiO2 must be used. Lithopone and other fillers do not possess the whiteness required in
such thin films.

Major producers of printing inks are as follows: Sun Chemical (owned by Dainippon Ink & Chemical),
Flint Ink, INX, Siegwerk, and CR/T. In addition, there are many small producers, many with sales of less
than $5 million annually.

Ceramics. TiO2 use in ceramics has dropped significantly in the last two decades, mainly as the
consumption of frits has fallen. The appliance industry, probably the major consumer of frits, has steadily
switched to powder coatings and other durable, less energy-intensive finishes for washing machines,
dryers, refrigerators, and other goods.

Titanium dioxide is used as a component of porcelain enamels and glazes for metals, ceramics and
specialty glasses. (Another ceramic use of titanium dioxide is in electrical components such as ceramic
capacitors; this use is discussed in the Other section.) In general, nonpigmentary grades of TiO2 are used
in ceramic applications; they differ from pigmentary grades in that they have larger particle sizes and the
surface of the particle is untreated.

Titanium dioxide is incorporated into frits (the glassy material that is the major component of porcelain
enamels and glazes) in varying amounts up to 20%. Frits are applied to metal substrates and then fired at
around 700°C; upon recrystallization, the coating appears white and opaque. TiO2 is also incorporated
into white dry-process enamels for cast iron. The TiO2 content of these enamels is only 4–8%. If pastels
or colored enamels are desired, rutile mineral is used to supply the TiO2 because it is less expensive. TiO2
in glazes for ceramics can serve as an opacifier, to provide resistance to acids and for special surface
texture (semimattes). TiO2 pigment is incorporated into glasses, including reflective beads, to increase
opacity.

Floor coverings. This category includes titanium dioxide consumed only in resilient floor tiles and sheet
goods. Typically, these floor coverings contain 24% TiO2 by weight, although some products have a
much lower content. A substantial portion of the TiO2 consumed by this industry has been imported, not
requiring top-quality product.

Coated fabrics and textiles. Rutile-grade pigments are generally preferred for the coated-fabric market,
which includes artificial leather, oil cloth, upholstery material and wall coverings. Textile applications
include only the delustering of synthetic fibers (e.g., acrylics, nylon, rayon), either internally through
incorporation into the fiber or externally through coatings or dulling agents; anatase-grade pigments are
preferred because of their lower abrasiveness. The pigment typically constitutes 0.52% of the fiber by
weight. This market for TiO2 has declined and is estimated at 23 thousand metric tons per year.

Researchers have suggested using wool fibers that are chemically modified by immersing in a bath of
TiO2 nanocrystal solution. The TiO2 breaks down organic matter in the presence of sunlight, which would
make the fibers especially useful in hospitals and other medical settings.

Self-cleaning glass. PPG, Pilkington Glass, and St. Gobain market self-cleaning glass that is made by
coating flat glass with titanium dioxide. The TiO2, when exposed to UV light, energizes to provide
photocatalytic and hydrophilic properties. The photocatalytic action helps to loosen and dissolve dirt,
while the hydrophilic properties reduce the surface tension of water. As a result, glass can be cleaned by
merely sprinkling from rain or a garden hose. Also, the coating provides a sheeting action that helps the
window dry without spotting or streaking. Pilkington Activ™ consists of a 2030 nanometer layer of
nanocrystalline anatase titanium dioxide deposited by an atmospheric pressure chemical vapor deposition
technique onto soda-lime silicate float glass. The result is a product with extremely favorable visible

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transmission and reflectance properties; Activ™ has a visible reflectance of around 7% and a visible haze
of less than 1%, but absorbs 20% of incident solar UV light that is used in the self-cleaning process. The
coating is also robust and cannot be easily damaged; Pilkington claims that the coating will last the
lifetime of the window frame.

Roofing granules. TiO2 is also used as a component of roofing materials to increase light reflectance and
to provide flame retardance and thermal insulation. Consumption of TiO2 in this application has increased
gradually to about 4 thousand metric tons per year. Growth in the range of 1–2% per year is expected.

Electronics. Finely divided high-purity TiO2 hydrolysates are used to prepare barium and other titanates
used to make capacitors and piezoelectric materials. Single-crystal rutile with slightly less oxygen than
theoretical is an n-type semiconductor.

Miscellaneous. Titanate pigments, such as nickel titanate and nickel antimony titanate yellows, are
produced or distributed by five or six domestic companies, but the demand for TiO2 is small, amounting
to 45 thousand metric tons per year. Several other inorganic chemicals such as potassium titanate have
been or are being produced from TiO2, but they are not a significant factor in consumption.

Among the many other miscellaneous applications of titanium dioxide pigments are adhesives and
sealants, artist’s colors and crayons, building materials (e.g., ceiling tiles), cement-curing aids, natural
leather, shoe dressings, and soap.

About 300 metric tons per year of micronized TiO2 are used by the cosmetic industry, mainly to provide
sunscreen protection. Inorganic sunscreen agents like TiO2 and zinc oxide are more effective over the
broader UV-A and UV-B spectrum than organic agents like benzophenones and cinnamates, which are
more limited. Also, the inorganic particles are less prone to breakdown and are thus longer lasting, do not
irritate sensitive skin like chemical agents, and also are transparent due to their nanoscale size. Use of
TiO2 has been growing in cosmetics as more products incorporate sunscreens in their formulations, such
as makeup, lotions, and hair conditioners. However, there continues to be concern over the possible health
effects from the use of inorganic nanoparticles. In mid-2009, the EPA announced plans to collect
information on the use of TiO2 in tropical sunscreens. Research by RMIT University’s Nanosafety
Research Group released in early 2012 showed that miniscule zinc oxide and titanium dioxide particles,
as well as zinc ions and conventional chemical sunscreens, exhibit negligible skin penetration in human
cell test systems.

There is also interest in the use of nanoscale TiO2 in water treatment to remove arsenic. The particles
photocatalytically convert arsenite [As(III)] to aresnate [AS(V)], which is less soluble and therefore easier
to remove. There has been some pilot testing of both nanoscale and regular TiO2 in drinking water
treatment plants.


Price

During 200010, there was little change in prices of titanium ores. However, in 2011, titanium ore prices
started to rise due to increasing demand with no increases in supply. Prices for highly valued rutile ores
nearly tripled during 2011, while prices for ilmenite more than doubled.

The following table presents US bulk prices for the major raw materials in the manufacture of titanium
dioxide pigments:




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         US Bulk Prices for Major Raw Materials for Titanium Dioxide Pigmentsa
         (dollars per metric ton)
                                                          Titanium Slag
                               Rutile             Canada             South Africa              Unspecified           Ilmenite
         1970                    204                  44                        --                       --               21
         1975                    783                  74                        --                       --               54
         1980                    468                 113                     135                         --               54
         1985                    347                 196                     212                         --               38
         1990                    732                 270                     285                         --               69
         1995                    600                 244                     349                        na                83
         2000                    485                 362                     425                        na                94
         2001                    475                 335                     419                        na               100
         2002                    450                 340                     445                        na                93
         2003                    430                 444                     409                  385-444                 90
         2004                    455                 321                     398                  347-466                 81
         2005                    470                  na                       na                 390-555                 80
         2006                    475                  na                       na                 402-454                 80
         2007                    488                  na                       na                 418-457                 80
         2008                    525                  na                       na                 393-407                111
         2009                    533                  na                       na                 401-439                 73
         2010                    540                  na                       na                 367-433                 75
         2011                  1,400                  na                       na                 468-494                195
         2012                  2,400                  na                       na                 512-763                300
         2013                  1,700                  na                       na                 537-765                300
         2014                     na                  na                       na                       na                na
        a. Prices are rounded to the nearest dollar and represent year-end list prices. Whenever a price range was
        used in the source, the lowest price was used. Price bases are as follows:
            Rutile
                 1970–81              Fob cars at Atlantic, Great Lakes or Gulf ports
                 1982–84              Fob eastern US ports
                 1985–2013             Fob Australian ports, year-end, bulk.
        Data are believed to be for imported material, 95% TiO2. Prices in the table are spot prices for small
        quantities; long-term contract prices are substantially lower.
            Titanium Slag
            Canada
                  1970–81             Fob Sorel, Québec, 70–72% TiO2
                  1982–83             Fob Sorel, Québec, 74% TiO2
                 1984–2013            Fob Sorel, Québec, 80% TiO2.
                South Africa
                 1980–2013            Fob Richards Bay, South Africa, 85% TiO2.
            UNSPECIFIED
                  2003–13              85–95% TiO2.
            ILMENITE
                  1970–84             Fob eastern US ports; list price suspended effective January 1, 1985
                 1985–2013            Bulk, fob Australian ports
        Data are for imported material, 54% TiO2. Domestic ilmenite is essentially all captive or under long-term
        contract and is not available on the merchant market.
        Sources:
        (A) Engineering and Mining Journal (data for 1970).
        (B) Minerals Yearbook, US Department of the Interior, Bureau of Mines (data for 1975–94).
        (C) Minerals Yearbook, US Department of the Interior, US Geological Survey (data for 1995–99).
        (D) Mineral Commodity Summaries-Titanium Mineral Concentrates, US Department of the Interior, US Geological Survey (all
        other data).
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The volume ordered, grade, and form of delivery (i.e., bags, bulk or slurry) affect the price for TiO2
pigment. Quality is also a factor, as highly differentiated grades for inks, foods, fibers, performance
coatings, and high-end polymers cost about 10% more than conventional TiO2 used for high-quality
architectural and paper coatings, as well as conventional plastics. Lower grade, sulfate process–based,
anatase TiO2 can sell for 10–20% less than conventional pigment. Prices are affected by raw material and
energy costs.

Demand also affects prices. One of the major markets for TiO2 pigments is construction. In the early
2000s, the US construction market was strong due to low interest rates and real estate speculation, but
started declining in 2007, and then fell precipitously in 2008 due to the financial crisis caused by the
collapse of the subprime mortgage market.

Prices dropped in 200103 before rising in 2004–06, followed by a decline in 200709. With some
recovery in end-use markets and restricted supply due to industry rationalization, prices finally started to
rise at the end of 2010. In late 2010, US prices for conventional product were averaging about $3,000 per
metric ton. In 2011, the trend continued, so that early 2012 prices were roughly $3,400 per metric ton.
Some highly valued grades rose by about 40% in 2011. The industry was finally starting to make some
profits, bringing some optimism and generating interest in reinvestment in the business.

In 2013, global titanium dioxide pricing declined between 10% and 20% due to the worsening European
recession and stagnant US demand. In addition, Chinese GDP growth declined from historic levels as
construction growth slowed.

The following table presents US year-end prices for rutile-grade titanium dioxide pigments:

                        US Year-End Price for Titanium Dioxide
                        Rutile-Grade Pigments
                        (dollars per metric ton)
                        1991                                                                      2,178
                        1995                                                                      2,222
                        2000                                                                      2,222
                        2001                                                                      2,310
                        2002                                                                      1,980
                        2003                                                                      1,936
                        2004                                                                      2,200
                        2005                                                                      2,530
                        2006                                                                      2,574
                        2007                                                                      2,002
                        2009                                                                      2,176
                        2010                                                                      2,448
                        2011                                                                      3,330
                        2012                                                                      3,630
                        2013                                                                      3,630
                        2014                                                                      3,485
                        Sources:
                        (A) Mineral Commodity Summaries-Titanium and Titanium Dioxide, US Department
                        of the Interior, US Geological Survey (data for 1991–2007).
                        (B) Mineral Industry surveys-Titanium and Titanium Dioxide, US Department of the
                        Interior, US Geological Survey (data for 2009–10).
                        (C) IHS Chemical estimates (data for 2011–14).
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The table below shows how average market prices have increased in recent years:

                  Average US Market Price for Titanium Dioxide Pigments
                  (dollars per metric ton)
                  2009
                    1st Quarter                                                       2,000
                    2d Quarter                                                        1,800
                    3d Quarter                                                        1,900
                    4th Quarter                                                       2,000
                  2010
                    1st Quarter                                                       2,100
                    2d Quarter                                                        2,300
                    3d Quarter                                                        2,100
                    4th Quarter                                                       2,300
                  2011
                    1st Quarter                                                       2,300
                    2d Quarter                                                        2,500
                    3d Quarter                                                        2,800
                    4th Quarter                                                       3,020
                  2012
                    1st Quarter                                                       3,375
                    2d Quarter                                                        3,375
                    3d Quarter                                                        3,375
                    4th Quarter                                                       3,375
                  2013                                                                3,375
                    1st Quarter                                                       3,375
                    2d Quarter                                                        3,200
                    3d Quarter                                                        3,085
                    4th Quarter                                                       2,970
                  2014
                    1st Quarter                                                       2,895
                    2d Quarter                                                        2,860
                    3d Quarter                                                        2,985
                    4th Quarter                                                           --
                  Source: IHS Chemical estimates.
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Trade

Titanium ores and concentrates are traded under commodity code # 261400 with subcodes for ilmenite
(# 2614.00.6020), synthetic rutile (# 2614.00.3000), and other titanium ores and concentrates
(# 2614.00.6040).

In 2014, the leading countries of origin for synthetic rutile were Australia (95.9%) and Malaysia (3.7%).
In 2014, Mozambique surpassed Australia as the leading country of origin for ilmenite ores and
concentrates, with Mozambique at 62.5% and Australia at 37.4%. The leading countries of origin for
other titanium-containing ores and concentrates were South Africa (56.3%), Australia (25.0%), and Sierra
Leone (7.9%). Sierra Leone declined from 16.6% in 2013 as a result of fears over Ebola.



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Imports

Titanium oxides are traded under commodity code numbers 320611 (and to a limited extent under
320619) and 282300. Harmonized code # 320611 is the primary code used and typically is rutile TiO2
pigments, while harmonized code # 282300 is anatase unfinished TiO2 pigments, so-called uncoated
material. Multiple suppliers have noted they do not consider harmonized code # 320619 because it
contains less than 80% TiO2 content, some significantly less than 80%.

                 US Imports and Unit Import Values for Titanium Dioxide
                 (metric tons, gross weight)
                                      Titanium Dioxides
                         Titanium Dioxide                                    Other Titanium
                                Pigments         Titanium                           Dioxide
                                          a                 b                              c
                              (>80% TiO2)            Oxides         Total        Pigments
                 2000             180,377             28,963      209,340            8,755
                 2001             171,961             30,602      202,563            6,183
                 2002             183,909             43,053      226,962            4,499
                 2003             198,383             37,512      235,895            5,116
                 2004             199,312             46,317      245,629            5,383
                 2005             249,044             93,029      342,073            6,645
                 2006             206,531             68,922      275,453            5,511
                 2007             167,084             47,349      214,433            6,517
                 2008             135,187             37,085      172,272           10,386
                 2009             130,243             31,913      162,156           13,243
                 2010             144,879             47,183      192,062           12,053
                 2011             140,440             47,774      188,214           12,254
                 2012             150,846             38,653      189,499           13,147
                 2013             160,407             40,875      201,282           12,259
                 2014             173,763             41,104      214,867           12,891

                 (dollars per metric ton)
                                 Titanium Dioxides
                         Titanium Dioxide                                    Other Titanium
                                Pigments             Titanium                       Dioxide
                                          a                 b                              c
                              (>80% TiO2)            Oxides                      Pigments
                 2000               1,777              1,641                         2,368
                 2001               1,714              3,932                         3,932
                 2002               1,572              4,129                         4,129
                 2003               1,603              4,502                         4,502
                 2004               1,579              4,885                         4,885
                 2005               1,772              4,773                         4,773
                 2006               1,916              4,273                         4,273
                 2007               1,906              4,939                         4,939
                 2008               2,020              2,138                         4,126
                 2009               2,085              2,204                         3,324
                 2010               2,177              2,191                         3,748
                 2011               2,839              2,941                         3,885
                 2012               3,518              3,232                         4,157
                 2013               2,522              2,996                         4,036
                 2014               2,743              2,743                         4,110




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                 a. Reported under trade code # 320611.
                 b. Reported under trade code # 2823.
                 c. Reported under trade code # 320619.
                 Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                  © 2015 IHS


The following table presents US imports of titanium dioxide. In 2014, the leading countries of origin were
Canada (28.9%), China (24.6%), and Germany (12.1%).

                 US Imports of Titanium Dioxidea
                 (thousands of metric tons, gross weight)
                           Belgium Canada China Finland                         France Germany        Italy
                 2000           4.5   64.0 12.3      1.9                           12.9    25.0         8.4
                 2001           2.6   58.7 10.8      3.4                           19.0    19.9       11.6
                 2002           2.7   62.8 13.9      3.8                           22.5    26.1       11.8
                 2003           6.5   68.6 19.4      4.4                           19.1    32.1         9.5
                 2004           7.3   71.8 20.0      9.7                           22.1    23.2       10.2
                 2005          11.6  108.9 45.5    14.0                            24.1    23.6         9.5
                 2006           9.5   85.2 44.6    15.1                            16.1    23.7         7.6
                 2007           4.9   81.2 27.5    12.0                             6.7    12.2         6.8
                 2008           3.1   74.3 16.2    11.1                             4.6     9.2         6.4
                 2009           3.2   59.6 19.8    10.1                             7.5    10.5         5.7
                 2010           1.0   83.4 30.5    10.9                             9.1    10.6         5.1
                 2011           0.2   79.0 34.5      9.7                           10.6    10.7         6.6
                 2012           1.6   68.4 41.2      8.4                            7.9    11.7         5.4
                 2013           4.2   54.8 44.4    10.7                            10.6    24.1         4.9
                 2014           3.7   62.2 52.9    10.3                             6.7    25.9         3.3

                                                      South                     United
                                                                                                          b
                              Japan Norway Africa                  Spain Kingdom          Other     Total
                 2000            7.5    6.3   7.7                   15.7      4.0          39.1      209.3
                 2001            6.3    5.0   8.0                   14.1      3.4          39.8      202.6
                 2002           10.1    5.1   9.7                    7.7     12.1          38.7      227.0
                 2003           10.9    5.7   9.3                    9.1     13.6          27.7      235.9
                 2004            7.9    5.6   3.3                    8.8      7.8          47.9      245.6
                 2005            7.0    4.0     0                    8.8     28.0          57.1      342.1
                 2006            5.4    3.6     0                   12.2      8.9          43.6      275.5
                 2007            8.3    2.9     0                   10.5     11.1          30.3      214.4
                 2008            8.7    2.2     0                    5.1      6.4          25.0      172.3
                 2009            8.5    0.6  10.3                    1.6      1.0          23.8      162.2
                 2010            5.5    0.6     0                    2.7      0.4          32.3      192.1
                 2011            4.7    0.6     0                    3.0      0.3          28.3      188.2
                 2012            7.5    2.7     0                    3.1      0.3          31.3      189.5
                 2013            8.1    4.4     0                    4.0      0.4          30.7      201.3
                 2014            6.1    5.3     0                    4.6      0.3          33.8      214.9
                 a. Data are reported under import code numbers 320611 and 282300.
                 b. Totals may not equal the sums of the categories because of rounding.
                 Source: US Imports, US Department of Commerce, Bureau of the Census.
                                                                                                  © 2015 IHS


The current import duty on titanium dioxide is 5.5% (material imported under code # 282300) and 6%
(# 3206) ad valorem. Special tariffs are provided for a number of nations. There is no duty on titanium
dioxide imported from Canada, Mexico, and Israel, as well as countries under the Generalized System of
Preferences, the Andean bloc, and the Caribbean Basin Economic Recovery Act.

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Exports

DuPont is the leading exporter of TiO2, moving large quantities into Western Europe and elsewhere. The
following table presents US exports of titanium dioxide:

                   US Exports and Unit Export Values for Titanium Dioxide
                   (metric tons, gross weight)
                                               Titanium Dioxides
                              Titanium Dioxide                                             Other Titanium
                                     Pigments                Titanium                             Dioxide
                                                    a                   b                                c
                                    (>80% TiO2)               Oxides               Total       Pigments
                   2000                 410,347                42,259            452,606           16,448
                   2001                 352,124                37,559            389,683           29,995
                   2002                 491,909                28,802            520,711           27,735
                   2003                 521,206                23,382            544,588           44,759
                   2004                 583,507                22,796            606,303           37,513
                   2005                 496,617                15,785            512,402           26,416
                   2006                 318,941                11,785            330,726           58,140
                   2007                 570,484                 7,944            578,428          112,060
                   2008                 671,149                 5,607            676,756           60,648
                   2009                 621,658                 4,139            625,797           29,137
                   2010                 724,918                 5,056            729,974           38,085
                   2011                 745,508                 8,177            753,685           41,162
                   2012                 592,459                 5,512            597,971           34,083
                   2013                 628,313                 4,477            632,790           44,031
                   2014                 666,132                 5,180            671,312           23,471

                   (dollars per metric ton)
                                      Titanium Dioxides
                              Titanium Dioxide                                             Other Titanium
                                     Pigments                Titanium                             Dioxide
                                                    a                   b                                c
                                    (>80% TiO2)               Oxides                           Pigments
                   2000                   1,667                 1,959                              1,559
                   2001                   1,578                 1,790                              1,724
                   2002                   1,517                 1,633                              1,582
                   2003                   1,651                 1,655                              1,498
                   2004                   1,681                 1,632                              2,234
                   2005                   1,966                 2,096                              3,209
                   2006                   1,778                 2,272                              2,481
                   2007                   1,820                 2,206                              2,160
                   2008                   1,965                 2,092                              2,515
                   2009                   1,996                 2,216                              2,389
                   2010                   2,189                 2,607                              2,745
                   2011                   2,841                 2,788                              2,600
                   2012                   3,241                 2,740                              3,406
                   2013                   2,538                 2,502                              4,843
                   2014                   2,485                 2,288                              6,052
                   a. Reported under trade code # 320611.
                   b. Reported under trade code # 2823.
                   c. Reported under trade code # 320619.
                   Source: Global Trade Atlas, Global Trade Information Services, Inc.
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The following table presents US exports of titanium dioxide. In 2014, the leading destination is Western
Europe at 28.4%, of which Belgium accounted for 25.8% of total exports. Other leading destinations were
Canada (10.0%), Mexico and South Korea (each 7.3%), and Brazil (5.6%).

                                                  a
      US Exports of Titanium Dioxide
      (thousands of metric tons, gross weight)
                                               South                                       Western
                                                                                                                      b
               Canada Brazil Japan Korea Mexico Singapore Taiwan                           Europe Other       Total
      2000        68.3 17.7    20.2 22.9   46.0       4.8    17.1                           167.1  88.5        452.6
      2001          65.2     12.6      17.8      17.6        49.5            11.1   17.0     131.7   67.2      389.7
      2002          68.8     30.5      18.7      27.6        49.4            17.6   19.2     187.0 101.9       520.7
      2003          73.3     32.8      20.5      26.8        44.8            21.6   19.4     199.5 105.9       544.6
      2004          81.0     43.8      22.3      27.8        54.2            24.6   19.9     219.5 113.2       606.3
      2005          72.4     24.1      19.9      19.7        57.7            19.5   16.9     187.8   94.4      512.4
      2006          65.0     32.4      22.4      22.4        61.5            26.9   20.3     160.0   80.2      330.7
      2007          64.7     50.5      23.4      21.6        57.6            22.9   18.9     174.8 144.0       578.4
      2008          59.3     59.2      23.8      29.0        58.7            26.9   20.1     190.6 209.2       676.8
      2009          54.1     43.3      25.8      31.2        63.0            37.3   18.2     174.0 178.9       625.8
      2010          58.6     53.5      30.2      40.0        66.3            31.7   22.0     186.9 240.8       730.0
      2011          60.2     45.0      27.6      33.5        91.9            25.1   21.2     193.3 255.9       753.7
      2012          78.7     30.9      24.8      49.1        66.4            26.7   16.7     150.7 154.0       598.0
      2013          59.7     27.7      26.1      55.4        54.4            23.3   19.0     191.4 175.8       632.8
      2014          67.4     37.9      20.0      49.1        49.1            16.0   19.0     190.5 222.3       671.3
      a. Data for 2000–14 are reported under export codes 320611 and 282300.
      b. Totals may not equal the sums of the categories because of rounding.
      Source: US Exports, US Department of Commerce, Bureau of the Census.
                                                                                                            © 2015 IHS



Canada

Raw materials

Canada is self-sufficient in titanium raw materials for pigment production and has a plant using both the
sulfate and chloride processes. Rio Tinto Fer et Titane (RTFT or RTIT), a subsidiary of Rio Tinto PLC, is
the sole Canadian company that mines titanium ore, recovering ilmenite from a large primary deposit at
Allard Lake, Québec (Sorelslag™). Reserves are estimated at over 200 million metric tons, which should
be sufficient for at least 20 years. QIT supplies some of its ilmenite to blast furnaces as a hearth lining. In
late 2008, capacity of the smelter was increased to process ilmenite imported from Madagascar into high-
grade slag. In 2011, Rio Tinto announced plans to invest US$818 million to expand capacity and extend
the life of the Québec mine.

Ore from Allard Lake is transported 80 kilometers to Sorel, Québec, where it is processed into upgraded
titanium slag. Canada is currently one of three major sources of slag worldwide; RBM (South Africa) and
Eramet Titanium (Norway) are the other sources. The ore, with a TiO2 concentration of about 80%, is
sold to sulfate-process manufacturers. The capacity of the plant is 1,200 thousand metric tons per year,
with plans to expand to 1,400 thousand metric tons per year.



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KRONOS, which has two production facilities at Varennes, Québec, used to import feedstocks from
South Africa, Australia, and Sierra Leone (when that country was still producing rutile) for its chloride
plant, but now receives material from the nearby RTIT plant (about 25 thousand metric tons per year of
slag).

The following table presents Canadian production of titanium slag:

                                                                                               a
                        Canadian Production of Titanium Dioxide Slag
                        (thousands of metric tons, gross weight)
                        1975                                                                         750
                        1980                                                                         875
                        1985                                                                         844
                        1990                                                                         760
                        1995                                                                         815
                        2000                                                                         950
                        2001                                                                         950
                        2002                                                                         900
                        2003                                                                         873
                        2004                                                                         863
                        2005                                                                         731
                        2006                                                                         791
                        2007                                                                         816
                        2008                                                                         854
                        2009                                                                         600
                        2010                                                                         754
                        2011                                                                         700
                        2012                                                                         750
                        2013                                                                         770
                        2014                                                                         700
                        a. Data beginning with 1985 are for titaniferous slag, containing 80%
                        TiO2.
                        Sources:
                        (A) Minerals Yearbook, US Department of the Interior, Bureau of Mines (data for
                        1975 and 1985–94).
                        (B) Québec Iron & Titanium Corporation (datum for 1980).
                        (C) Minerals Yearbook-Titanium, US Department of the Interior, US Geological
                        Survey (data for 1995–2013).
                        (D) IHS Chemical estimates (datum for 2014).
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Titanium dioxide

Producing companies

The following table presents Canadian producers of titanium dioxide:




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 Canadian Producers of Titanium Dioxide
                              Annual Capacity
                                       as of
                                  1 January 2015a
     Company and                   (thousands of
     Plant Location                metric tons)     Process                       Trade Name/Remarks
Kronos Canada, Inc.
  Varennes, Québec                      17          Sulfate    Trade names are Titanox® and Kronos®. Total output of the
                                                               sulfate plant is believed to be limited by the capacity of the
                                                               effluent treatment plant. Ore for the sulfate plant is sourced
                                                               from nearby QIT plant, while slag for the chloride process
                                                               is obtained from Rio Tinto and natural rutile ore is sourced
                                                               from Iluka Resources.

                                        85          Chloride
Total                                  102
a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance
schedules, and changing environmental requirements.
Source: IHS Chemical estimates.
                                                                                                                    © 2015 IHS



Argex Titanium Inc. is building a 50 thousand metric ton titanium dioxide plant at Salaberry-de-
Valleyfield, Québec. Completion is scheduled for first-quarter 2017. Argex has developed a new solvent
extraction process, replacing the chloride and sulfate process for producing titanium dioxide. Some of the
raw materials will come from its mines at Lac Brule and La Blache, Québec. Argex is working with PPG
to produce paint- and coating-grade titanium dioxide.

On 26 August 2014, the US subsidiary of Helm (Hamburg, Germany) announced it would be the
exclusive distributor for 50% or up to 25 thousand metric tons of the titanium dioxide produced at Argex
Titanium’s planned 50 thousand metric ton plant at Salaberry-de-Valleyfield, Québec. The exclusivity
runs for seven years once the plant reaches certain output levels, which are expected in the first-quarter
2017.


Salient statistics

The following table presents Canadian supply/demand for titanium dioxide:




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                  Canadian Supply/Demand for Titanium Dioxide
                  (thousands of metric tons, gross weight basis)
                                                                                                          Apparent
                                                 a                    b                   b
                                  Production               Imports             Exports            Consumptionc
                  1980                       71.5                  6.3               13.0                        64.8
                  1985                       75.0                 16.9               23.0                        68.9
                  1990                        116                  9.0               20.5                         105
                  1995                         74                106.3               88.0                        92.3
                  1996                         74                 84.7               69.8                             89
                  1997                         75                109.5               79.2                         106
                  1998                         74                109.6               88.1                             96
                  1999                         71                106.5               81.0                             96
                  2000                         75                 93.8               70.1                        98.7
                  2001                         72                 83.9               62.8                        93.1
                  2002                         76                 93.3               68.3                      101.0
                  2003                         76                103.3               76.9                      102.4
                  2004                         80                104.9               77.7                      107.2
                  2005                         94                100.2               89.3                      104.9
                  2006                         95                 97.2               84.5                      107.7
                  2007                        100                 83.3               84.5                        98.8
                  2008                        100                 74.4               76.9                        97.5
                  2009                         78                 65.1               66.2                        76.9
                  2010                         90                 71.0               91.4                        69.6
                  2011                         96                 72.0               86.1                        81.9
                  2012                         96                 67.8               72.9                        90.9
                  2013                         96                 77.2               59.2                      114.0
                  2014                         92                 88.3               70.4                      109.9
                  2019                          --                   --                 --                     121.3
                  a. Production estimates after 1990 were made by assuming that operating rates in
                  Canada were equivalent to those in the United States.
                  b. Trade data is reported under harmonized code numbers 320611 and 2823.
                  c. Calculated as Production plus Imports minus Exports.
                  Sources:
                  (A) “TiO2 Consumption Improves but Imports Still Rising,” Pulp & Paper, December 1983, p. 161
                  (data for 1980).
                  (B) Statistics Canada (data for Imports and Exports for 1988–2002).
                  (C) Global Trade Atlas, Global Trade Information Services, Inc. (data for Imports and Exports for
                  2003–11).
                  (D) IHS Chemical estimates (all other data).
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Consumption

In 2014, Canadian consumption of titanium dioxide is estimated at 109.9 thousand metric tons, with
growth forecast at 2.0% annually during 201419. Paint and coatings is estimated to account for 60% of
total consumption, followed by plastics at 20%, paper and paperboard at 15%, and all other at 5%.




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The following table presents a breakdown of Canadian consumption by end use:

                         Canadian Consumption of Titanium Dioxide—2014
                         (percent)
                         Paints and Coatings                                                         60
                         Plastics                                                                    20
                         Paper and Cellulose                                                         15
                         Other                                                                        5
                         Total                                                                   100%
                         Source: IHS Chemical estimates.
                                                                                              © 2015 IHS



Price

The following table presents Canadian unit trade values for titanium dioxide–containing materials:

                 Canadian Unit Trade Values
                 (US dollars per kilogram)
                                              Imports                                  Exports

                                 Trade Code #          Trade Code #            Trade Code # Trade Code #
                                       320611                283200                  320611       283200
                 2000                        1.82                  1.48                1.84                4.47
                 2001                        1.69                  1.60                1.80                1.63
                 2002                        1.57                  1.54                1.64                1.52
                 2003                        1.77                  1.50                1.69                1.59
                 2004                        1.73                  1.61                1.69                1.76
                 2005                        1.96                  1.90                2.01                1.54
                 2006                        2.02                  2.15                2.10                1.87
                 2007                        2.03                  2.02                2.07                3.94
                 2008                        2.05                  2.39                2.04                2.09
                 2009                        2.11                  2.27                2.18                2.14
                 2010                        2.17                  2.14                2.20                2.06
                 2011                        2.88                  2.94                2.88                2.75
                 2012                        3.79                  3.28                3.70                3.80
                 2013                        3.10                  2.76                3.25                3.85
                 2014                        2.63                  2.52                2.99                3.29
                 Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                     © 2015 IHS



Trade

The following table presents Canadian trade volumes of titanium dioxide–containing materials under
harmonized code numbers 3201611 and 2823, excluding 320619.




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             Canadian Trade in Titanium Dioxide–Containing Materials
             (metric tons, gross weight)
                                          Imports                                             Exports
                        Trade Code Trade Code                                    Trade Code Trade Code
                           # 320611   # 283200                    Total             # 320611   # 283200         Total
             2000              81,848            11,985         93,833               70,097             40     70,137
             2001              79,268              4,662        83,930               62,029         761        62,790
             2002              88,292              4,997        93,289               66,087        2,225       68,312
             2003              97,645              5,628       103,273               73,950        2,989       76,939
             2004              96,819              8,101       104,920               76,737         991        77,728
             2005              81,679            18,528        100,207               77,435       11,897       89,332
             2006              85,975            11,192         97,167               81,189        3,332       84,521
             2007              74,959              8,369        83,328               83,816         667        84,483
             2008              71,434              2,975        74,409               76,401         474        76,875
             2009              61,666              3,423        65,089               65,815         416        66,231
             2010              67,313              3,684        70,997               90,159        1,283       91,442
             2011              66,216              5,830        72,046               84,358        1,706       86,064
             2012              61,328              6,492        67,820               71,180        1,756       72,936
             2013              72,440              4,736        77,176               58,058        1,176       59,234
             2014              84,406              3,919        88,325               69,988          453       70,441
           Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                             © 2015 IHS



Mexico

Raw materials

Most raw material for Mexican titanium dioxide production is sourced from Australia (ilmenite) and
South Africa (slag). The following table presents trade volumes of raw materials:




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       Mexican Trade in Raw Materials for Titanium Dioxide Production
       (metric tons, gross weight)
                                    Imports                                             Exports                   Net
                  Ilmenite        Rutile  Other              Total          Ilmenite   Rutile Other   Total   Imports
       2000        236,941             0      0            236,941                 0        0     0       0   236,941
       2001         94,091               0           0      94,091                0       0       0      0      94,091
       2002        150,052               0           0     150,052                0       0       0      0    150,052
       2003        242,537               0           8     242,545                0       0       8      8    242,537
       2004        254,634               0          19     254,653                0       0      19     19    254,634
       2005        222,328               0           0     222,328                0       0       0      0    222,328
       2006        200,758               0           1     200,759                1       0       1      2    200,757
       2007        184,900               0        139      185,039                0       0     139    139    184,900
       2008        105,674               0     1,951       107,625                1       0     306    307    107,318
       2009         60,463         2,593       1,555        64,611                0      20     283    303      64,308
       2010         58,987         7,067      46,765       112,819                0       4     100    104    112,715
       2011         57,966       12,008       10,066        80,040                1      91   6,959   7,051     72,989
       2012         68,064         5,867      13,929        87,860            3,417     106 19,951 23,474       64,386
       2013         96,297         3,779       4,089       104,165                0      91 15,152 15,243       88,922
       2014        116,796         4,622      13,368       134,786           80,750     210    679 81,639       53,147
      Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                              © 2015 IHS



The primary source of ilmenite is Australia and Mozambique. In 2014, Australia accounted for 74.3% of
ilmenite and Mozambique for 25.7% of imports. Rutile imports were primarily from Germany. In 2014,
Gemany accounted for 85.2% and the Netherlands for 9.8%. In 2014, imports of slag were primarily from
Kenya (85.2%), South Africa (18.1%), and Australia (10.6%). In 2014, exports of ilmenite were 100% to
China, with rutile 100% to the United States, and slag 43.3% to China, 23.3% to Venezuela, and 18.2% to
Colombia.

The following table presents Mexican unit trade values for raw materials:




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             Mexican Unit Trade Values for Raw Materials for Titanium Dioxide Production
             (US dollars per metric ton)
                                             Imports                                           Exports
                           Ilmenite              Rutile             Other          Ilmenite       Rutile       Other
             2000               84                  na                732               na           na           na
             2001                107                  na              455               na           na            na
             2002                  94                 na              367               na           na            na
             2003                100                  na              544               na           na            na
             2004                114                  na              742               na           na            na
             2005                137                  na              783               na           na            na
             2006                138                  na              799               na           na            na
             2007                207                  na              647               na           na            na
             2008                194                  na            1,284               na           na            na
             2009                447                835             1,890               na           na          900
             2010                318                584               582               na           na        1,105
             2011                171                596               904               na           na            na
             2012                321                652             1,778              217           na        1,713
             2013                281                791             1,757               na           na        1,851
             2014                254                733             1,095              135           na        1,679
             Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                            © 2015 IHS



Titanium dioxide

Producing companies

The following table presents Mexican producers of titanium dioxide:

      Mexican Producers of Titanium Dioxide
                                                     Annual Capacity
                                                  as of 1 January 2015a
                Company and                           (thousands of
                Plant Location                          metric tons)                Process      Trade Name/Remarks
      DuPont Mexico, S.A. de C.V.
        Altamira, Tamaulipas                                  152                   Chloride Feedstock is ilmenite from
                                                                                             Australia and slag from South
                                                                                             Africa, Canada and/or Norway.

      a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes,
      maintenance schedules, and changing environmental requirements.
      Source: IHS Chemical estimates.
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The planned expansion of the Altamira plant is scheduled for late 2015, with start-up in 2016. Capacity at
that time will increase to 352 thousand metric tons. Additional expansions of 150 thousand metric tons
announced in 2011 are not forecast to occur in the near future.



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Salient statistics

The following table presents Mexican supply/demand for titanium dioxide:

               Mexican Supply/Demand for Titanium Dioxide
               (thousands of metric tons, gross weight)
                                                                                                                 Apparent
                                                                     a                      a                               b
                                Production                Imports                Exports                 Consumption
               1975                   19.5                        0.4                    0.0                            19.9
               1980                       39.1                   neg                     8.7                            30.4
               1985                       45.0                    1.2                  16.4                             29.7
               1990                       65.5                    2.8                  25.1                             43.2
               1995                       86.5                    4.4                  61.9                             29.0
               2000                     126.7                   44.2                   39.2                           131.7
               2001                     124.2                   44.3                   98.0                             70.5
               2002                     127.0                   54.5                  104.3                             77.2
               2003                     123.0                   52.7                  102.4                             73.3
               2004                     133.0                   60.6                  117.7                             75.9
               2005                     137.0                   69.4                  122.2                             84.2
               2006                     131.7                   74.3                  119.8                             86.2
               2007                     133.4                   70.9                  122.5                             81.8
               2008                     126.7                   70.8                  130.5                             67.0
               2009                     137.2                   67.4                  122.6                             82.0
               2010                     146.2                   74.2                  134.7                             85.7
               2011                     141.8                   82.0                  139.0                             84.8
               2012                     137.2                   75.3                  136.5                             76.0
               2013                     148.0                   73.9                  145.0                             76.9
               2014                     142.0                   97.8                  150.6                            89.2
               2019                         --                     --                     --                          105.9
               a. Data are reported under trade code # 3206.11.
               b. Calculated by the source as Production plus Imports minus Exports.
               Sources:
               (A) IHS Chemical estimates (data for Production for 2010–11).
               (B) Global Trade Atlas, Global Trade Information Servies, Inc. (data for Imports and Exports for 2007–11).
               (C) Anuario de la Industria Química Mexicana, annual issues, Asociacion Nacional de la Industria Química, A.C.
               (all other data).
                                                                                                                    © 2015 IHS



Consumption

In 2014, Mexican consumption of titanium dioxide is estimated at 89.2 thousand metric tons, with growth
forecast at 3.5% annually during 2014–19. Paint and coatings is estimated to account for 70% of total
consumption, followed by plastics at 20%, paper and paperboard at 5%, and all other at 5%. Demand for
TiO2 in Mexico has generally been rising in recent years, as sales of architectural and automotive paints
have increased. The following table presents a breakdown of Mexican consumption by end use:




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                         Mexican Consumption of Titanium Dioxide—2014
                         (percent)
                         Paints and Coatings                                                            70
                         Plastics                                                                       20
                         Paper and Cellulose                                                             5
                         Other                                                                           5
                         Total                                                                      100%
                         Source: IHS Chemical estimates.
                                                                                                 © 2015 IHS



Similar to other regions, consumption is largely going to the paints and coatings and plastics industries.
The major producers of paints and coatings are typically subsidiaries of multinational corporations.
Growth in the automotive industry has continued to grow since 2000.


Price

The following table presents Mexican unit trade values for titanium dioxide–containing materials:

                    Mexican Unit Trade Values for Titanium Dioxide
                    (US dollars per kilogram)
                                             Imports                                      Exports
                                 Trade Code Trade Code #                  Trade Code # Trade Code #
                                    # 320611      282301                        320611       282301
                    2000                    1.98                1,81                      1.75                na
                    2001                    1.94                1.88                      1.61                na
                    2002                    1.84                2.07                      1.52            2.74
                    2003                    1.83                2.13                      1.69            2.42
                    2004                    1.78                2.09                      1.76            2.54
                    2005                    1.90                2.09                      2.06            2.51
                    2006                    2.08                2.05                      1.90            2.69
                    2007                    2.01                2.07                      1.74            2.72
                    2008                    2.10                2.32                      1.46            2.88
                    2009                    2.32                2.31                      1.61            2.82
                    2010                    2.40                2.29                      1.56            2.91
                    2011                    3.35                2.65                      1.51            6.79
                    2012                    3.90                3.18                      1.58            4.70
                    2013                    3.11                3.14                      1.53            4.01
                    2014                    2.84                2.88                      1.35            3.42
                    Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                     © 2015 IHS



Trade

The following table presents Mexican trade volumes of titanium dioxide–containing materials under
harmonized code numbers 3201611 and 2823, excluding 320619:



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           Mexican Trade in Titanium Dioxide–Containing Materials
           (metric tons, gross weight)
                                          Imports                                             Exports
                        Trade Code          Trade Code                           Trade Code Trade Code
                           # 320611            # 282301          Total              # 320611   # 282301        Total
           2000              32,883              11,321         44,204                39,193          0       39,193
           2001                39,134               5,162       44,296               98,016             0     98,016
           2002                50,980               3,534       54,514              104,121         222     104,343
           2003                48,480               4,227       52,707              102,058         337     102,395
           2004                57,308               3,337       60,645              117,476         258     117,734
           2005                64,901               4,544       69,445              121,840         340     122,180
           2006                69,038               5,281       74,319              119,430         419     119,849
           2007                65,535               5,350       70,885              121,961         564     122,525
           2008                66,860               3,970       70,830              129,965         536     130,501
           2009                61,354               6,060       67,414              122,241         384     122,625
           2010                67,962               6,248       74,210              134,055         660     134,715
           2011                74,518               7,450       81,968              138,508         525     139,033
           2012                67,027               8,267       75,294              136,224         302     136,526
           2013                67,934               5,934       73,868              144,266         745     145,011
           2014                91,333               6,482       97,815              150,328         275     150,603
           Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                            © 2015 IHS


In 2014, the United States is the leading country of origin for imports of harmonized code # 320611,
while China accounted for 28.8%, Italy for 25.7%, and the Czech Republic for 23.6% of harmonized code
# 2823. The leading destinations of harmonized code # 320611 is Belgium at 50.2%, Brazil at 22.4%, and
China at 11.6%, while the United States accounted for 60.0% of exports of harmonized code # 2823.

DuPont has increased exports to Brazil due to a new bilateral treaty that reduced duties on Mexican TiO2
from 13% to 6.5% in 2004. DuPont is permitted to export 15 thousand metric tons to Brazil and can ship
an additional 20 thousand metric tons of semifinished product to its plant in Uberaba, Brazil, where the
crude pigment can be finished.


Central and South America

Raw materials

Until the mid-1980s, Brazil supplied 15% of its titanium raw material needs with domestically produced
ilmenite, with the balance supplied by imports, primarily from Australia. However, with the development
of Millennium Inorganic Chemicals do Brasil as a fully integrated pigment producer in Brazil,
dependence on foreign feedstocks essentially ceased. Millennium (now Cristal) operates a heavy mineral
sands deposit at Mataracas, producing 130–140 thousand metric tons per year of titanium dioxide
feedstock, recovered by dredging and gravity separation.

As of 2014, the mine has approximately 43 million metric tons of recoverable ilmenite reserves and
approximately 1.2 million metric tons of natural rutile reserves. The Salvador (Paraiba) TiO2 plant
processes about 100 thousand metric tons per year, with the remainder sold to outside parties. The mine
also produces approximately 21 thousand metric tons of zircon and approximately 2 thousand metric tons
of natural rutile titanium ore, which are sold on the merchant market.


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The following table presents Brazilian production of ilmenite and rutile. A drop off in production
occurred in 2008 when DuPont decided to stop producing titanium dioxide in Brazil.

                        Brazilian Production of Ilmenite and Rutile
                        (thousands of metric tons)
                                                     Ilmenite and
                                                                     a                                   b
                                                      Leucoxene                               Rutile
                        1980                                       17                              neg
                        1985                                       76                                    1
                        1990                                     114                                     2
                        1995                                       56                                    2
                        2000                                     123                                     3
                        2001                                     111                                     2
                        2002                                     177                                     3
                        2003                                     120                                     3
                        2004                                     133                                     2
                        2005                                     127                                     2
                        2006                                     130                                     3
                        2007                                     130                                     3
                        2008                                       54                                    2
                        2009                                       50                                    2
                        2010                                       45                                    3
                        2011                                       45                                    3
                        2012                                       45                                    2
                        2013                                       45                                    2
                        2014                                       45                                    2
                        a. Estimated to contain 54% TiO2 on average.
                        b. Estimated to contain 95% TiO2 on average.
                        Sources:
                        (A) Minerals Yearbook-Titanium, US Department of the Interior, Bureau of Mines
                        (data for 1980–95).
                        (B) Minerals Yearbook-Titanium, US Department of the Interior, US Geological
                        Survey (data for 1996–2014).
                                                                                            © 2015 IHS



White Mountain Titanium Corporation is planning to develop a rutile deposit in Cerro Blanco, Chile,
which is claimed to be unique since it is located at high concentrations in a hard rock deposit, and can be
readily transported to TiO2 producers. Initial feasibility studies have shown 180.1 million metric tons of
total resources and 111.5 million metric tons at 1.9% TiO2. Commercial development is projected for
2015 or later.




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Titanium dioxide

Producing companies

There is one producer of titanium dioxide in all of Central and South America, with DuPont having
closed its plant at Uberaba in December 2008. It had a capacity of 36 thousand metric tons.

 Brazilian Producers of Titanium Dioxide
                                   Annual Capacity
                             as of 1 January 2015a
     Company and                 (thousands of
    Plant Location                  metric tons)     Process                     Trade Name/Remarks
 Cristol Global                                                  Formerly known as Millennium Inorganic Chemicals,
                                                                 which was acquired in 2007. Millennium had acquired
                                                                 the operation from Tibras in July 1998.

   Camaçari, Bahia                       60          Sulfate     Feedstock is mainly ilmenite from Mataracas mine.

 a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance
 schedules, and changing environmental requirements.
 Source: IHS Chemical estimates.
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Salient statistics

The following table presents Brazilian supply/demand for titanium dioxide:




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              Brazilian Supply/Demand for Titanium Dioxide
              (thousands of metric tons, gross weight)
                                                                                                                Apparent
                                                                        a                    a                          b
                                    Production               Imports              Exports               Consumption
              1980                        30.0                       4.3                  0.0                        34.3
              1985                            47.2                   5.1                  1.1                        51.2
              1990                            46.0                  22.1                  0.9                        67.2
              1995                            58.6                  53.2                  3.9                      107.9
              2000                            81.7                  66.5                  7.3                      140.9
              2001                            78.0                  70.3                  5.6                      142.7
              2002                            78.7                  63.1                  9.4                      132.4
              2003                            78.5                  62.0                  5.4                      135.1
              2004                            80.1                  76.1                  5.5                      150.7
              2005                            76.7                  83.4                  5.5                      154.6
              2006                            79.4                  88.5                 12.6                      155.3
              2007                            83.1                  94.3                  4.7                      172.7
              2008                            79.4                118.5                   0.6                      197.3
              2009                            44.1                106.0                   0.7                      149.4
              2010                            45.0                144.7                   1.0                      188.7
              2011                            52.0                139.3                   4.4                      186.9
              2012                            54.0                132.5                   4.0                      182.5
              2013                            50.0                146.8                   1.8                      195.0
              2014                            58.0                144.3                   2.0                      200.3
              2019                                --                    --                   --                    231.1
                                                 Average Annual Growth Rate
                                                          (percent)
              2014–19                            --             --          --                                      2.9%
              a. Trade data reported under harmonized code numbers 320611 and 2823.
              b. Calculated by the source as Production plus Imports minus Exports.
              Sources:
              (A) Global Trade Atlas, Global Trade Information Services, Inc. (data for Imports and Exports).
              (B) ABIQUIM (data for Production for 1980–2007).

              (C) IHS Chemical estimates (all other data).
                                                                                                                © 2015 IHS



The following table presents Central and South American supply/demand for titanium dioxide. Brazil
accounted 61.0% of the region’s total consumption of titanium dioxide, followed by Argentina at 11.6%,
Colombia at 9.1%, Chile at 4.2%, and Peru at 3.9%.




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              Central and South American Supply/Demand for Titanium Dioxide
              (thousands of metric tons, gross weight)
                                                                                                                Apparent
                                                                         a                    a                         b
                                   Production                Imports               Exports                Consumption
              2000                       81.7                     143.9                    8.5                     217.1
              2001                           78.0                 143.3                    6.7                     214.6
              2002                           78.7                 135.3                   10.6                     203.4
              2003                           78.5                 143.3                    6.6                     215.2
              2004                           80.1                 170.9                    5.8                     245.2
              2005                           76.7                 189.7                    6.3                     260.1
              2006                           79.4                 202.2                   13.9                     267.7
              2007                           83.1                 211.9                    6.6                     288.4
              2008                           79.4                 238.5                    3.2                     314.7
              2009                           44.1                 250.0                    1.5                     292.6
              2010                           45.0                 273.8                    2.3                     316.5
              2011                           52.0                 283.5                    7.0                     328.5
              2012                           54.0                 263.6                    9.1                     308.5
              2013                           50.0                 278.9                    4.3                     324.6
              2014                           58.0                 274.5                    4.4                     328.1
              2019                               --                    --                    --                    378.5
                                                  Average Annual Growth Rate
                                                           (percent)
              2014–19                            --             --           --                                     2.9%
              a. Trade data reported under harmonized code numbers 320611 and 2823.
              b. Calculated by the source as Production plus Imports minus Exports.
              Sources:
              (A) Global Trade Atlas, Global Trade Information Services, Inc. (data for Imports and Exports).
              (B) ABIQUIM (data for Production for 1980–2007).

              (C) IHS Chemical estimates (all other data).
                                                                                                                © 2015 IHS



Consumption

In 2014, Brazilian consumption of titanium dioxide is estimated at 200.3 thousand metric tons, with
growth forecast at 2.9% annually during 2014–19. Paint and coatings is estimated to account for 76.5% of
total consumption, followed by plastics at 13.2%, paper and paperboard at 0.7% and all other at 9.7%.
Demand for TiO2 in Brazil has generally been rising in recent years, as sales of architectural and
automotive paints have increased. The leading consumer of TiO2 is the coatings industry; the leaders are
BASF and Akzo Nobel (formerly ICI) for architectural coatings.

In 2014, the estimated breakdown of Brazilian consumption is:




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             Brazilian Consumption of Titanium Dioxide—2014
             (percent)
             Paints and Coatings                                                             76.5
             Plastics                                                                        13.2
             Paper and Cellulose                                                              0.7
             Other                                                                            9.6
             Total                                                                         100%
             Source: IHS Chemical estimates.
                                                                                        © 2015 IHS



In 2014, Central and South American consumption of titanium dioxide is estimated at 328.1 thousand
metric tons, with growth forecast at 2.9% annually during 201419. In 2014, the estimated breakdown of
Central and South American consumption is:

             Central and South American Consumption of Titanium Dioxide—2014
             (percent)
             Paints and Coatings                                                             79.7
             Plastics                                                                        13.5
             Paper and Cellulose                                                              0.5
             Other                                                                            6.3
             Total                                                                         100%
             Source: IHS Chemical estimates.
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Architectural coatings accounts for an estimated 60% of titanium dioxide consumption in Central and
South America, followed by product finishes and protective/marine at 15% each, and automotive
OEM/refinishes at 10%. Production of automobiles has continued to grow since 2000. The major
producers of paints and coatings are typically subsidiaries of multinational firms.


Price

Average Brazilian unit trade values have been reported as follows:




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                                 Brazilian Unit Trade Values for Titanium Dioxide
                                 (dollars per metric ton)
                                                                 Imports                                Exports
                                1995                               1,960                                  2,050
                                2000                               1,850                                  1,890
                                2001                               1,790                                  1,890
                                2002                               1,610                                  1,540
                                2003                               1,680                                  1,720
                                2004                               1,720                                  1,760
                                2005                               1,920                                  1,850
                                2006                               1,990                                  1,720
                                2007                               1,970                                  1,930
                                2008                               2,095                                  2,762
                                2009                               2,129                                  2,701
                                2010                               2,372                                  3,365
                                2011                               3,146                                  3,731
                                2012                               3,671                                  3,850
                                2013                               2,805                                  3,274
                                2014                               2,509                                  3,436
                                Sources:
                                (A) Anuario da Industria Química Brasileira (ABIQUIM) (data for 1995–2007).

                                (B) Global Trade Atlas, Global Trade Information Services, Inc. (data for 2008–14).

                                                                                                       © 2015 IHS


Trade

The following table presents Central and South American trade of titanium dioxide–containing materials:

        Central and South American Trade in Titanium Dioxide–Containing Materials
        (metric tons, gross Weight)
                                            Imports                                                        Exports
                      Trade Code           Trade Code #                                Trade Code           Trade Code #
                         # 320611                282301               Total               # 320611                282301      Total
        2000              134,034                 9,887             143,921                  8,040                   447      8,487
        2001              131,414                11,890             143,304                  6,578                    85      6,663
        2002              123,963                11,298             135,261                  6,109                 4,509     10,618
        2003              131,840                11,480             143,320                  6,484                   112      6,596
        2004              156,659                14,258             170,917                  5,655                   190      5,845
        2005              171,459                18,288             189,747                  6,185                   129      6,314
        2006              184,331                17,856             202,187                 13,665                   282     13,947
        2007              193,351                18,521             211,872                  6,425                   131      6,556
        2008              218,408                20,102             238,510                  3,034                   183      3,217
        2009              230,478                19,564             250,042                  1,123                   376      1,499
        2010              252,540                21,273             273,813                  1,590                   679      2,269
        2011              264,459                19,059             283,518                  6,159                   875      7,034
        2012              241,542                22,087             263,629                  6,510                 2,601      9,111
        2013              259,967                18,889             278,856                  3,982                   310      4,292
        2014              257,006                17,495             274,501                  4,037                   339      4,376
        Source: Global Trade Atlas, Global Trade Information Services, Inc.
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The following tables present a further breakdown by country of trade under harmonized code numbers
320611 and 2823:
                                                                                       a
 Central and South American Imports of Titanium Dioxde
 (metric tons, gross weight)
                        2000          2001         2002          2003          2004          2005      2006      2007      2008      2009      2010      2011      2012      2013      2014
 Argentina             30,202        25,136       20,189        26,947        29,675        32,225    34,238    34,582    33,890    69,587    36,161    40,196    33,888    38,819    36,989
 Brazil                61,984        64,773       58,286        56,508        68,981        74,072    80,449    87,407   109,045    96,302   135,950   133,977   124,995   139,102   135,635
 Chile                   8,884         9,175        8,191         9,663        9,890        11,186    10,573    11,392    10,885     8,700    13,727    13,501    11,975    13,757    13,374
 Colombia              14,871        12,606       13,942        15,629        15,917        18,311    17,635    19,874    20,924    20,056    24,603    24,789    22,808    24,404    29,023
 Costa Rica                253           199           508        1,273        1,815         2,498     4,355     2,735     2,649     2,726     3,437     4,207     3,687     3,478     4,902
 Cuba                      800           360           469             179      396           790      2,405        0         0         0         0         0         0         0         0
 Dominican                     0            0          842             850      858          1,335     1,918     2,634     2,415     1,805     2,474    11,509     4,753     4,334     4,334
 Republic
 Ecuador                       0       2,510        3,072         2,948        3,358         3,912     3,999     3,534     4,515     4,041     4,665     4,989     4,173     5,275     5,801
 El Salvador                   0            0             0              0      737           829       648       769       557       502      1,183     1,830     1,385     1,784     2,413
 Guatemala                     0            0       1,260         1,942        2,011         2,000     2,441     1,828     2,202     2,207     2,462     2,448     2,186     2,388     2,238
 Honduras                      0            0             0            679      843           820       682       155        73       257       732       507       473       479       447
 Jamaica                     88          260           356             320      427           360       571       378       215       235       558       627       527       729       729
 Nicaragua                     0            0             0              0      164           190       221       226       293       284        73       129       224       530       498
 Panama                        0            0       1,218         1,719        1,203         1,113      884      1,163      994      1,069      977      1,045     1,113     1,054     1,236
 Paraguay                      0         408           336             412      409           422       517       629       569       587       661       750       687       825       893
 Peru                    3,910         3,931        5,020         4,431        5,649         5,281     5,847     6,505     9,422     7,879    10,263     9,467     7,665     9,532    12,241
 Trinidad and              127           216           498             289      360           548       328       440       325       538       325         0         0         0         0
 Tobago
 Uruguay                       0            0       1,333         1,271        1,773         1,672     1,685     1,799     2,023     1,480     2,021     2,384     1,600     2,092     1,945
 Venezuela             12,915        11,840         8,443         6,780       12,193        13,895    14,935    17,301    17,412    12,223    12,268    12,104    19,403    11,385     4,308
 Total                103,832      106,278       103,774      104,893        126,984       139,234   150,093   158,769   184,518   160,891   216,379   224,263   207,654   221,148   220,017
 a. Data are reported under trade code # 320611.
 Source: Global Trade Atlas, Global Trade Information Services, Inc.




Western Europe

The coverage of Western Europe includes Austria, Belgium, Cyprus, Denmark, Finland, France,
Germany, Greece, Greenland, Iceland, Ireland, Italy, Liechtenstein, Luxembourg, Malta, the Netherlands,
Norway, Portugal, Spain, Sweden, Switzerland, and the United Kingdom.


Raw materials

Traditionally, 8590% of Western European TiO2 pigment raw material has been supplied by Canada,
Norway, and Australia. All of Europe’s natural rutile supply is predominately sourced from operations in
Sierra Leone, Australia, South Africa, and Ukraine.

Ilmenite is produced by Titania (a subsidiary of Kronos) at Tellnes in Norway, which has an annual
operating capacity of 900 thousand metric tons. Kronos uses about 300 thousand metric tons per year
internally and sells the remainder.

In 2011, Eramet and Mineral Deposits Ltd. (MDL) of Australia created a partnership, TiZir, and at the
former Tinfos facility produces about 200 thousand metric tons of titanium slag in Tyssedal, Norway. It is
the only sulfate TiO2 slag producer in Europe. The company sells approximately 345 thousand metric tons
of ilmenite, both rock and sand for TiO2 feedstock. Ilmenite is primarily sourced from the Tellnes mine.
Eramet, a French mining and metallurgical company, acquired TTI in 2008, and together with MDL will
produce more titanium slag from ilmenite shipped from its mine near Dakar in Sengal.

Nordic Mining AS is developing a world class rutile deposit in Engebo, Norway, for which it acquired the
mining rights in 2006. The rutile is contained within an eclogite-type rock, with an average titanium
dioxide content of 3.8%. Nordic Mining has entered into an agreement with Cristal Global to develop and

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optimize production to meet the Cristal Global pigment raw material specifications. In early 2015, the
project is in the pre-feasibility study phase, and the planned production capacity is 100 thousand metric
tons of rutile concentrate per year.

The following table presents Norwegian production of ilmenite and leucoxene for titanium dioxide:

                       Norwegian Production of Ilmenite and Leucoxene
                       for Titanium Dioxide
                       (thousands of metric tons, gross weight)
                       1980                                                                              828
                       1985                                                                              736
                       1990                                                                              815
                       1995                                                                              833
                       2000                                                                              750
                       2001                                                                              750
                       2002                                                                              750
                       2003                                                                              840
                       2004                                                                              860
                       2005                                                                              810
                       2006                                                                              850
                       2007                                                                              882
                       2008                                                                              915
                       2009                                                                              671
                       2010                                                                              864
                       2011                                                                              870
                       2012                                                                              831
                       2013                                                                              830
                       Sources:
                       (A) Minerals Yearbook, US Department of the Interior, Bureau of Mines (data for
                       1980–90).
                       (B) Minerals Yearbook-Titanium, US Department of the Interior, US Geological
                       Survey (data for 1995–2012).
                       (C) Norges Geologiske Undersokelse (all other data).
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Titanium dioxide

Producing companies

The following table presents Western European producers of titanium dioxide:




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Western European Producers of Titanium Dioxide
                                                    Annual
                                                   Capacity
                                                (thousands of
                                                               a
                                       Plant    metric tons)
       Company                       Location   2014    2019       Process               Trade Name/Remarks
Belgium
Kronos Europe                 Gent               85      85        Chloride   Trade name is Kronos®.
S.A./N.V.
Finland
Sachtleben                    Pori              130     130        Sulfate    Owned by Huntsman. Anatase pigment
Pigments Oy                                                                   capacity for specialty nanoscale applications
                                                                              is 10 thousand metric tons per year.

France
Cristal Global                Thann              40      40        Sulfate    Produces ultrafine titanium dioxide (current
                                                                              capacity: 10 thousand metric tons per year).

Huntsman Pigments             Calais             95      0         Sulfate    Trade name is Tioxide®.
Germany
Kronos Titan                  Leverkusen         30      30        Sulfate    All feedstock obtained from Titania (a
GmbH                                                                          subsidiary of Kronos) at Tellnes in Norway.

                                                165     165        Chloride   Feedstock is slag obtained from Richards
                                                                              Bay in South Africa, and natural rutile from
                                                                              Iluka and RGC Mineral Sands in Australia.

                              Nordenham          69      69        Sulfate    All feedstock obtained from Titania in
                                                                              Norway.
Sachtleben Pigment            Duisburg          100     100        Sulfate    Owned by Huntsman Corporation. Former
GmbH                                                                          Sachtleben GmbH.
                              Krefeld           107     107        Sulfate    Owned by Huntsman. Former Crenox GmbH.
                              (Uerdingen)
Italy
Huntsman Pigments             Scarlino           80      80        Sulfate    Former Tioxide Europe Srl.
Netherlands
Tronox                        Botlek-            90      90        Chloride   Fully backward integrated plant, serving
Pigments B.V.                 Rotterdam                                       coatings, paper, and plastics industry.
Norway
Kronos Titan AS               Fredrikstad        34      34        Sulfate    Ilmenite feedstock obtained from Titania AS.

Spain
Huntsman Pigments                 Huelva         80      80        Sulfate    Former Tioxide Europe S.L. Output oriented
                                                                              toward the polyolefins market.
United Kingdom
Cristal Global                Stallingborough   150     150        Chloride   Former Millennium Chemicals facility, which
                                                                              was acquired in 2007.
Huntsman                      Greatham          150     150        Chloride   Former Tioxide plant. Owned by Huntsman
Pigments                                                                      International. Thought to be running at a
                                                                              much lower capacity.
Total                                           1,405   1,310
a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance
schedules, and changing environmental requirements.
Source: IHS Chemical estimates.
                                                                                                                   © 2015 IHS


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Significant developments in the Western European titanium dioxide industry in the last few years include
the following:

   x    In 2007, Cristal acquired the Millennium operations.

   x    Huntsman Pigments added 50 thousand metric tons per year (investment was about $40 million),
        to the Greatham site in the United Kingdom, which came onstream in early 2008. In 2002,
        Huntsman closed a 30 thousand metric ton-per-year chloride-process unit and replaced it with a
        modern 50 thousand metric ton-per-year line. Plant output is oriented toward the coatings and
        PVC markets.

    x   In 2008, Kemira (Finland) and Rockwood Holdings (United States), the owner of Sachtleben
        Chemie, formed a titanium dioxide joint venture (39% Kemira/61% Rockwood) headquartered in
        Germany (Sachtleben GmbH). The joint venture combines Rockwood’s TiO2 pigments and
        functional additives business, including its production facilities in Duisburg, Germany
        (Sachtleben Chemie), and Kemira’s plant in Pori, Finland.

   x    In 2008, Eramet (France), the mining and metals company, acquired Tinfos of Norway, a
        producer of titanium dioxide slag and high-purity pig iron. In 2007, Tinfos recorded a turnover of
        931 million euros. Eramet has been a long-term supplier of manganese ore to Tinfos.

   x    Cristal Global closed a 40 thousand metric ton-per-year sulfate plant in LaHavre, France in 2009.

   x    Huntsman closed the 40 thousand metric ton-per-year sulfate-process plant at Grimsby, United
        Kingdom in 2009.

    x   In 2010, Tronox, under protection of Chapter 11 bankruptcy proceedings, established the Crenox
        entity for its facility in Germany under the management of insolvency administrator Eberhard
        Stock. Later that year, Tronox canceled a deal to sell its titanium dioxide business, including this
        plant, to Huntsman.

   x    In 2011, Huntsman Pigments in Calais modified its waste treatment process to generate
        magnesium sulfate by-product for sale to the fertilizer industry.

    x   In 2012, Sachtleben acquired the Crenox GmbH titanium dioxide production assets and
        inventory. Sachtleben was a joint venture between Kemira Oyj of Finland (39%) and Rockwood
        Holdings, Inc. of the United States (61%). The plant in Krefeld (Uerdingen) was renamed
        Sachtleben Pigment GmbH.

    x   Sachtleben GmbH in Duisburg serves the synthetic fiber, paints, paper, and coatings industries.
        The company has a joint venture with Merck KGaA of Germany for developing a range of UV
        filters for the cosmetics industry marketed under the brand name Eusolex T, which was first
        launched in 1995. It also offers TiO2 nanoparticles for wood protection uses and for imparting
        pearlescent color effects in automotive coatings.

    x   In October 2014, Huntsman Corporation announced that the acquisition of the Performance
        Additives and Titanium Dioxide businesses of Rockwood Holdings was complete.

    x   The Huntsman Corporation announced the completion of a new 38 million euro iron sulfate plant,
        on the same site as the titanium dioxide pigment manufacturing facility in Scarlino, Italy in June


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         2014. Production of titanium dioxide can now be facilitated with a wider range of feedstock
         materials. Huntsman operates a 360 metric ton-per-year ultrafine titanium dioxide plant at this
         site. The product is used in the company’s Tioveil sunscreen products.

    x    In December 2014, Huntsman announced that it was going to reduce its workforce by
         approximately 900 positions, and evaluate reducing titanium dioxide capacity in order to improve
         the global competitiveness of its pigments and additives business.

    x    Cristal Global produces titanium dioxide using the sulfate process at Thann in France, which was
         the first plant of its kind in 1922. Plant also sells titanium tetrachloride. Cristal announced plans
         to develop the Thann complex as a specialty chemicals center, eventually converting the whole
         titanium dioxide capacity to the production of ultrafine grades, mainly for the catalysts sector,
         with an anticipated investment of $20 million.

    x    In February 2015, Huntsman announced plans to reduce its European titanium dioxide capacity
         by about 100 thousand metric tons (13% of global production) by the end of 2015. It is most
         likely that the production of titanium dioxide at the Calais plant in France will cease, but
         packaging activities would continue. It is still unclear when the production will cease.

Kronos Titan in Norway manufactures and sells titanium oxychloride and titanyl sulfate that are
coproducts of TiO2. Titanium oxychloride is used in specialty applications in the formulation of
pearlescent pigments and in the production of electroceramic capacitors for cell phones and other
electronic devices. Titanyl sulfate products are used primarily in pearlescent pigments. Ilmenite ore is
sourced from the Kronos Titania AS facitlity in Hauge I Dalane on the southwest coast of Norway. The
facility produces about 850 thousand metric tons of ilmentite concentrate per year.

The table below illustrates the recent consolidation in Europe.

                                                                                  a
        Western European Annual Capacity for Titanium Dioxide
        (percent)
                              Cristal                    Kemira                Sachtleben
                              b        c        d
                 Crenox Global Huntsman Pigments Kronos                           Chemied      Sachtlebend Tronoxe
        1998       --     18      31       8       22                              6               --        15
        2002         --         21        31              9           21              7                --      12
        2005         --         18        28              9           25              7                --      13
        2008         --         14        30              --          26              --               17      13
        2011         8          13        29              --          27              --               17       7
        2014         --         14        53              --          27              --               --       6
        a. Shares may not add to 100% due to rounding.
        b. From 1990 to 2004, part of Millennium; Millennium was part of Lyondell from 2004 to 2007.
        c. As of 2014, includes Crenox, Sachtleben, and Sachtleben Chemie.
        d. In 2008, Kemira Pigments and Sachtleben Chemie’s TiO2 businesses were integrated into Sachtleben.
        e. From 1990 to 2005, part of Kerr-McGee.
        Source: IHS Chemical estimates.
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                                                                               2014
                          Western European capacity share for titanium dioxide

                                                           Tronox
                                                             6%
                                      Cristal Global
                                          14%




                                                                                         Huntsman
                                                                                           53%


                                          Kronos
                                           27%




                                                       Total = 1.4 million metric tons

                          Source: IHS Chemical                                                      © 2015 IHS




Operating rates tend to be lower in Western Europe than in other industrialized nations since sulfate
plants tend to operate at rates of 510% lower than those of chloride plants. From 2008 to 2009, operating
rates were relatively low and profitability was poor, prompting the closure of sulfate plants by Huntsman
and Cristal. Operating rates and profitability started to rise during the second half of 2010, but lower
operating rates were observed in 2011 and 2012. The following table presents Western European
nameplate capacity and operating rates for titanium dioxide:

             Western European Annual Capacity for Titanium Dioxide by Process
             (thousands of metric tons)
                                  Sulfate                   Chloride                                   Operating Rate
                                 Process                    Process                  Total                  (percent)
             1990                    862                        302                  1,164                         89
             1995                        850                        330              1,180                              90
             2000                        928                        446              1,374                              85
             2001                        933                        452              1,385                              85
             2002                        910                        472              1,382                              75
             2003                        932                        516              1,448                              81
             2004                        897                        539              1,436                              89
             2005                        857                        542              1,399                              73
             2006                        862                        546              1,408                              94
             2007                        852                        570              1,422                              90
             2008                        823                        638              1,461                              89
             2009                        767                        638              1,405                              75
             2010                        771                        638              1,409                              91
             2011                        760                        634              1,394                              85
             2012                        634                        765              1,399                              84
             2013                        634                        765              1,399                              87
             2014                        634                        771              1,405                              90
             Source: IHS Chemical estimates.
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There was a buildup of chloride-process capacity in the late 1980s and 1990s as producers were under
pressure to limit effluent from sulfate plants. Operators of sulfate-based plants were required to install
units to recycle acid and recover ferrous sulfate. In the 2000s, several sulfate plants were shut, and all
investments have since been made in chloride capacity.


Salient statistics

The following table presents German capacity, production, and operating rates for titanium dioxide:

            German Capacity, Production, and Operating Rates for Titanium Dioxide
            (thousands of metric tons)
                                           Annual                                                            Operating Rate
                                        Capacity                          Production                              (percent)
            1995                            330                                300.6                                    91
            2000                                385                              407.5                                  106
            2001                                385                              377.0                                    98
            2002                                405                              411.6                                  102
            2003                                425                              417.8                                    98
            2004                                425                              439.0                                  103
            2005                                447                              445.3                                  100
            2006                                447                              463.2                                  104
            2007                                461                              460.1                                  100
            2008                                471                              452.1                                    96
            2009                                471                              334.6                                    71
            2010                                471                              423.3                                    90
            2011                                471                              411.8                                    87
            2012                                471                              367.8                                    78
            2013                                471                              376.9                                    80
            2014                                471                              396.3                                    84
            Sources:
            (A) Statistisches Bundesamt (Federal Statistical Office) Wiesbaden, Germany (data for Production).
            (B) IHS Chemical estimates (all other data).
                                                                                                                   © 2015 IHS



The following table presents historical EU 15 supply/demand for titanium dioxide:




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              EU 15 Supply/Demand for Titanium Dioxide Pigments—1980–2000
              (thousands of metric tons, gross weight)
                              Annual                              Net Extraregional
                            Capacity            Production                 Exports          Consumption
              1980             1,064                   825                     na                    na
              1985               1,037               1,040                       343                 697
              1990               1,164               1,065                       230                 835
              1995               1,180               1,114                        12               1,102
              1996               1,283               1,124                        94               1,030
              1997               1,298               1,163                        64               1,099
              1998               1,318               1,179                        22               1,157
              1999               1,328               1,166                        99               1,067
              2000               1,374               1,244                        94               1,150
              Source: IHS Chemical estimates.
                                                                                                © 2015 IHS



The following table presents more recent Western European supply/demand data:

              Western European Supply/Demand for Titanium Dioxide
              (thousands of metric tons, gross weight)
                                Annual
                                                                                       a
                              Capacity          Production    Importsa      Exports         Consumption
              2001               1,385               1,180          300           380             1,100
              2004                1,436              1,284          438           539               1,183
              2008                1,461              1,305          406           469               1,241
              2011                1,394              1,186          519           464               1,241
              2014                1,405              1,257          487           484               1,260
              2019                1,310              1,290            --               --           1,336
                                                                             b
                                                Average Annual Growth Rate
                                                         (percent)
              2004–08              0.4%              0.4%       -1.9%            -3.4%              1.2%
              2008–11             -1.6%              -3.1%         8.5%          -0.4%              0.0%
              2011–14              0.3%              2.0%         -2.1%          1.4%               0.5%
              2014–19             -1.4%              0.5%             --            --              1.2%
              a. Includes commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
              b. Growth rates are based on unrounded data.
              Source: IHS Chemical estimates.
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Consumption

The following table presents Western European consumption of titanium dioxide pigments. Overall,
Western European consumption of titanium dioxide is forecast to grow at 1.2% annually during 2014–19.

The following table presents Western European consumption of titanium dioxide pigments:


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    Western European Consumption of Titanium Dioxide Pigments
    (thousands of metric tons, gross weight)
                   Paints and                          Printing                      Rubber/ Textile
                                                   a                         b                                c
                     Coatings Plastics Paper              Inks    Ceramics    Linoleum Fibers Other                  Total
    1997                  635     225     120               35             10        10    15    49                  1,099
    2001                    615        250     135           40            10             10      10         30      1,100
    2004                    640        270     157           43            11             11      11         40      1,183
    2008                    667        276     173           47            12             12      11         43      1,241
    2011                    665        280     169           48            13             12      11         44      1,241
    2014                    670        290     168           48            13             13      12         46      1,260
    2019                    705        313     179           50            14             14      13         48      1,336
                                                                                 d
                                             Average Annual Growth Rate
                                                          (percent)
    2004–08               1.0%        0.6%    2.5%        2.2%          2.2%           2.2%    0.0%        1.8%       1.2%
    2008–11               -0.1%       0.5%   -0.8%        0.7%          2.7%           0.0%    0.0%        0.8%       0.0%
    2011–14               0.3%        1.2%   -0.2%        0.0%          0.0%           2.7%    2.9%        1.5%       0.5%
    2014–19               1.0%        1.5%    1.3%        0.8%          1.5%           1.5%    1.6%        0.9%       1.2%
    a. Includes both laminates and coated paper and board.
    b. Includes electroceramics, ceramic catalyst bodies, ceramic carriers containing titanium dioxide, and structural
    ceramics (porous membranes for gas filtration, reinforcements for metal-matrix composites).
    c. Includes applications such as stoving enamels and glass; food and drugs, and cosmetics and soaps.
    d. Growth rates are based on unrounded data.
    Source: IHS Chemical estimates.
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As in other parts of the world, TiO2 is the high-performance white pigment of choice for the paint,
plastics and paper industries in Western Europe. Less important consuming industries in volume terms are
printing inks, elastomers, synthetic textile fibers, and ceramics.


Paints and coatings

The paint and coatings industry in Western Europe is by far the most important consumer of titanium
dioxide pigments, accounting for about 53% of total consumption. Consolidation and globalization in the
paint and coatings industry continues, leading to cost pressures on suppliers of raw materials, such as
titanium dioxide. In 2014, the Western European coatings industry consumed 670 thousand metric tons of
titanium dioxide. About 67% is used in architectural coatings and 33% in industrial coatings.

As in most of the developed world, the industry is mature. The content of TiO2 in white paints depends on
the paint system as well as on the degree of brilliance (gloss). Greek coatings are thought to have the
highest loadings of titanium dioxide in Europe. One recent study found that the average loadings of TiO2
in architectural coatings are highest in the United Kingdom and lowest in Germany. The German market
is characterized by sales of fairly low-cost, low-performance paints, composed of low levels of binder and
TiO2, which are applied to walls of apartments that are repainted frequently.

European producers of architectural coatings are more receptive to using sulfate-based TiO2 than
producers in North America. The European market is characterized by greater use of solvent-based
coatings and higher percentages of gloss enamels for trim.

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The construction market continued to drop in 2009, and recovered only somewhat in 2010–11. There was
some rationalization in the titanium dioxide industry during this time, as described in the previous
sections. When demand started to recover in 2010 and 2011, supplies of many raw materials, including
titanium dioxide, rose significantly. The market also observed some shortage in supply of TiO2, especially
by the small and medium-sized paint producers. In 2012, production dipped slightly again, due to the
depressed Eurozone markets, but flat to slight growth has been observed between 2013 and 2014. It is
expected that overall, the mature Western European markets will remain about the same over the next five
years, with an average annual growth rate of about 1%.

Production of paint and coatings in Western Europe is estimated as follows:

                           Western European Production of
                                                           a
                           Paints and Coatings
                           (thousands of metric tons)
                           1995                                                                    5,353
                           2000                                                                    6,666
                           2001                                                                    6,928
                           2002                                                                    6,970
                           2003                                                                    6,936
                           2004                                                                    7,219
                           2005                                                                    7,821
                           2006                                                                    7,513
                           2007                                                                    7,646
                           2008                                                                    7,401
                           2009                                                                    6,511
                           2010                                                                    6,568
                           2011                                                                    6,965
                           2012                                                                    6,754
                           2013                                                                    6,798
                           2014                                                                    6,831
                           a. Includes EU 15 plus Norway and Switzerland.
                           Sources:
                           (A) Service des Statistiques Industrielles (SESSI) (data for France).
                           (B) Deutsches Lackinstitut (data for Germany).

                           (C) IHS Chemical estimates (data for Norway and Switzerland).
                           (D) European Commission, Eurostat (all other data).
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The major Western European consumers of TiO2 for paint and coatings production are the leading
producers of architectural coatings, namely Akzo Nobel, PPG, DAW (Caparol), Tikkurila, and Materis.
Leading producers of industrial coatings include Akzo Nobel, BASF, DuPont, Becker, Valspar, and PPG.

As in North America, the paint industry is mature; however, the construction industry in Western Europe
is expected to remain depressed. Consumption growth in Western Europe for TiO2 in paint and coatings is
forecast at 1.0% per year during 201419.




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Plastics

The plastics industry is the second-largest Western European market for TiO2 pigments, with a share of
about 23%. The sector grew considerably in the 1990s, but slowed significantly in the early 2000s. After
the recession in 200809, there was limited growth between 2011 and 2014, and growth of TiO2 in
plastics is forecast to develop in line with consumption of plastics and is expected to average 1.5% per
year during 201419.

The use of titanium dioxide benefited from the replacement of heavy metal pigments such as cadmium
sulfate, lead chromate, and lead molybdate. To achieve comparable colors, plastics manufacturers now
use TiO2 as the opacifier, with organic pigments supplying the tint. In many formulations requiring
yellow, orange, or green color, the use of TiO2 has increased from 10% to 40%.


Paper

The paper industry is the third-largest consumer of TiO2 pigments. This industry segment accounts for
approximately 13% of total Western European TiO2 consumption. As in the United States, paper
manufacturers have been switching to alkaline sizing agents so less-expensive fillers like calcium
carbonate can be substituted for titanium dioxide. Production and consumption of lightweight coated
papers has increased significantly, which has allowed further use of calcium carbonate at the expense of
TiO2.

Titanium dioxide is also used to provide whiteness and opaqueness to décor or laminate paper, which is
used to cover a wooden substrate with a durable, lightfast and attractive surface. Typical applications are
kitchen tabletops, office and consumer furniture, and laminate flooring. On average, 27% TiO2 is used;
the content can vary from 0% in very dark paper grades to 43% for white paper. Titanium dioxide, along
with MF/UF resin, is used to make a paper with 50% resin. TiO2 has the unique characteristics of
providing wet opacity and light fastness, making it superior to clay, calcium carbonate, or barium sulfate.
The décor paper market is concentrated in Germany (47%), the rest of Europe (20%), China (26%), the
rest of Asia (1%), and the Americas (6%). The fastest-growing sector has been laminate flooring, which
accounts for 10–15% of total world demand for décor paper. Laminate flooring accounts for 5–10% of the
European market, competing with textile covering (over 50%), ceramic (20%), vinyl (12%), and others
(cork, parquet, linoleum and rubber). Laminate flooring provides a surface that is economical, durable,
easy to clean and easy for the homeowner to install. The more important producers include Gascogne
(France), Hamberger (Germany), Kronospan (United Kingdom), Kronotex (plants in different European
countries), Pergo (Sweden), and Witex International Flooring (Germany). Some product is shipped to
Asia.

Overall, Western European consumption of TiO2 in the paper segment is forecast to show low growth (an
average of 1.3% per year in 201419), with some sectors, such as coated paper for advertising,
experiencing no growth.


Printing inks

Demand for titanium dioxide in printing inks grew moderately in 2001–07, but fell in 200809, before
recovering some in 201011.

In Western Europe, this market is very fragmented, with 150–200 producers of printing inks spread
among 15 countries. However, a few large printing ink producers in Western Europe account for a very
important share of the domestic market. The eight largest consumers of TiO2 pigments for printing inks

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(in approximate order of importance) are Sun Chemical (includes Coates and Hartmann Druckfarben),
SICPA, Flint, BASF, Gebruder, Huber, Ani, and Siegwerk. Together, they consume approximately 85%
of all pigments consumed in printing inks.

Consumption is expected to remain quite flat, with growth of less than 1% in 201419, as use in journals
and newspapers will likely decrease because of less advertising. On the other hand, consumption in
packaging inks is forecast to increase slightly.


Other

In Western Europe, TiO2 is also used in many other applications such as ceramics; elastomers and
linoleum; textile fiber delustering; stoving enamels, porcelain, and glass; and cosmetics and soaps.

TiO2 is used increasingly in rubber footwear (e.g., tennis, gym, and jogging shoes).

Consumption of specialty titanium dioxide pigments has been rising. Microcrystalline grades are used in
cosmetics, automotive paints, and specialty plastics. Nanosize particles are used in catalysts, self-cleaning
coatings, effect pigments, and UV filtering. To date, the largest use has been in cosmetics. Sachtleben
opened the first plant dedicated to nanosize production in 1999, with a capacity of one thousand metric
tons per year. The company targets applications such as sunscreens, automotive coatings that change
colors depending on the angle that light strikes the surface, and as a catalyst in coal-fired power plants
and motor vehicles to decompose nitrogen oxides. Another application is in transparent wood coatings,
where the nanoscale TiO2 might be added to improve the long-term resistance to discoloration and
increase hardness of the coating. In the sunscreen market, TiO2 is more effective over a broader UV
spectrum, is longer lasting, does not irritate sensitive skin like chemical agents, and is transparent due to
its nanoscale size. Both Sachtleben and Cristal expanded their plants to increase production of nanoscale
particles. One of the larger markets for Cristal ultrafine material is as a catalyst to remove nitrogen oxides
from power plant emissions. Nanoscale TiO2 particles might also be used in coatings applied on roof
panels or interior walls to produce self-cleaning surfaces.

Another potential use of nanoscale TiO2 is in dye-sensitized solar cells, which generate electricity in a
manner similar to electrochemical cells. One of the electrodes in the cell is composed of a film made of
TiO2 nanoparticles that are 1520 nanometers in diameter. A self-assembled monolayer of dye particles is
on the inner surface of the film; when illuminated the dye molecules capture the incident photons,
generating electrons that are transported to the electron-collecting electrode. TiO2 is a favored material of
construction due to its low cost, semiconductor properties, and wide bandgap (3.2 eV).

The University of Twente in the Netherlands has experimented with the use of paving stones that convert
nitrogen dioxide from car exhaust into nitrates, which would then wash away in the rain. The stones
contain titanium dioxide mixed with concrete. When the sun shines upon the paving stones, the pollutants
are transformed by the TiO2 into nitrates, which are then absorbed by the concrete.

In yet another development, researchers from the Manchester Metropolitan University found that paint
that contained an excess of TiO2 nanoparticles killed deadly methicillin-resistant Staphylococcus aureus
(MRSA) bacteria when exposed to ultraviolet light. It is believed that the hygiene of hospitals, and of
equipment used in food and pharmaceutical manufacture, could be improved by shining fluorescent light
on the coated surfaces.




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Price

In the second half of 2010 and into 2011 through early 2012, TiO2 sales prices rallied, mainly as a result
of strong demand and somewhat restricted supplies. The industry continued to increase prices through late
2011 to late 2012. In 2013, prices began to drop, and in the first month of 2015 this trend has continued.
The table below shows how average market prices increased in recent years:

         Average Northern European Market Prices for Bulk Volume Shipments of
         Titanium Dioxide Pigment
         (euros per metric ton)
                        First Quarter            Second Quarter     Third Quarter    Fourth Quarter   Year Average
         2009                   2,300                     2,300             2,230             2,230          2,265
         2010                        2,280                2,300            2,500              2,500          2,395
         2011                        2,690                2,690            3,000              3,000          2,845
         2012                        3,250                3,500            3,500              3,500          3,438
         2013                        3,305                3,275            3,275              3,275          3,283
         2014                        2,864                2,650            2,575              2,435          2,631
         Source: IHS Chemical estimates.
                                                                                                          © 2015 IHS



Actual prices can range considerably, as very high-quality pigment grades tend to sell for about 10%
higher than average grades for architectural coatings, and very low-quality imported material usually sells
for 10–20% less.

The following graph presents the price development of northern European bulk volume shipments of
titanium dioxide pigments over the last six years.

 Average northern European prices for titanium dioxide shipments
 (euros per metric ton)
 4,000

                   First Quarter
 3,500             Second Q uarter
                   Third Qua rter
 3,000             Fourth Quarter
                   Yea r A ver age
 2,500


 2,000


 1,500


 1,000


  500


     0
                    200 9                    201 0          201 1            201 2           201 3           201 4
 Source: IHS Chemical                                                                                                © 2015 IHS




The following table presents German average annual trade values for titanium dioxide:


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                  German Average Annual Trade Values for Titanium Dioxide
                  (euros per metric ton)
                                                        a                                        b
                                            Uncoated                                    Coated
                                    Imports             Exports              Imports                  Exports
                  2000                1,883               2,170                1,875                    3620
                  2001                 1,729                2,298               1,891                    4040
                  2002                 1,783                2,229               1,770                   1,778
                  2003                 1,758                2,037               1,835                   1,768
                  2004                 1,714                1,980               1,716                   1,669
                  2005                 1,809                1,945               1,720                   1,741
                  2006                 2,211                1,984               1,662                   1,767
                  2007                 2,639                2,076               1,629                   1,701
                  2008                 2,646                1,956               1,590                   1,644
                  2009                 2,839                1,920               1,557                   1,633
                  2010                 2,841                2,080               1,652                   1,783
                  2011                 2,762                2,477               2,343                   2,382
                  2012                 3,255                2,991               2,643                   2,786
                  2013                 3,141                2,758               2,033                   2,285
                  2014                 2,497                2,817               2,000                   2,124
                  a. Reported under tariff code # 2823.00.
                  b. Reported under tariff code # 3206.11.
                  Source: Aussenhandel nach Waren und Laendern, Statistisches Bundesamt, Wiesbaden.
                                                                                                     © 2015 IHS



Trade

Imports

The following table lists the Western European imports of titanium dioxides broken down by main
countries of origin. Total imports increased from 2008 to 2011, followed by a sharp decrease during the
Eurozone downturn in 2012. The years 2013 and 2014 have shown a steady increase as markets began to
improve. The United States (mainly DuPont) has been the most important source for Western European
imports of titanium dioxides. Mexico (also DuPont) has also been another important sourcing country.
DuPont has a market share of about 10% in Europe. In 2014, about 40% of total imports originated in the
United States, with 15% from Mexico.

Major Western European importers of titanium dioxides in recent years were Germany, Belgium, Italy,
France, and Spain.




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                                                                                                     a
          Western European Extraregional Imports of Titanium Dioxide
          (thousands of metric tons, gross weight)
                                                                                          United
                                                                                                                                  b
                        China          Mexico          Slovenia           Ukraine         States          Other           Total
          1997            5.2             3.6               0.0               0.0          158.2           25.0               192.0
          1998              8.7             0.0                0.0             0.0          182.0           56.8              247.5
          1999            10.0              0.0              27.3              0.0          151.9          206.2              395.4
          2000            14.6             14.1              31.7              0.0          174.1           70.6              305.0
          2001            13.6             35.7              24.3              0.0          141.9           84.7              300.0
          2002            15.1             45.4              27.5              8.9          198.2          163.9              459.0
          2003            18.4             45.7              26.8             13.3          221.3           77.1              402.6
          2004            18.3             52.1              26.6             24.6          232.5           83.4              437.6
          2005            28.7             51.3              29.5             27.0          193.5          128.9              458.8
          2006            34.2             61.5              35.5             30.3          174.8           89.5              425.8
          2007            33.7             65.7              40.6             34.6          203.0           77.2              454.7
          2008            17.8             50.2              40.8             32.9          202.6           61.4              405.7
          2009            14.9             58.0              40.6             25.8          178.9           57.7              375.9
          2010            31.4             59.5              41.7             33.3          195.5           55.9              417.3
          2011            81.2             56.9              37.6             44.2          203.0           95.9              518.7
          2012            47.5             53.6              30.6             48.7          156.9           67.8              405.1
          2013            39.1             67.1              37.4             46.7          193.5           63.7              447.5
          2014            69.8             73.7              37.6             47.5          192.4           66.1              487.1
          a. Includes import commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
          b. Data are rounded to no more than one significant digit; may not add to totals shown.
          Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                                       © 2015 IHS


Exports

The following table provides the estimated Western European exports of titanium dioxides broken down
by main destination countries. Exports declined during 201112 before increasing in 201314. Exports to
China and the United States declined between 2010 and 2012, but began to increase again in 201314.
Overall, exports to Turkey contributed to 13% of total Western European exports in 201014, followed
by the United States (12%) and Poland (10%). Major Western European exporters have been Belgium,
Germany, the United Kingdom, and France.




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                                                                                                       a
             Western European Extraregional Exports of Titanium Dioxide
             (thousands of metric tons, gross weight)
                                                                                     United
                                                                                                                           b
                         China        Poland         Russia          Turkey          States         Other         Total
             1997         10.5            na            5.2              na            81.9         190.4          288.0
             1998            8.4            na             3.4           30.7           81.8         180.0         304.3
             1999          17.1           18.6             5.3           33.4           82.2         259.7         416.4
             2000          28.9           22.2             5.9           36.5           84.4         231.8         409.6
             2001          33.0           20.4             7.1           25.2           82.3         212.1         380.1
             2002          43.0           27.3           10.0            46.3           93.7         230.8         451.0
             2003          48.5           26.6           12.4            47.4          101.4         238.3         474.6
             2004          51.7           25.9           17.5            53.4          101.6         288.5         538.5
             2005          38.3           27.5           22.2            49.4          131.5         267.1         535.9
             2006          31.3           29.9           25.1            56.0          103.3         335.9         581.5
             2007          30.0           39.1           23.7            53.7           72.5         273.8         492.7
             2008          27.9           38.4           27.5            54.6           53.1         267.6         469.1
             2009          22.7           39.7           18.5            52.7           47.2         235.9         416.8
             2010          25.6           39.1           27.2            64.1           47.7         264.3         468.0
             2011          22.4           55.0           28.3            57.4           45.1         255.9         464.0
             2012          18.9           38.3           25.3            51.2           43.2         228.1         405.1
             2013          28.2           43.2           29.5            58.2           65.7         258.0         482.9
             2014          32.1           45.6           28.6            58.9           63.3         255.7         484.3
             a. Includes export commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
             b. Data are rounded to no more than one significant digit; may not add to totals shown. Major
             Western European exporters have been Belgium, Germany, the United Kingdom, France, and
             Norway.
             Source: IHS Chemical estimates based on data from the World Trade Atlas, Global Trade Information Services,
             Inc.
                                                                                                               © 2015 IHS



Central Europe

Central Europe as defined in this report includes Albania, Bosnia and Herzegovina, Bulgaria, Croatia, the
Czech Republic, Hungary, Poland, Romania, Serbia, Slovakia, Slovenia, and Turkey.


Producing companies

The following table presents Central European producers of titanium dioxide:




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   Central European Producers of Titanium Dioxide
                                         Annual
                                        Capacity
                                     (thousands of
                                                    a
                             Plant   metric tons)
      Company              Location 2014    2019        Process      Feedstock                Remarks
   Czech Republic
   Precheza               Prerov     56      56         Sulfate   Ukrainian        Part of Agrofert Holding.
   (Prerovske a.s.)                                               ilmenite.        Capacity increased from 50 kt
                                                                                   per year in 2012
   Poland
   Zaklady          Police           50      50         Sulfate   Norwegian
   Chemiczne Police                                               ilmenite and     Part of Grupa Azoty. Capacity
   SA (ZCP)                                                       Canadian slag.   increased to 50 thousand
                                                                                   metric tons in 2014.
   Slovenia
   Cinkarna Celje         Ceije      56      56         Sulfate   Norwegian        Also known as Metalursko
                                                                  ilmenite and     Kemicna Industrija Celje, d.d.
                                                                  Canadian slag.
   Total                             162    162
   a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes,
   maintenance schedules, and changing environmental requirements.
   Source: IHS Chemical estimates.
                                                                                                         © 2015 IHS



Precheza, based in Prerov, the Czech Republic, produces a wide range of anatase and rutile pigments. The
company is owned by Agrofert Holding group. The company has increased capacity to 56 thousand
metric tons in 2013. In 2012, the sulfuric acid production was modernized, and 53 thousand metric tons of
titanium dioxide was produced in 2013. The company also has a production plant in China (PT China).

Zaklady Chmiczne “Police” SA is the only titanium dioxide producer in Poland. It uses Kronos
technology to produce pigments with the trade name Tytanpol. In 2013 the company reported a
production volume of 36.2 thousand metric tons, which was a 5% reduction from 2012 production. About
50% of production is exported to Western Europe.

Cinkarna Celje in Slovenia utilizes technology from Thann et Mulhouse, France. About 17% of the
production is sold to the domestic market, 66% is exported to EU markets, with the rest going to other
foreign markets. In 2011, the company was put up for sale.


Salient statistics

The following table presents Central European supply and demand for titanium dioxide over selected
years, with a forecast for consumption and average annual growth:




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             Central European Supply/Demand for Titanium Dioxide
             (thousands of metric tons, gross weight)
                               Annual
                                                                      a             a
                             Capacity          Production   Imports       Exports       Consumption
             2011                146                  104        183              57            230
             2014                   162              122         190              60             252
             2019                   162                --          --              --            288
                                                                            b
                                               Average Annual Growth Rate
                                                        (percent)
             2011–14              3.5%              5.5%        1.3%            2.0%            3.0%
             2014–19              0.0%                 --          --              --           2.7%
             a. Includes commodity code numbers 2823.00, 3206.11, and 3206.19.
             b. Growth rates are based on unrounded data.
             Source: IHS Chemical estimates.
                                                                                            © 2015 IHS



Major Central European TiO2–consuming countries are Turkey and Poland. Total consumption is forecast
to grow at an average annual rate of 2.7% during 201419.

Central European consumption of titanium dioxide is segmented as follows:

   x    Paint/coatings (70%)

   x    Plastics (10%)

   x    Paper (10%)

   x    Other (10%)


Price

The average Central European unit prices based on the import and export value data are shown in the
following table. The average unit values increased between 2009 and mid-2012, and beginning in 2013,
average trade values for both imports and exports have declined back to approximately 2011 values.




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                   Central and Eastern European Average Unit Trade Values
                                                 a
                   for Titanium Dioxide
                   (dollars per metric ton, gross weight)
                                           Imports                    Exports                       Average
                   2002                      1,590                      1,484                         1,537
                   2003                       2,207                      1,716                          1,962
                   2004                       2,094                      1,701                          1,897
                   2005                       2,185                      1,761                          1,973
                   2006                       2,086                      1,730                          1,908
                   2007                       2,187                      1,919                          2,053
                   2008                       2,645                      2,092                          2,369
                   2009                       2,390                      1,994                          2,192
                   2010                       2,443                      2,054                          2,249
                   2011                       3,147                      2,488                          2,817
                   Central European Average Unit Trade Values
                                                 a
                   for Titanium Dioxide
                   (dollars per metric ton, gross weight)
                                           Imports                    Exports                       Average
                   2011                      2,878                      2,877                         2,878
                   2012                       3,075                      3,246                          3,161
                   2013                       2,844                      2,596                          2,720
                   2014                       2,743                      2,616                          2,680
                   a. Data are reported under trade code numbers 2823.00, 3206.11, and 3206.19.
                   Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                   Information Services, Inc.
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Trade

Titanium oxides are traded in Central Europe using commodity codes similar to those mentioned under
Western Europe.


Imports

The following table lists the historical Central and Eastern European imports of titanium dioxides broken
down by major countries of origin between 1997 and 2011. Imports showed a significant increasing trend
(14.7% per year) during 200207, but then dropped in the following two years before increasing in 2010–
11.




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                                                                                                                                      a
Historical Central and Eastern European Imports of Titanium Dioxide by Country of Origin
(thousands of metric tons, gross weight)
                                                                                                        United
                                                                                                                                                   b
                 Belgium                China               France              Germany              Kingdom              Other            Total
1997                   na                 0.5                   na                  25.4                  8.8              12.6                 47.3
1998                     na                 0.7                   na                   27.8                  10.1           16.1                54.6
1999                    9.9                 0.5                   3.3                  30.4                  13.9           12.1                70.0
2000                   13.2                 1.1                   7.2                  35.2                  13.4           28.6                98.7
2001                   12.4                 0.8                   5.3                  26.9                  13.0           20.8                79.2
2002                   15.7                 1.0                   9.7                  30.1                  18.6           38.0               113.2
2003                   18.9                 1.7                   8.4                  33.9                  17.2           25.7               105.8
2004                   24.2                 5.8                   8.7                  44.5                  24.3           27.3               134.7
2005                   26.9               14.2                    9.3                  50.5                  20.9           36.3               158.0
2006                   35.8               20.9                  14.5                   56.9                  22.1           52.6               202.6
2007                   41.3               17.5                  14.0                   61.2                  25.4           65.1               224.5
2008                   47.4                 7.0                 12.8                   65.1                  25.1           24.5               181.9
2009                   39.7                 5.8                   9.8                  56.1                  26.3           26.7               164.3
2010                   53.5              24.4                   11.4                   68.8                  23.6           39.0               220.8
2011                   43.5             121.9                   13.2                   67.2                  39.0           41.9               326.7
a. Includes import commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
b. Data are rounded to no more than one significant digit; may not add to totals shown. Major CEE importers have been Turkey,
Russia, and Poland.
Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                                                      © 2015 IHS



The following table presents the Central European imports of titanium dioxide broken down by major
countries of origin:

                                                                                                             a
        Central European Imports of Titanium Dioxide by Country of Origin
        (thousands of metric tons, gross weight)
                                                                                                  United
                                                                                                                                           b
                      Belgium           China             France             Germany           Kingdom              Other          Total
        2008              20.4           21.5                 9.9                39.7              19.5              38.2          149.2
        2009               19.0            18.5                7.4               37.5                 21.9           30.2          134.4
        2010               22.2            30.3                7.8               43.1                 18.0           41.4          162.8
        2011               19.2            49.7                9.6               35.4                 23.1           46.1          183.0
        2012               18.6            32.4                6.5               32.9                 14.4           38.6          143.4
        2013               20.6            28.8                7.2               38.7                 16.6           51.0          162.8
        2014               23.1            25.7                7.8               40.6                 21.6           71.3          190.1
        a. Includes import commodity code numbers 2823.00, 3206.11, and 3206.19.
        b. Data are rounded to no more than one significant digit; may not add to totals shown.
       Source: IHS Chemical estimates based on data from the World Trade Atlas, Global Trade Information Services, Inc.
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In 2014, 21% of the total imported titanium dioxides originated in Germany. The share of imports from
China grew to 27% in 2011, and then started to decline to 14% of the total by 2014. Imports from the
United Kingdom (11%) and Belgium (12%) have remained relatively stable over the last three years.
Turkey and Poland are the most important importers of titanium dioxides in the region, which import
mainly from Western Europe, Ukraine, and China, as well as from the United States.


Exports

Historical Central and Eastern European exports of titanium dioxide until 2011 are shown in the
following table. Total exports have increased, especially in recent years. Germany and Italy received the
majority (29% and 15% on average, respectively in 200511).

                                                                                                                           a
          Historical Central and European Exports of Titanium Dioxide by Destination
          (thousands of metric tons, gross weight)
                                                                                          United
                                                                                                                                         b
                     France           Germany              Italy          Spain           States             Other               Total
          1997           na               20.6             11.1             3.6              7.1              15.5                  57.7
          1998             na               21.3             9.2             4.2               6.8             19.4                 60.8
          1999            9.8               23.2           11.7              4.0             10.9              25.5                 85.1
          2000            9.2               24.6           13.0              5.3             22.4              29.2               103.8
          2001            8.9               20.3           11.9              5.4             18.9              27.9                 93.3
          2002          11.5                18.7           17.8              7.0             13.0              35.4               103.3
          2003          11.3                20.7           17.7              7.0               9.7             43.1               109.5
          2004            7.8               25.6           19.7              7.6               9.6             57.5               127.8
          2005            8.7               28.1           22.8              6.5             12.5              62.2               140.8
          2006          11.6                37.9           25.2              6.8               8.8             67.6               158.0
          2007          10.2                46.7           25.2              7.2               8.5             60.2               157.8
          2008            9.7               50.5           24.4              6.3               8.4             55.1               154.4
          2009            9.7               43.8           21.8              3.8             10.1              48.7               137.9
          2010          12.8                46.0           22.5              5.9             14.7              52.8               154.6
          2011          13.3                60.8           22.5             11.5             18.6              57.5               184.1
       a. Includes export commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
       b. Data are rounded to no more than one significant digit; may not add to totals shown.
       Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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The following table presents the Central European exports of titanium dioxide by destination between
2008 and 2014:




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         Central European Exports of Titanium Dioxide by Destinationa
         (thousands of metric tons, gross weight)
                                                                                             United
                                                                                                                                 b
                     France         Germany          Italy     Russia          Spain          States        Other        Total
         2008            6.7             6.6         10.5         1.5            2.7             2.7         25.6            56.2
         2009              6.1              6.8        8.5           2.2           1.1            3.1         28.2           55.9
         2010              5.6              7.9        8.5           2.2           1.9            4.1         25.3           55.5
         2011              5.2              7.7        8.7           1.6           3.9            4.1         26.9           58.3
         2012              4.8              6.7        9.2           1.3           2.6            4.5         24.1           53.0
         2013              5.4              7.0       9.6            1.4           2.8            5.0         26.0           57.2
         2014              5.1              8.6      10.5            2.0           3.3            2.7         30.1           62.3
         a. Includes export commodity code numbers 2823.00, 3206.11, and 3206.19.
         b. Data are rounded to no more than one significant digit; may not add to totals shown.
         Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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CIS

CIS as defined in this report includes Armenia, Azerbaijan, Belarus, Estonia, Georgia, Kazakhstan,
Kyrgyzstan, Latvia, Lithuania, Moldova, Russia, Tajikistan, Turkmenistan, Ukraine, and Uzbekistan.


Raw materials

Ukraine is the sole Central and Eastern European country with a major source of titanium raw materials,
with 26 deposits. Output is mainly ilmenite, but also rutile and leucoxene. Around 20% of the global
ilmenite and rutile reserves are found in Ukraine. Feedstock is exported mainly to the Czech Republic,
Russia, and the United States, and to a smaller extent to Canada, Kazakhstan, and Western European
countries.

Crimea Titan PJSC became part of the DF Group in 2014. The DF Group, through three integrated
mining and concentration complexes and one mining operation, produces about 750 thousand metric tons
of ilmenite and 75 thousand metric tons of rutile. The Irshansk Mining and Concentration Complex
exploits the alluvial sands of 15 deposits near Mayshev (formerly Samotkan), 75 kilometers west of
Dnepropetrovsk, in central Ukraine. It is fully mechanized and processes 400 thousand metric tons of
ilmenite per year, with reserves sufficient for another 150 years of production. The Volnogorsk Mining
and Metallurgical Complex, which exploits the alluvial sands of five deposits in central Ukraine, has a
capacity of 215 thousand metric tons of chloride-type ilmenite per year and 75 thousand metric tons of
rutile. The Mzhyrichensk Mining and Concentration Complex in Irshansk supplies Crimea TITAN and
Sumykhimprom with ilmenite concentrate, with a capacity of 100 thousand metric tons per year. Valky
ilmenite in Irshansk specializes in mining and produces ilmenite concentrate, with a capacity of 45
thousand metric tons per year. Titanium ores are mined from open pits at the Valky-Hatsivskiy field.

Velta LLC was set up in 2000 to develop the Bizulivske ilmenite deposit near Korobchino in the
Kirovograd region of Ukraine. Following detailed exploration, and the purchase of the mining license, a
concentration plant, with a nameplate capacity of 185 thousand metric tons per year was built and in 2012
the first ilmenite deliveries left the site.



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In July 2012, VSMPO-Avisma, a Russian titanium company, acquired 75% of Limpieza Limites. This
Cyprus-based company owns Demurinsky GOK, an ilmenite and rutile mining and processing facility in
Ukraine, with a capacity of 70 thousand metric tons of titanium concentrate per year.

In Russia, titanium-bearing ores are mined by JSC Sevredmet in the Murmansk region. It is reported that
JSC Yaregskaya in the Komi Republic, with the capacity to produce one thousand metric tons of titanium
dioxide, was liquidated in 2010.

In Russia, LLC Olekminsky Rudnik, a wholly owned subsidiary of IRC Ltd. (Hong Kong), holds the
license for the exploration and development of the ilmenite deposit at the Kuranakh mine (Kuranakhskoy
deposit). The Kuranakh ilmenite deposit field, with 115.6 million metric tons of reserves, is located in the
northwest of the Amur Region in Russia’s Far East. The field was first commissioned in 2008. The
mining operations were formerly held by Aricom. In 2013, the company produced 150 thousand metric
tons of ilmenite with 48% TiO2.

The Russian Murmansk region is rich in natural resources, with over 700 minerals, including titanium.
However, titanium-bearing ores are not commercially mined. There was a project initiated by GMK
Norilsk Nickel (part of Norilsk Nickel Corporation) for the construction of a mining and metallurgical
plant on the basis of deposits of Yugo-Vostochnaya Gremyakha titanium. The expected output of titanium
slag was 494 thousand metric tons and the project was expected to last until 2015. However, in 2005, the
ores turned out to be radioactive. The purifying technology significantly added to the cost of the project,
and the company did not start developing these deposits as planned.

Despite the considerable resources of titanium raw materials, the mining of titanium-containing ores in
Russia is limited. The predominant amount of ilmenite concentrates is imported from Ukraine (DF
Group). The imported ilmenite from Ukraine is used mostly as feedstock for the production of titanium
sponge by OAO VSMPO-Avisma (Sverdlovsk, Russia).


Titanium dioxide

Producing companies

The following table presents CIS producers of titanium dioxide:

 CIS Producers of Titanium Dioxide
                                                 Annual
                                                Capacity
                                             (thousands of
                                                          a
                                   Plant      metric tons)
        Company                   Location   2014       2019    Process       Feedstock                       Remarks
 Ukraine
 Crimea Titan PJSC                Armyansk    110        110 Sulfate       Ukrainian          Part of DF Group. Process from Thann
 (Krymsky Titan)                                                           ilmenite.          et Mulhouse SA, France.
 OJSC Sumykhimprom                Sumy         60        100 Sulfate       lmenite sourced    Part of DF Group. Built using
                                                                           from Irshansky.    Montedison/Tecnimont technology.

 Total                                        170        210
 a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance schedules, and
 changing environmental requirements.
Source: IHS Chemical estimates.
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Crimea Titan is the largest titanium dioxide producer in the region. This company is part of the DF
Group, along with Sumykhimprom. In May 2012, Dimitry Firtash, head of the DF Group, announced that
it was planning a new plant at the site, raising the capacity to 160 thousand metric tons, and was planning
to complete the program by 2016. No further details on the timeframe have been announced since May
2012, but the company still has plans for expansion.

In addition, Solikamsk Magnesium Works, JSC operated a small sulfate plant in Solikamsk, Russia, with
a nameplate capacity of roughly 5 thousand metric tons per year. Production of TiO2 ceased in 2006, and
no restart is anticipated. This plant is similar in design to the Police plant in Poland, which in turn is
basically a scaled-down version of the Kronos plant at Leverkusen, Germany.

In 2007, DuPont opened a new technical center in Dzerzhinsk, Russia, to increase its presence in the
growing TiO2 marketplace.

In 2008, Onexim, a privately owned company in Russia, announced the formation of a new mining and
metals company called InterGeo, with an investment of $10 billion. The company aims for annual
production of 120 thousand metric tons of titanium dioxide, in addition to producing metals such as
nickel, copper, and gold in 2016, but no new progress has been reported on the project.


Salient statistics

The following table presents CIS supply and demand for titanium dioxide over selected years, with a
forecast for consumption and average annual growth rates for 2014–19:

              CIS Supply/Demand for Titanium Dioxide
              (thousands of metric tons, gross weight)
                                  Annual
                                                                         a             a
                                Capacity        Production     Imports       Exports       Consumption
              2011                  158                148          57               97            108
              2014                    170              141          59               91             109
              2019                    210                --          --               --            115
                                                                             b
                                                Average Annual Growth Rate
                                                         (percent)
              2011–14                2.5%            -1.6%        1.2%            -2.1%            0.3%
              2014–19                4.3%                --          --               --           1.1%
              a. Includes commodity code numbers 2823.00, 3206.11, and 3206.19.
              b. Growth rates are based on unrounded data.
              Source: IHS Chemical estimates.
                                                                                               © 2015 IHS



Russia is the main TiO2-consuming county in the CIS. Total consumption is forecast to grow at an
average annual rate of about 1% during 201419. In Russia, the production of coatings declined sharply
in 2008–09. Major multinational coatings companies now have production facilities in Russia, including
Akzo Nobel, PPG, BASF, DuPont, and Tikkurila.




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CIS consumption of titanium dioxide is segmented as follows; the use pattern, however, varies from
country to country:

    x     Paint/coatings (65%)
    x     Plastics (30%)
    x     Other (5%)


Price

Average CIS unit prices based on the import and export value data are shown in the following table:

                      CIS Average Unit Trade Values for Titanium Dioxidea
                      (dollars per metric ton, gross weight)
                                              Imports                         Exports                            Average
                      2008                      2,006                           1,826                              1,916
                      2009                      1,874                           1,651                              1,763
                      2010                      2,060                           1,743                              1,902
                      2011                      2,793                           2,309                              2,551
                      2012                      3,010                           2,332                              2,671
                      2013                      2,551                           2,163                              2,357
                      2014                      2,338                           2,013                              2,175
                      a. Data are reported under trade code numbers 2823.00, 3206.11, and 3206.19.
                      Source: IHS Chemical calculations based on data for the Global Trade Atlas, Global Trade
                      Information Services, Inc.
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Trade

Titanium oxides are traded in the CIS using commodity codes similar to those mentioned under Western
Europe.


Imports

The following table lists the CIS imports of titanium dioxides broken down by major countries of origin:
                                                                                                                 a
          CIS Extraregional Imports of Titanium Dioxide by Country of Origin
          (thousands of metric tons, gross weight)
                                                                                                United
                                                                                                                                     b
                       Belgium           China          France            Germany           Kingdom                  Other     Total
          2008             10.0            0.8              1.5               18.0               3.7                   8.9      42.9
          2009              9.8            1.0              0.8               11.1               2.9                  11.9      37.4
          2010             19.4            3.8              1.0               15.3               3.7                  16.9      60.2
          2011              9.6           10.6              1.3               14.2               4.0                  16.6      56.2
          2012             12.5           10.4              1.8               15.1               3.0                  10.4      53.2
          2013             10.6           13.3              2.1               15.0               4.2                  10.5      55.7
          2014              9.5           22.0              1.1               12.6               5.2                   8.6      59.0
          a. Includes import commodity code numbers 2823.00, 3206.11, and 3206.19.
          b. Data are rounded to no more than one significant digit; may not add to totals shown.
          Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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Exports

The following table lists the CIS exports of titanium dioxides broken down by major countries of
destination:

                                                                                                                      a
          CIS Extraregional Exports of Titanium Dioxide by Country of Destination
          (thousands of metric tons, gross weight)
                                                                               United          United
                                                                                                                                  b
                          France Germany                Italy Turkey Kingdom                   States       Other         Total
          2008                0.4    20.7                 6.3   15.7      0.0                     4.7        29.0             76.8
          2009                 0.4           14.6         5.6      10.8             0.0             6.2       23.5            61.1
          2010                 0.6           18.6         5.8      12.6             0.0             9.9       34.2            81.7
          2011                 0.7           28.8         7.0        9.7            0.0           11.8        39.2            97.2
          2012                 1.4           30.2         7.5      12.7             0.0           11.2        39.5        102.5
          2013                 2.7           30.0         6.8      14.7           10.1            11.4        30.5        106.2
          2014                 2.8           32.9         5.6      15.1            0.0             7.2        27.4         91.0
          a. Includes import commodity code numbers 2823.00, 3206.11, and 3206.19.
          b. Data are rounded to no more than one significant digit; may not add to totals shown.
          Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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Middle East

The Middle East as defined in this report consists of Bahrain, Dubai (U.A.E.), Iran, Iraq, Israel, Jordan,
Kuwait, Lebanon, Oman, Qatar, Saudi Arabia, Syria, and Yemen.

The major producing company in the region is Cristal Global, based in Jeddah, Saudi Arabia, which was
formerly known as Millennium Inorganic Chemicals. The company is owned by TASNEE (66%) and the
Gulf Investment Corporation (33%). The company is the second-largest titanium dioxide producer in the
world, and utilizes both the chloride and sulfate processes.

In December 2013, Cristal Global provided an update on its plans for a 500 thousand metric ton ilmenite
smelting plant at Jazan Economic City. The two energy-efficient furnaces opened at the end of 2014,
using Outotec as the technology provider, bringing new titanium dioxide feedstock onstream. The high-
grade feedstock will supply Yanbu and other Cristal plants. Cristal is planning to use ilmenite from its
Bemax project in Australia as feedstock, as well as purchases on the open market.

The Iran Mines and Mineral Development and Renovation Organization (Imidro) is planning a complex
for producing TiO2, along with a 130 thousand metric ton-per-year ilmenite beneficiation plant, a 70
thousand metric ton-per-year slag plant, and a 50 thousand metric ton-per-year pigment plant. Each unit
will cost about $100 million. Ilmenite will be sourced from a nearby mine in Kahnuj. The project was
announced in 2007, and in 2014 the $200 million funding was invested. There has been no definitive
announcement of the timeframe, but it is likely to come onstream by 2018.




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Producing companies

The following table presents Middle Eastern producers of titanium dioxide:

      Middle Eastern Producers of Titanium Dioxide
                                                                  Annual
                                                                 Capacity
                                                              (thousands of
                                                   Plant                         a                        Trade Name/
                                                              metric tons)
                    Company                       Location    2014      2019              Process           Remarks
      Iran
      Iran Mines and Mineral                     Kahnuj             0            50   Sulfate
      Development and Renovation
      Organization (IMIDRO)
      Saudi Arabia
      Cristal Global                             Yanbu            200        200      Chloride       Capacity increased by
                                                                                                     140 thousand metric
                                                                                                     tons in 2012.
      Total                                                       200        250
      a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes,
      maintenance schedules, and changing environmental requirements.
      Source: IHS Chemical estimates.



Salient statistics

The following table summarizes the supply/demand for titanium dioxide in the Middle East. Total Middle
Eastern consumption of titanium dioxide is forecast to grow at an average annual rate of 4.0% during
201419.

               Middle Eastern Supply/Demand for Titanium Dioxide
               (thousands of metric tons, gross weight)
                                   Annual
                                                                                 a              a
                                 Capacity         Production           Imports        Exports          Consumption
               2001                   80                  70                30                22                78
               2004                      100                 84             48                40                   92
               2008                      120               111              45                52                 104
               2011                      140               119             104                71                 151
               2014                      200               180              81                70                 191
               2019                      250                 --              --                 --               232
                                                                                      b
                                                 Average Annual Growth Rate
                                                             (percent)
               2004–08                  4.7%              7.2%        -1.8%                 6.8%                3.1%
               2008–11                  5.3%              2.3%           32.3%             10.9%              13.2%
               2011–14              12.6%                14.8%           -7.9%             -0.5%                8.2%
               2014–19               4.6%                    --              --                --               4.0%
               a. Includes commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
               b. Growth rates are based on unrounded data.
               Source: IHS Chemical estimates.
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Consumption in the selected Middle Eastern countries is estimated as follows:

                      Middle Eastern Consumption of Titanium Dioxide—2014
                      (thousands of metric tons)
                      Saudi Arabia                                                                          49
                      Iran                                                                                  48
                      United Arab Emirates                                                                  34
                      Israel                                                                                16
                      Syria                                                                                 15
                      Jordan                                                                                13
                      Other                                                                                 15
                      Total                                                                               191
                      Source: IHS Chemical estimates.
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Price

Average Middle Eastern unit prices based on the import and export value data are shown in the following
table:

               Average Middle Eastern Unit Trade Values for Titanium Dioxidea
               (dollars per metric ton, gross weight)
                                            Imports                         Exports                        Average
               2002                           1,960                           1,035                          1,498
               2003                            2,260                            1,080                            1,670
               2004                            1,950                            1,685                            1,818
               2005                            1,941                            1,794                            1,868
               2006                            1,888                            2,033                            1,960
               2007                            2,070                            2,016                            2,043
               2008                            2,486                            2,151                            2,319
               2009                            2,231                            2,157                            2,194
               2010                            1,967                            2,474                            2,220
               2011                            2,599                            3,120                            3,217
               2012                            3,412                            3,249                            3,330
               2013                            2,989                            2,641                            2,815
               2014                            3,140                            2,570                            2,855
                                               Average Annual Growth Rate
                                                            (percent)
               2004–08                          6.3%                            6.3%                             6.3%
               2008–11                          1.5%                           13.2%                          11.5%
               2011–14                          6.5%                           -6.3%                          -3.9%

               a. Data are reported under trade code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
               Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information
               Services, Inc.
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Trade

Imports

The following table lists Middle Eastern extraregional imports of titanium dioxides broken down by
major countries of origin. Imports increased at an average annual rate of about 5.2% during 2011–14.
China is now the most important source of Middle Eastern imports of titanium dioxide, accounting for
about 55% of total imports during 2014, followed by Germany (6%). Other Western European countries,
including Belgium, Spain, and the United Kingdom, make up the majority of the other category in 2014,
with 16% of total Middle Eastern imports. Israel and the United Arab Emirates are the most important
extraregional importers of titanium dioxide among the Middle Eastern countries. Both Israel and the
United Arab Emirates now import TiO2 mainly from China, and to a smaller extent from Western
European countries. Iran is a major importer in the region, and is mainly sourced by China. In the past,
more Iranian imports of titanium dioxide were sourced in Germany, Saudi Arabia, and India.

                                                                                                                            a
        Extraregional Middle Eastern Imports of Titanium Dioxide by Country of Origin
        (thousands of metric tons, gross weight)
                                                                               United           United
                                                                                                                                        b
                       China            Germany            Japan            Kingdom              States           Other         Total
        1997             0.1                 7.6              1.1                3.0                4.7             1.5          18.0
        1998               0.6                  6.7             3.7                 2.8              2.0             3.8         19.6
        1999               0.4                  5.7             2.5                 5.1              1.6             7.4         22.7
        2000               0.9                  8.0             1.8                 5.1              3.3             8.7         27.8
        2001               1.6                11.8              2.1                 4.4              1.0             9.5         30.4
        2002               1.5                10.9              4.1                 7.3              1.9            13.1         38.8
        2003               2.3                  8.7             1.5                 5.4              1.4             9.7         29.0
        2004               5.3                12.6              2.0                 9.6              2.5            15.8         47.8
        2005               6.1                  9.5             3.2                 6.3              0.1            16.5         41.7
        2006             13.1                   9.1             5.2                 5.2              2.7            18.7         54.0
        2007               7.6                12.4              4.2                 7.0              4.9            22.1         58.2
        2008               2.8                10.0              3.5                 6.7              6.0            15.6         44.7
        2009               9.4                13.6              4.9                 6.7              9.5            21.6         65.6
        2010             30.8                 17.7              7.1                 4.0             10.9            48.8        119.4
        2011             37.1                   8.4             6.0                 4.0             14.5            33.6        103.6
        2012             29.1                 13.4              0.6                 2.2              5.8            20.8         71.7
        2013             29.7                 10.4              0.2                 1.0              5.6            24.8         71.8
        2014             45.0                  4.8              0.0                 1.6              2.6            26.8         80.9
        a. Includes import commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
        b. Data are rounded to no more than one significant digit; may not add to totals shown. Major Middle East
        importers have been Israel, the United Arab Emirates, Jordan, and Iran.
        Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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Exports

The following table lists Middle Eastern exports of titanium dioxide broken down by major countries of
destination. Exports increased at an annual average rate of 3.5% during 201114. Exports to China
decreased significantly during 201114. India is the major export destination for titanium dioxide,

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accounting for 21%, followed by Egypt and Russia, which have a 17% share each. Saudi Arabia, the only
producer in the region, obviously accounts for most exports; minor quantities of imported material are re-
exported by some of the other countries.

                                                                                                                      a
         Extraregional Middle Eastern Exports of Titanium Dioxide by Destination
         (thousands of metric tons, gross weight)
                                                                                                                                     b
                     China        India       Morocco          Egypt         Russia          Turkey         Other            Total
         1997           na           na            na             --              --             na          16.9              16.9
         1998             na          na               na            --              --           4.8         12.3             17.1
         1999            0.5         0.3               na            --              --           5.1         22.8             28.7
         2000            2.0         0.1               na            --              --           4.5         17.3             23.9
         2001            2.6         0.2               na            --              --           2.5         17.2             22.5
         2002            4.6         0.9              0.5            --              --           3.7         16.2             25.9
         2003            7.2         0.2              0.7            --              --           4.0         22.2             34.3
         2004            7.4         0.7              0.3            --              --           5.8         25.7             39.9
         2005            6.2         0.8              2.5            --              --           7.0         23.7             40.2
         2006            7.3         1.2              4.4            --              --           8.1         28.1             49.1
         2007           11.8         1.8              3.8            --              --           7.5         22.6             47.5
         2008            9.3         2.7              4.2         11.1             1.5            6.3         16.9             52.1
         2009            6.1         4.1              6.0          4.4             2.3            7.6         14.3             44.8
         2010            8.7         7.0              6.2         17.8             3.9            8.3         16.1             68.0
         2011            4.3         7.0              7.2         18.6             5.5           12.3         16.1             71.1
         2012            2.9       10.6               3.1         35.8             4.5           10.8         14.5             82.1
         2013            1.9       14.7               3.6         18.4             6.1            9.6         75.1           129.4
         2014            0.6       15.7               3.9         13.1             5.9           10.8         20.0            70.1
         a. Includes export commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
         b. Data are rounded to no more than one significant digit; may not add to totals shown.
         Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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Africa

Raw materials

Africa has substantial resources of both ilmenite and rutile and is one of the world’s largest suppliers of
titanium slag. South Africa is the second-largest world producer, next to Australia, of titanium dioxide
feedstock, accounting for 1520% of the ilmenite and rutile mined worldwide.

Several ilmenite deposits exist along South Africa’s east coast. The largest world deposit currently being
mined is at Richards Bay being worked by Richards Bay Minerals (RBM), which is the world’s largest
producer of titanium dioxide feedstock and has two companies—Tisand, which carries out the mining and
mineral separation and Richards Bay Iron and Titanium, which smelts the ore. The ilmenite is typically
smelted to produce up to 700 thousand metric tons of slag per year, containing 85% TiO2, which is
suitable as a feed for both sulfate- and chloride-process pigment plants. In September 2012, Rio Tinto
completed the acquisition of the 37% share from its joint venture partner, BHP Billiton, thus doubling its
stake in RBM.




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In the first half of 2014, TiZr started ilmenite production at Grande Cote, Senegal, a 50/50 joint venture
between Mineral Deposits of Australia and Eramet of France. MDL has a 90% stake in Grande Cote, with
the balance held by the Republic of Senegal. ERAMET contributes its Tyssedal, Norway plant, which
processes the ilmenite ore, and MDL mines the deposit, which is a system of dunes north of Dakar, with
only 1.7% ilmenite content. MDL plans to extract 700 thousand metric tons of ilmenite utilizing a unique
dredging technique.

In late 2011, Tronox and South Africa–based Exxaro Resources announced an agreement whereby
Tronox will acquire Exxaro’s 74% interest in the KZN Sands and Namakwa Sands operations in South
Africa. KZN Sands in Richards Bay has ilmenite capacity of 550 thousand metric tons per year and rutile
capacity of 25 thousand metric tons per year. Much of the ilmenite is upgraded in furnaces to slag;
capacity to make slag is 250 thousand metric tons per year. Namakwa Sands operates a mine at Brand-se-
Baai, on the western shore of South Africa. The plant produces 228 thousand metric tons per year of slag
for the chloride or sulfate process and 2530 thousand metric tons of rutile annually.

In Mozambique, Kenmare Resources started production of ilmenite from its Moma mine in 2007. The
company plans to ramp-up production to 800 thousand metric tons of ilmenite per year, plus coproducts.
Kenmare will evaluate further expansion to 1.2 million metric tons of ilmenite per year (plus coproducts),
and then possibly to 2 million metric tons of ilmenite, plus coproducts.

In Madagascar, QIT Madagascar Minerals (QMM), a partnership between the Government of Madagascar
and Rio Tinto, started production of ilmenite in 2009 near Fort Dauphin at the southeast tip of
Madagascar. The ilmenite is shipped to Rio Tinto’s QIT metallurgical complex in Sorel-Tracy, in
Québec, Canada, which had upgraded its facilities to process the product. In 2011, Rio Tinto was
considering plans to boost output of ilmenite ore from its Fort Dauphin operation by 65%.

In the Gambia, Carnegie Minerals produces ilmenite for export to Yingkou Astron Chemicals (YAC) of
China. Production commenced in 2007.

In Sierra Leone, Sierra Rutile Limited (SRL; owned by a consortium of US and European investors)
operates one of the largest natural rutile deposits in the world. The secondary rutile deposit near
Gbangbama, Sierra Leone is considered to be one of the richest in the world, as no other deposit has such
a high proportion of rutile to other heavy minerals. Most other secondary deposits are primarily sand
(such as silica, zircon, and ilmenite), while this deposit is mostly clay. As a result, production costs are
reportedly lower than anywhere else. The deposit was mined between 1968 and 1995, but production
ceased due to civil strife. In 2005, SRL started rehabilitating the facilities, with limited production in
2006. In 2007, production was 83 thousand metric tons of rutile and 16 thousand metric tons of ilmenite.
The company added a second dredge in late 2007, which doubled capacity. In 2010, Sierra Rutile
produced almost 10% of Sierra Leone’s mining revenue. In 2011, the company announced plans to
expand capacity by 50–60 thousand metric tons of rutile and 9–12 thousand metric tons of ilmenite per
year. Production from these projects is expected to commence in 2013 and reach full capacity in 2014.
The capital cost of the projects and associated infrastructure is estimated at approximately $52 million.
DuPont is one of the mine’s major customers.

Companies that have been involved with exploration and development of new source of titanium minerals
in Africa include the following:




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    x   Base Titanium, Diani, Kenya (owned by Base Resources, Australia) acquired titanium mining
        rights in 2010 from Tiomin Kenya, a subsidiary of Vaaldiam Mining of Canada (formerly Tiomin
        Resources). In 2011, the company entered into an agreement to supply DuPont operations in the
        United States.

    x   MRC Resources of South Africa (MRCR), Tormin, South Africa (owned by Mineral
        Commodities of Australia).

The following table presents South African production of rutile and titanium slag:

                     South African Production of Rutile and Titanium Slag
                     (thousands of metric tons)
                                                                                                            a
                                                          Rutile                         Titanium Slag
                     1990                                    94                                         640
                     1995                                        80                                     750
                     2000                                        94                                     935
                     2001                                        90                                   1,000
                     2002                                        94                                     978
                     2003                                    110                                        950
                     2004                                    105                                        865
                     2005                                    105                                        867
                     2006                                    117                                      1,050
                     2007                                    108                                      1,100
                     2008                                    134                                      1,252
                     2009                                    136                                      1,084
                     2010                                    130                                      1,252
                     2011                                    149                                      1,346
                     2012                                    150                                      1,360
                     2013                                    152                                      1,365
                     2014                                    154                                      1,370
                     a. Contains 85% TiO2.
                     Sources:
                     (A) Minerals Yearbook-Titanium, US Department of the Interior, Bureau of Mines (data for
                     1980–03).
                     (B) Mineral Commodity Annual Summaries, US Department of the Interior, US Geological
                     Survey (data for 2004–12).
                     (C) IHS Chemical estimates all other data
                                                                                                  © 2015 IHS



Titanium dioxide

Producing companies

The following table presents African producers of titanium dioxide:




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  African Producers of Titanium Dioxide
                                                 Annual
                                                Capacitya
                                             (thousands of
                             Plant            metric tons)
    Company                 Location        2014         2019 Process                           Trade Name/Remarks
  South Africa
  Huntsman            Umbogintwini           25           25        Sulfate         Feedstock is slag from Richards Bay. In July
  Pigments                                                                          2004, the company idled 15 thousand metric
                                                                                    tons per year of capacity at this site.

  a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance
  schedules, and changing environmental requirements.
  Source: IHS Chemical estimates.
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Salient statistics

The following table summarizes supply/demand for titanium dioxide in Africa. Demand is covered
partially by production but in large by imports mainly from Western Europe and the United States. Total
African consumption of titanium dioxide is forecast to grow at an annual average rate of 3% during 2014–
19.

                                                                                      a
                     African Supply/Demand for Titanium Dioxide
                     (thousands of metric tons, gross weight)
                                       Annual
                                                                                b                   b
                                    Capacity          Production     Imports              Exports       Consumption
                     2001                40                   33               53              11                74
                     2004                   32                 27              52               5                  74
                     2008                   25                 24              58               0                  82
                     2011                   25                 24              95               1                118
                     2014                   25                 22             116               1                137
                     2019                   25                 --              --               --               159
                                                  Average Annual Growth Rate
                                                               (percent)
                     2004–08            -6.0%              -2.9%        2.8%               -50.5%               2.5%
                     2008–11             0.0%              0.0%           17.9%             60.7%             13.0%
                     2011–14             0.0%              -2.9%          6.8%              -5.9%               5.1%
                     2014–19             0.0%                  --            --                 --              3.1%
                    a. Data are rounded. Growth rates are based on unrounded data.
                    b. Includes commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
                    Source: IHS Chemical estimates.
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Consumption in the selected African countries is estimated as follows. The largest consumers are South
Africa and Egypt. Paint/coatings and plastics account for most domestic consumption in South Africa.




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                           African Consumption of Titanium Dioxide—2014
                           (thousands of metric tons)
                           South Africa                                                             52
                           Egypt                                                                    26
                           Nigeria                                                                  11
                           Kenya                                                                     5
                           Tunisia                                                                   4
                           Cote d’Ivoire                                                             3
                           Other                                                                    36
                           Total                                                                  137
                           Source: IHS Chemical estimates.
                                                                                            © 2015 IHS



Price

The average African unit prices based on the import and export value data are shown in the following
table. As in Western Europe and Central Europe, after a dip in prices in 2009, average unit values
increased toward the end of 2009–11, before decreasing in 2012 through to the end of 2014.

                                                                                                    a
                   African Average Unit Trade Values for Titanium Dioxide
                   (dollars per metric ton, gross weight)
                                             Imports                     Exports                    Average
                   2002                        1,626                       1,482                      1,554
                   2003                         1,934                       1,699                        1,817
                   2004                         1,890                       2,221                        2,056
                   2005                         1,993                       3,811                        2,902
                   2006                         1,988                       2,075                        2,032
                   2007                         2,034                       1,709                        1,871
                   2008                         2,243                       2,609                        2,426
                   2009                         2,121                       2,048                        2,084
                   2010                         2,272                       2,735                        2,504
                   2011                         3,527                       3,588                        3,557
                   2012                         3,118                       3,779                        3,448
                   2013                         2,747                       2,725                        2,736
                   2014                         2,576                       2,680                        2,628
                                              Average Annual Growth Rate
                                                             (percent)
                   2004–08                       4.4%                        4.1%                           4.2%
                   2008–11                     16.3%                       11.2%                         13.6%
                   2011–14                     -9.9%                       -9.3%                         -9.6%
                   a. Data are reported under trade code numbers 2823.00, 3206.10, 3206.11, and
                   3206.19.
                   Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                   Information Services, Inc.
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Trade

Imports

Imports have increased at an average rate of about 10% per year since 1997. Germany, the United States,
and the United Kingdom have been the most important sources of African imports of titanium dioxides in
recent years. African imports from Germany and the United States contributed 16% and 14%,
respectively, of total African titanium dioxide imports during 2005–11. Nigeria is the most important
extraregional importer among African countries, and imports TiO2 mainly from Western Europe, but also
from China and the United States.

The following table lists African extraregional imports of titanium dioxides broken down by major
countries of origin:

                                                                                                                   a
        Extraregional African Imports of Titanium Dioxide by Country of Origin
        (thousands of metric tons, gross weight)
                                                                                        United         United
                                                                                                                                         b
                  Belgium          China       France        Germany        India Kingdom              States          Other     Total
        1997           0.0             --          0.0            7.4           --     2.6                4.0            6.1        20.1
        1998              0.0            --          0.0             8.2         --          1.9            3.7         17.2        31.0
        1999              2.9            --          9.8             8.1         --          2.1            6.1         10.8        39.8
        2000              3.5            --        11.2              7.6         --          4.0            9.9          8.4        44.6
        2001              2.3            --        12.5              9.1         --          3.8            7.8         17.1        52.6
        2002              2.1            --        10.9              9.4         --          4.7          15.5          11.0        53.6
        2003              2.2            --        10.7              7.4         --          3.5          12.2          22.5        58.5
        2004              3.4            --        11.3              9.1         --          5.8            9.2         13.4        52.2
        2005              2.6            --        13.7              8.8         --          6.7            4.3         37.4        73.5
        2006              2.6            --        10.9              8.7         --          3.8            9.7         39.7        75.4
        2007              2.4            --          8.8             6.1         --          7.7          12.8          42.5        80.3
        2008              4.0            --          2.4            12.6         --        10.2           11.8          17.4        58.4
        2009              3.6            --          1.5            18.9         --          9.6          12.5          23.8        69.9
        2010            10.0             --          3.1            16.5         --          7.5          12.8          39.0        88.9
        2011              6.1        21.3            3.0            14.8     12.8            5.1          14.5          17.5        95.1
        2012              4.7        23.2            1.4            16.7     19.6            5.3            5.6         19.8        96.4
        2013              2.9        20.2            2.4            16.5     24.8            5.6           9.6          17.9       99.9
        2014              3.0        30.0            1.7            18.7     23.4            7.6          10.2          21.2      115.8
        a. Includes import commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.

        b. Data are rounded to no more than one significant digit; may not add to totals shown. Major African importers
        have been Nigeria, Egypt, South Africa, and Morocco.

        Source: CEH estimates based on data from the Global Trade Atlas, Global Trade Information Services, Inc.
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Exports

Exports have varied significantly from year to year with an overall declining trend. The major drop took
place in 2005 when Huntsman reduced its capacity by almost by 40%. South Africa is the main exporter
in the region; minor quantities of imported material have been re-exported by Tunisia and Mauritius.


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The following table lists the African extraregional exports of titanium dioxide broken down by major
destination countries:

                                                                                                             a
             Extraregional African Exports of Titanium Dioxide by Destination
             (thousands of metric tons, gross weight)
                                                                   United Arab          United
                                                                                                                            b
                        Brazil       France        Pakistan             Emirates        States        Other         Total
             1997         0.0            0.0            0.0                  0.0             7.8        2.7           10.5
             1998           0.0           0.0              0.0                  0.0          7.7          7.3         14.9
             1999           0.0           0.0              0.0                  0.0          5.4          5.8         11.2
             2000           0.0           0.2              0.0                  0.0          7.7          2.1         10.0
             2001           0.0           0.1              0.0                  0.0          8.0          3.3         11.4
             2002           0.0           0.6              0.0                  0.0          9.7          6.2         16.5
             2003           0.0           0.7              0.0                  0.0          9.3          5.4         15.4
             2004           0.0           0.6              0.0                  0.0          3.3          1.3           5.2
             2005           0.1           0.4              0.0                  0.0          0.0          0.4           0.9
             2006           0.0           0.4              0.3                  0.0          0.0          0.4           1.0
             2007           0.0           0.4              0.0                  0.7          0.0          0.3           1.3
             2008           0.0           0.0              0.0                  0.1          0.0          0.2           0.3
             2009           0.5           0.0              0.0                  0.0        10.3           0.2         11.0
             2010           0.2           0.2              0.0                  0.0          0.0          0.5           0.9
             2011           0.1           0.2              0.0                  0.0          0.0          0.9           1.2
             2012           0.2           0.0              0.0                  0.0          0.1          0.3           0.6
             2013           1.4           0.2              0.0                  0.0          0.0          0.5           2.0
             2014           0.4           0.1              0.0                  0.0          0.0          0.6           1.0
             a. Includes export commodity code numbers 2823.00, 3206.10, 3206.11, and 3206.19.
             b. Data are rounded to no more than one significant digit; may not add to totals shown. Most
             exports originate in South Africa.
             Source: IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade Information Services,
             Inc.
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Asia

China

Raw materials

Ilmenite is produced from dredging operations in Sichuan, Yunnan, Guangdong, and Hainan provinces
and the Guangxi Zhuang Autonomous Region. Production in 2013 was about 1,900 thousand metric tons.
Future production is likely to decline due to resource depletion and stricter environmental controls on
mining operations.

Chinese ilmenite contains relatively higher levels of calcium oxide and magnesium oxide. Ilmenite
accounts for about 85% of current feedstock and slag for 15%. However, it is likely that slag will become
more important as China will start to beneficiate feedstock to slag to minimize waste generation at the
TiO2 plants.



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The following table presents Chinese production of ilmenite:

                                  Chinese Production of Ilmenite
                                  (thousands of metric tons)
                                  1985                                                       140
                                  1990                                                       150
                                  1995                                                       160
                                  2000                                                       250
                                  2001                                                       300
                                  2002                                                       750
                                  2003                                                       800
                                  2004                                                       840
                                  2005                                                       900
                                  2006                                                     1,000
                                  2007                                                     1,100
                                  2008                                                     1,100
                                  2009                                                     1,100
                                  2010                                                     1,400
                                  2011                                                     1,700
                                  2012                                                     1,920
                                  2013                                                     1,900
                                  Source: Minerals Yearbook, US Geological Survey.
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Titanium ore imports have risen sharply to satisfy the growing demand in China, and reached a maximum
of about 2.9 million metric tons in 2012. However, titanium ore imports have dropped back to the level of
2010, and were about 2.0 million metric tons in 2014. The following table presents Chinese imports of
titanium ores and concentrates by country of origin in recent years:

                  Chinese Imports of Titanium Ores and Concentratesa
                  (thousands of metric tons)
                              Australia       India      Mozambique            Vietnam       Other       Total
                  2000              24            0               0                  13          3          40
                  2001              44            0               0                  10          5          59
                  2002              23            0               0                  23          1          47
                  2003              96            1               0                 113         40         251
                  2004              77          111               0                 368         37         593
                  2005             138            0               0                 325         38         501
                  2006             239            0               0                 446         23         708
                  2007             433          113               0                 536        141       1,223
                  2008             328           44               2                 547        146       1,067
                  2009             383          246              24                 647        179       1,479
                  2010             405          416             125                 838        256       2,040
                  2011             435          389             148                 789        509       2,270
                  2012               571        493                   119          1,065        660      2,908
                  2013               584        435                   135            587        534      2,275
                  2014               505        315                   280            196        730      2,026
                  a. Data are reported under trade code # 26140000.
                  Source: Global Trade Atlas, Global Trade Information Services, Inc.
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Titanium dioxide

Producing companies

There are more than 70 producers of TiO2 in China. Many of the plants are small and inefficient. The
average plant size is quite small when compared to sulfate-based plants elsewhere in the world, which
average 60 thousand metric tons per year. Only the top 3–5 producers are considered to have the
technical, business, and product quality capabilities that are comparable to Western producers. The
Pangang Group is constructing a 100 thousand metric ton chloride-based plant in Chongqing, scheduled
to start up in 2015. In January 2015, Jiangxi Tianguang Titanium Dioxide Co., Ltd. was cofounded by
Cristal Corporate, the world’s second-largest titanium dioxide producer, and Jiangxi Tianguang Chemical
Co., Ltd. in Fuzhou, Jiangxi Province. A 60 thousand metric ton line has been planned.

Annual capacity for TiO2 in China has been increasing rapidly and increased from over one million metric
tons in 2006 to over 2 million metric tons in 2010, and will reach over 4 million metric tons by year-end
2015. The following table presents the major Chinese producers of titanium dioxide with capacities of 20
thousand metric tons per year or greater:

Major Chinese Producers of Titanium Dioxide
                                                      Annual
                                                     Capacity
                                                  (thousands of
                                      Plant        metric tons)
            Company                 Location        2014    2019 Process                 Remarks
Anhui Goldstar Titanium          Maanshan,            20      20 Sulfate      Expanded from 6 thousand to 20
Dioxide (Group) Co., Ltd.        Anhui                                        thousand metric tons in 2010.
                                                                              Rutile.
Anhui Precheza Titanium          Tongling             20       20 Sulfate     Owned by Prerovske a.s.
Dioxide Technology Co., Ltd.     Anhui                                        (CzechRepublic). Established in
(PT China)                                                                    2006. Anatase.
Astron Ltd.                      Yingkou,             na     400 Chloride     A 400 thousand metric ton line
                                 Liaoning                                     announced to start up in 2010,
                                                                              but still unconstruced.
Cangwu Shunfeng Titanium         Cangwu,              20       20 Sulfate     Expanded from 17 thousand to
Dioxide Co., Ltd.                Guangxi                                      20 thousand metric tons in 2006.
                                                                              Anatase.
Chaozhou Yuedong Chemical        Chaozhou,            20       20 Sulfate
Industry, Co., Ltd.              Guangdong
China Nuclear Huayuan
Titanium Dioxide Co., Ltd.
  Gansu Kuangqu Branch           Lanzhou,             80       80 Sulfate     Started up in 2013. Mostly rutile.
                                 Gansu
Chongqing Xinhua                 Chongqing            40       80 Sulfate     Expanded to 40 thousand metric
Chem. Co., Ltd.                                                               tons in 2012. Announced to
                                                                              expand to 80 thousand in 2015.

Chongqing Yu Gang Titanium       Chongqing            30       30 Sulfate
Dioxide Co., Ltd.
CITIC Jinzhou Metal Co., Ltd.
 Jinzhou Titanium Industry       Jinzhou,             60       60 Chloride    First chloride process; built in
 Co., Ltd.                       Liaoning                                     1993.




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Major Chinese Producers of Titanium Dioxide (continued)
                                                      Annual
                                                     Capacity
                                                  (thousands of
                                      Plant        metric tons)
           Company                  Location        2014    2019    Process               Remarks
CNMC (Guangxi) PGMA
Co., Ltd.
 Titanium Dioxide Plant          Hezhou,              25       25 Sulfate
                                 Guangxi
                                 Zhuang
CNSIC Hunan Zhuzhou              Zhuzhou,             20       20 Sulfate     From Hunan Yongli.
Chemical Industry Group          Hunan
Co., Ltd.
Gansu Dongfang Titanium          Baiyin, Gansu        40     100 Sulfate      100 thousan metric tons planned
Industry Co., Ltd.                                                            in 2017.
Guangdong Shaoguan               Shaoguan,            13       13 Sulfate
Titanium Dioxide Factory         Guangdong
Guangxi Baihe Industry           Pingguo,             20       20 Sulfate
Co., Ltd.                        Guangxi
                                 Zhuang
Guangxi Cava Titanium            Qinzhou,             na      100 Sulfate     A 100 thousand metric ton line
Dioxide Co., Ltd.                Guangxi                                      cofounded by Akzo Nobel and
                                                                              Guangxi Cava Group. Under
                                                                              construction. Rutile.
Guangxi Dahua Chemical           Baise, Guangxi       27       27 Sulfate     Expanded from 12 thousand
Factory                          Zhuang                                       metric tons in 2005. Anatase.

                                 Zhuzhou,             30      100 Chloride    A 100 thousand metric ton line
                                 Hunan                                        under construction.
Guangxi Jinlong Titanium         Nanning,             50       50 Sulfate     Started up in September 2009;
Industry Co., Ltd.               Guangxi                                      rutile; future expansion to 100
                                 Zhuang                                       thousand metric tons.
Guangxi Jinmao Titanium          Tengxian,           100     100 Sulfate      Rutile.
Industry Co., Ltd.               Guangxi
                                 Zhuang
Guangxi Tengxian Fuhua           Tengxian,            30       30 Sulfate     Expanded from 15 thousand
Chemical Co., Ltd.               Guangxi                                      metric tons in 2006.
                                 Zhuang
Guangxi Tengxian Yazhao          Tengxian,            21       21 Sulfate     Expanded to 21 thousand metric
Titanium Dioxide Co., Ltd.       Guangxi                                      tons in 2003. Rutile
                                 Zhuang
Hainan Taixin Mining             Hainan,              50       50 Sulfate
                                 Hainan
Henan Billions Chemicals         Jiaozuo,            130     130 Sulfate
Co., Ltd.                        Henan
                                                      na       60 Chloride    A 60 thousand metric ton line
                                                                              sheduled to start up in first
                                                                              quarter of 2015.
Hengyang Tianyou                 Hengyang,            30       30 Sulfate     Expanded from 15 thousand
Chemical Co., Ltd.               Hunan                                        metric tons in 2006.
Hengyang Xinhua Chemical
Metallurgical Corporation
 Titanium Dioxide Plant          Hengyang,            25       25 Sulfate     Mostly anatase grade; now
                                 Hunan                                        called Hengyang Tianyou.



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Major Chinese Producers of Titanium Dioxide (continued)
                                                      Annual
                                                     Capacity
                                                  (thousands of
                                      Plant        metric tons)
             Company                Location        2014    2019    Process               Remarks
Huai’an Feiyang Titanium
Dioxide Co., Ltd.
  Yumen Jinyang Titanium         Yumen, Gansu         20       20 Sulfate     Anatase.
  Dioxide Co., Ltd.
Hubei Qianjiang Fangyuan         Qianjiang,           60     120 Sulfate      A 60 thousand metric ton
TiO2 Co., Ltd.                   Hubei                                        anatase line started construction
                                                                              in 2011.
Hunan Jintian Fertilizer
Chemical Group Co., Ltd.
 Titanium Dioxide Co., Ltd.      Hengyang,            30       30 Sulfate     Rutile.
                                 Hunan
Huntsman PC                      Ningbo,              na       50 Chloride    Announced to build a 50
                                 Zhejiang                                     thousand metric ton line with
                                                                              ICON Tech, but still
                                                                              unconstructed.
Jiangsu GPRO Group
Co., Ltd.
  Nanjing Titanium               Nanjing,             60     200 Sulfate      Plans to expand to 200 thousan
  Dioxide Chemical               Jiangsu                                      metric tons.
  Co., Ltd.
Jiangsu Taibai Group
Co., Ltd.
  Jiangsu Zhentai Chemical       Zhenjiang,           50       50 Sulfate
  Co., Ltd.                      Jiangsu
Jinan Yuxing Chemical            Jinan,              200      300 Sulfate     Started up in June 2010. Plans
Co., Ltd.                        Shandong                                     to expand to 300 thousand
                                                                              metric tons in 2015. Rutile.

Luohe Xingmao Titanium           Luohe, Henan         60       60 Sulfate     Rutile and antase.
Industry Co.,Ltd.
                                                      60       60 Chloride    Plans to expand to 200 thousand
                                                                              metric tons.
Ningbo Xinfu Titanium            Ningbo,             100      100 Sulfate
Dioxide Co., Ltd.                Zhejiang
Panzhihua Dingxing Titanium      Panzhihua,           30       30 Sulfate     Expanded from 6 thousand to 20
Dioxide Industry Co., Ltd.       Sichuan                                      thousand metric tons in 2006,
                                                                              and further to 30 thousand metric
                                                                              tons in 2008.

Panzhihua Dongfang Titanium      Panzhihua,          100      100 Sulfate     Started up in March 2009;
Industry Co., Ltd.               Sichuan                                      expanded from 60 thousand to
                                                                              100 thousand metric tons in
                                                                              2012.
Panzhihua Iron & Steel
Co., Ltd.
 Chongqing Titanium              Chongqing            36       36 Sulfate
 Industry Co., Ltd. of Pangang
                                                      na      100 Chloride    A 100 thousand metric ton line
                                                                              scheduled to start up in 2015.



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Major Chinese Producers of Titanium Dioxide (continued)
                                                      Annual
                                                     Capacity
                                                  (thousands of
                                      Plant        metric tons)
             Company                Location        2014    2019    Process               Remarks
Panzhihua Iron & Steel
Co., Ltd. (continued)
 Titanium Industry Co., Ltd.     Panzhihua,          100     100 Sulfate      Rutile grade.
                                 Sichuan
Panzhihua Taidu Chemical         Panzhihua,          110     110 Sulfate      Rutile and anatase. Started to
Co., Ltd.                        Sichuan                                      produce in 2008.
Panzhihua Taihai                 Panzhihua,           80       80 Sulfate     Expanded from 40 thousand to
Technology Co., Ltd.             Sichuan                                      80 thousand metric tons in 2013.

Panzhihua Tianlun                Panzhihua,           40       40 Sulfate     Started up in April 2009.
Chemical Co., Ltd.               Sichuan
Panzhihua Zhuoyue                Panzhihua,           50       50 Sulfate     Came onstream in late 2006 with
Titanium Industry Co., Ltd.      Sichuan                                      20 thousand metric tons
                                                                              (anatase); was shifted to rutile
                                                                              products in 2010. A 30 thousand
                                                                              metric ton plant was also started
                                                                              up in 2010.
Quanzhou Sanwei
Chemical Industry Co., Ltd.
 Jiangxi Tianguang               Fuzhou,              70       70 Sulfate     A new 50 thousand metric ton
 Chemical Co., Ltd.              Jiangxi                                      rutile plant started up in April
                                                                              2011. Plans to expanded to 100
                                                                              thousand metric tons.

Shandong Dawn Titanium           Longkou,            100     100 Sulfate      Started up in August 2010.
Industry Co., Ltd.               Shandong                                     Rutile.
Shandong Dongjia Group           Zibo,               160     160 Sulfate
                                 Shandong
 Shandong Jinhong Tioxide        Zibo,                50       50 Sulfate     Came onstream in 2003;
 Chemicals Co., Ltd.             Shandong                                     expanded from 20 thousand
                                                                              metric tons in 2005.
  Shangdong Sansheng             Zibo,                10       10 Sulfate     Started up in 2005.
  Titanium Industry Co., Ltd.    Shandong
Shandong Lubei Titanium          Wudi,                50       50 Sulfate     Came onstream in 2004.
Industry Co., Ltd.               Shandong
Shanghai Pengbo Titanium         Shanghai             20       20 Sulfate     Expanded to 15 thousand metric
Dioxide Co., Ltd.                                                             tons in 2006 and further to 20
                                                                              thousand metric tons in 2009.
                                                                              Anatase.
Sichuan LOMON Titanium           Mianzhu,            300     300 Sulfate      Expanded from 140 thousand to
Industry Co., Ltd.               Sichuan                                      200 thousand metric tons in
                                                                              2011, and to 300 thousand in
                                                                              2013.
Tongling Chemical Industry
Group Co., Ltd.
 Anhui Annada Titanium           Tongling,           110     110 Sulfate      A 80 thousand metric ton rutile
 Industry Co., Ltd.              Anhui                                        line came onstream in 2009.




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Major Chinese Producers of Titanium Dioxide (continued)
                                                       Annual
                                                      Capacity
                                                   (thousands of
                                       Plant        metric tons)
            Company                 Location         2014    2019 Process                  Remarks
Wuxi Haopu Titanium               Wuxi, Jiangsu        60      60 Sulfate      Rutile. Expanded from 40
Industry Co., Ltd.                                                             thousand to 60 thousand metric
                                                                               tons from 2010 to 2013. Plans to
                                                                               expand to 100 thousand.

Wuzhou Goldenway                  Tengxian,           100     100 Sulfate
Enterprises Co., Ltd.             Guangxi
                                  Zhuang
Xichang Ruikang                   Xichang,             60       60 Sulfate     Started up in July 2010.
Titanium Industry Co., Ltd.       Sichuan
Xin'an Wanji Group                Xin'an, Henan       100     100 Chloride     Plans to expand to 200 thousand
                                                                               metric tons.
Yunfu Huiyun Titanium             Yunfu,               50       50 Sulfate     An anatase line came onstream
Dioxide Co., Ltd.                 Guangdong                                    in 2005; expanded from 15
                                                                               thousand to 20 thousand metric
                                                                               tons in August 2010. A 30
                                                                               thousand metric tons rutile line
                                                                               was started up in 2010.

Yunnan Fuming Dahutong            Fumin, Yunnan        30       30 Sulfate     Expanded from 20 thousand to
Titanium Industry Co., Ltd.                                                    30 thousand metric tons in 2006.

Yunnan Fumin Longtan              Fumin, Yunnan        20       20 Sulfate
Titanium Industry Co., Ltd.
Yunnan Fumin Longteng             Fumin, Yunnan        30       30 Sulfate     An anatase line started up in
Titanium Industry Co., Ltd.                                                    October 2010. A 30 thousand
                                                                               metric ton rutile line is planned.

Yunnan Fumin Longyuan             Fumin, Yunnan        50       50 Sulfate
Titanium Industry Co., Ltd.
Yunnan Metallurgical Group        Chuxiong,            60       60 Sulfate
                                  Yunnan
Yunnan Xinli Non-ferrous          Kunming,             60       60 Chloride
Metals Co., Ltd.                  Yunnan
Yunnan Zechang Titanium           Kunming,             50       50 Sulfate     Started up in late 2010.
Industry Co., Ltd.                Yunnan
Zhenjiang Titanium Dioxide        Zhenjiang,           50       50 Sulfate     Mostly rutile grade. Started up in
Co., Ltd.                         Jiangsu                                      late 2010.
                                                       30       30 Chloride
Total                                               3,707    4,887
Source: IHS Chemical estimates.
                                                                                                          © 2015 IHS



A number of producers have been expanding, with Chinese capacity doubling during 200206. Most
plants are based on a design that is replicated throughout the country, so construction is relatively fast
(918 months) and inexpensive (less than $1,500 per metric ton of annual output).




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Smaller, older plants generally do not use sound operating practices or modern equipment. Governmental
authorities temporarily shut several of these plants in 2004 due to breaching environmental licensing
conditions. All new plants must install environmental controls. Smaller and less-competitive producers
may be forced to shut down or be absorbed by others in mergers or acquisitions by foreign and Chinese
manufacturers. Some smaller producers may have already suspended operations due to higher prices for
sulfur and difficulties in obtaining titanium ore feedstock.

In November 2011, the Chinese government announced plans to restrict future supplies of sulfate-based
TiO2, and to force future expansions to use the chloride route to make higher-quality pigment. The
leading Chinese producer, Henan Billions, announced plans to start up a 60 thousand metric ton-per-year
plant based on the chloride process in the first quarter of 2015.

In mid-2011, Akzo Nobel, the largest coatings manufacturer in the world, announced that it was forming
a joint venture with Guangxi CAVA Titanium to build a TiO2 plant in Qinzhou. The plant will have
capacity of 100 thousand metric tons per year, yet it is still under construction by year-end 2014. Akzo
Nobel was motivated to form the partnership due to the steep rise in TiO2 prices in 2011.


Salient statistics

Chinese supply and demand for TiO2 is shown in the following table:

          Chinese Supply/Demand for Titanium Dioxide
          (thousands of metric tons)
                                                    Pigments and           Titanium
                          Annual                    Preparationsa           Oxidesb         Apparent
                         Capacity Production Imports Exports             Imports Exports Consumption
          2000                359        289    143      56                  11        1         386
          2001                488        330    155      56                  15        1         444
          2002                574        405    190      69                  18        1         544
          2003                678        480    231      80                  21        1         652
          2004                750        600    253      95                  22        1         778
          2005                890        710    230     159                  16        1         796
          2006              1,150        860    258     195                  16        1         939
          2007              1,300        994    279     139                  18        1       1,151
          2008              1,588        787    255      76                  13        2         978
          2009              1,792      1,047    248     104                  10        1       1,199
          2010              2,329      1,475    273     266                  11        2       1,490
          2011              2,857      1,812    233     398                    8       2       1,652
          2012               3,327          1,890     166      385            8       3         1,677
          2013               3,707          2,155     198      403           13       2         1,960
          2014               3,707          2,498     220      554           10       2         2,173
          2019               4,887          2,854       --       --           --      --        2,854
                                              Average Annual Growth Rate
                                                       (percent)
          2014–19             5.7%          2.7%        --          --        --      --         5.6%
          a. Reported under code #320611.
          b. Reported under code #282300.
          Source: IHS Chemical estimates.
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Chinese production data is not totally comparable with other country data, as much is of low quality and
is made in small, inefficient plants. Chinese production of rutile-grade pigment has been insufficient to
meet domestic demand, so a considerable amount is imported from Taiwan, the United States, Japan, and
the United Kingdom for paint and coatings. In 2009, production of rutile-grade TiO2 surpassed production
of anatase-grade TiO2; in 2013, rutile accounted for about 66% of production.

The overall quality of Chinese domestic ilmenite feedstock generally remains inferior to most
international products and until the issues of quality and inconsistencies of products are addressed, poor
grades of pigment will continue to be produced at many plants. However, demand for low-quality
pigment will remain high due to the large fragmentation of Chinese consumers with lower demand for
domestic markets such as paints and coatings. With low labor costs, it is often less costly to reapply
cheaper coatings over the life of the asset rather than using longer lasting, higher-quality finishes.
However, higher-quality pigments must be applied to goods that are exported to Western countries.


Consumption

The following table presents Chinese consumption of domestically-produced titanium dioxide:

 Chinese Consumption of Titanium Dioxide
 (thousands of metric tons)
                                                                                                     Welding
                Surface                   Synthetic                           Printing             Electrodes
               Coatings     Plastics         Fibers     Ceramics    Paper        Inks    Rubber   and Enamels   Othera   Total
 2005                471            140          46           24         28        23        25            24      15      796
 2008                586            171          53           22         38        33        41            25       9      978
 2009                691            224          57           34         42        40        41            25      45    1,199
 2010                846            292          70           65         42        45        45            26      60    1,490
 2011                973            298          83           68         47        47        47            27      63    1,652
 2012                971            301          92           69         50        52        52            27      63    1,677
 2013              1,142            366         102           82         53        56        56            28      75    1,960
 2014              1,290            403         112           83         56        60        60            29      80    2,173
 2019              1,686            539         146          109         71        81        78            31     112    2,854

                                                      Average Annual Growth Rate
                                                               (percent)
 2014–19            5.5%           6.0%        5.5%         5.6%     5.0%        6.2%      5.5%         1.5%     6.9%    5.6%
 a. Includes use in cosmetics, pharmaceuticals, and miscellaneous pigment uses.
 Source: IHS Chemical estimates.
                                                                                                                     © 2015 IHS



Chinese consumption of TiO2 doubled during 200207 and reached nearly1.5 million metric tons in 2010
because of increased output of paint/coatings, plastics, fibers, rubbers, and inks. In 2014, consumption
was 2.17 million metric tons.

Future growth is expected to be 5.6% per year during 201419. Growth in demand for higher-grade rutile
TiO2 should be even greater. Current consumption of TiO2 is around 1.6 kilogram per capita and is
expected to increase to 2.1 kilograms per capita during 201419.



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Surface coatings

The requirement for TiO2 pigments in the surface coatings industry has been and will continue to be the
major driving growth force for TiO2 in China. This end use accounted for about 59.4% of total
consumption in 2014. Because of the rapid growth in high-grade coating production in recent years,
consumption of TiO2 in this end use grew 13.3% per year between 2009 and 2014. Growth will be about
5.5% per year during 201419.

Plastics

Titanium dioxide is used in plastics to provide opacity and whiteness, as well as thermal stability and
resistance to ultraviolet degradation. TiO2 pigments can be used in most thermoplastics, but find their
primary use in polyolefins, polystyrene, PVC, and ABS. The rapid growth of plastics production has
made this end use the second-largest market for TiO2 in China, and plastics will continue to be one of the
fastest-growing markets for the next five years. Between 2014 and 2019, TiO2 consumption for plastics is
expected to increase at 6.0% per year.

Synthetic fiber

Titanium dioxide is used mainly as a dulling agent in the production of synthetic fibers, such as polyester,
nylon, acrylic, and rayon. The Chinese synthetic fiber industry has developed rapidly, with total
production increasing at an average annual rate of about 10.1% during 200914. Driven by the continued
rapid development of China’s textile industry, TiO2 consumption in synthetic fiber production is expected
to grow at an average annual rate of 5.5% during 201419.

Other

Titanium dioxide pigments are used in a variety of other end-use markets, including ceramics, printing
inks, rubber, paper, arc-welding electrodes, and enamels. Together, these markets accounted for about
16.9% of total TiO2 consumption in 2014. Of these markets, paper, printing inks. And rubber will show
the strongest growth over the next five years. TiO2 consumption in ceramics and welding electrodes and
enamels will increase slowly in the next five years.

As living standards continue to improve, there will be increased demand for high-quality pigments in the
coating, construction, packaging, paper, and printing industries. During 201419, TiO2 consumption is
expected to grow at about 5.6% per year, reaching an estimated 2,854 thousand metric tons in 2019.


Price

On the back of high feedstock and energy costs, titanium dioxide markets in Asia were on an upward
trend during 200708, and demand for titanium dioxide in other Asian coatings markets was strong.
Because titanium dioxide prices were higher on the international market, many Chinese producers
exported their product, resulting in a tight domestic supply for coatings, despite increased production.
During this time, the level of imports remained fairly constant. Prior to 2007, the Chinese government
gave an export tax rebate of 13% on titanium dioxide exports. Unit export values are shown in the
following table:




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                   Chinese Average Unit Trade Values for Titanium Dioxidea
                   (dollars per metric ton, gross weight)
                                         Imports                         Exports         Average
                   2000                      1,859                         1,061           1,460
                   2001                      1,845                           1,065          1,455
                   2002                      1,663                           1,003          1,333
                   2003                      1,726                           1,004          1,365
                   2004                      1,742                           1,130          1,436
                   2005                      1,849                           1,327          1,588
                   2006                      1,933                           1,409          1,671
                   2007                      1,983                           1,566          1,774
                   2008                      2,137                           1,798          1,967
                   2009                      2,218                           1,672          1,945
                   2010                      2,417                           1,948          2,182
                   2011                      3,101                           2,899          3,000
                   2012                      3,376                           2,946          3,161
                   2013                      2,789                           2,347          2,568
                   2014                      2,793                           2,058          2,425
                   a. Reported under code #320611.
                   Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                         © 2015 IHS



The Chinese government has since begun to end export tax rebates. Many producers that once exported
most of their product must now sell their product on the domestic market. However, due to overcapacity
and weak downstream demand, domestic prices for titanium dioxide have declined.

The following table shows average domestic market prices for anatase and rutile TiO2:




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         Chinese Domestic Prices for Titanium Dioxidea
                                       Anataseb                                        Rutileb
                        Renminbi per         U.S. Dollars per           Renminbi per         U.S. Dollars per
                           Metric Ton              Metric Ton              Metric Ton            Metric Ton
         1995            9,500-12,100              1,140-1,450          19,000-20,000            2,275-2,395
         2000           10,000-11,500              1,210-1,390          17,700-23,000            2,140-2,780
         2001           10,000-11,900              1,210-1,440          17,807-18,300            2,150-2,210
         2002           10,100-10,900              1,220-1,315          16,800-19,000            2,030-2,295
         2003           10,000-10,500              1,210-1,270          17,620-18,665            2,130-2,255
         2004           10,200-11,800              1,230-1,425          18,045-19,535            2,180-2,360
                c                  9,671                 1,180                  18,800                 2,295
         2005
         2006                    10,083                  1,265                  19,570                 2,455
         2007                    11,232                  1,410                  17,680                 2,325
         2008                    11,220                  1,475                  18,125                 2,610
         2009                    10,043                  1,445                  18,545                 2,715
         2010                    10,570                  1,545                  18,550                 2,740
         2011                    20,547                  3,035                  20,020                 3,100
         2012                    18,796                  2,910                  21,350                 3,380
         2013                    16,153                  2,608                  21,611                 3,489
         2014                    13,685                  2,226                  19,896                 3,236
         a. Domestic prices since 2005 are the average market price.
         b. Prices are for type BA01-01 anatase products and R930 rutile products.
         c. Based on data from June to December.
         Source: IHS Chemical estimates.
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Trade

The following table presents Chinese imports of titanium dioxide by country of origin:




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          Chinese Imports of Titanium Dioxide by Country of Origina
          (thousands of metric tons)
                                                                                          United
                     Australia        Japan        Malaysia         Mexico       Taiwan   States   Other      Total
          2000              30.1        26.1                4.4            0.0     39.5     13.3    29.7      143.1
          2001              34.5        24.9                5.9            0.0     39.8     17.3    32.9      155.3
          2002              48.2        28.9                7.0            0.0     43.1     17.1    46.1      190.3
          2003              55.2        32.2                6.7            0.1     58.7     17.3    60.7      230.9
          2004              66.0        33.3                6.3            1.0     58.8     19.6    68.0      253.1
          2005              56.5        29.4                8.0            2.3     62.0     22.3    49.1      229.6
          2006              64.0        31.3                8.8            4.6     71.3     34.4    44.0      258.3
          2007              57.5        35.5                9.5            7.0     80.2     40.0    49.1      278.8
          2008              50.9        31.0                7.1           11.1     65.3     49.2    40.5      255.2
          2009              64.1        22.6                9.5           11.0     68.0     37.7    34.6      247.5
          2010              57.4        27.3               13.4           17.1     76.0     44.7    36.5      272.5
          2011              54.5        21.9               12.1           18.7     58.2     36.9    30.8      233.0
          2012              31.9        14.1                9.4           15.9     48.9     24.4    21.9      166.5
          2013              39.6        13.1               10.0           15.6     49.5     47.5    22.2      197.6
          2014              42.1        13.7                8.7           15.9     60.7     56.5    22.3      219.8
          a. Reported under code #320611.
          Source: Global Trade Atlas, Global Trade Information Services, Inc.
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Chinese imports have risen significantly since 2000 due to greater demand for higher-grade titanium
dioxide. Most imports are shipped in bulk and bagged in China for delivery to the smaller-scale
producers. With larger TiO2 plants, the bagging stage will be eliminated, thus reducing costs.

The following table presents Chinese exports of titanium dioxide by country of destination:




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             Chinese Exports of Titanium Dioxide by Country of Destinationa
             (thousands of metric tons)
                                                                   South                  United
                        Brazil       India      Indonesia          Korea       Turkey     States   Other      Total
             2000           0.2        5.3                0.5          3.7          0.6     10.4    35.1        55.8
             2001           0.4        7.3                0.5          5.5          0.1     10.0    32.0        55.9
             2002           0.3        8.3                1.0          9.0          0.3     12.6    37.1        68.7
             2003           1.6        4.8                1.8          8.1          0.9     17.5    45.1        79.8
             2004           2.3        4.1                2.3        10.0           3.7     19.6    53.4        95.4
             2005           5.2         8.6               2.3        11.4          10.0     48.1    73.1      158.7
             2006         11.8         6.6                3.8        15.5          13.5     44.0    99.6      194.8
             2007           9.9        3.4                3.1        12.8          10.1     24.4    75.2      138.9
             2008           6.3        3.7                3.4          5.2          4.8     12.8    39.7        75.8
             2009           9.6        2.9                5.8        18.6           2.8      9.6    54.4      103.7
             2010         22.7        12.4              12.5         26.8          16.6     24.7   150.8      266.5
             2011         22.0        21.1              20.3         29.9          36.0     29.3   239.6      398.3
             2012         37.8        24.4              22.6         28.6          17.9     38.9   214.9      385.2
             2013         48.9        29.8              22.1         30.4          13.1     45.1   213.9      403.3
             2014         53.7        50.3              27.8         37.9          22.4     51.4   310.2      553.6
             a. Reported under code #320611.
             Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                           © 2015 IHS



Generally, Chinese producers make low-quality pigment that is consumed largely in its domestic markets.
Exports are mainly limited to other developing nations. This situation may change in the near future due
to the steep rise in TiO2 prices in areas outside of China, which has prompted large consumers to evaluate
switching to sulfate-grade product. As an example, PPG, the large producer of architectural coatings, has
started qualifying Chinese producers as suppliers, and now over 10% of its global TiO2 purchases are
sulfate grade. It is believed, however, that most of the use is in developing regions and not in North
America or Western Europe. Other large multinational users of TiO2 have taken similar actions.


Japan

Raw materials

Japan imports all of its raw material for TiO2 production. The following table presents Japanese imports
of ilmenite:

The following table presents Japanese imports of ilmenite and titanium ore:




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                                                       a
           Japanese Imports of Ilmenite
           (thousands of metric tons)
                     Australia Canada India Malaysia South Korea                       Vietnam Other       Total
           1995         171.8      na   5.9     97.4         0.0                           35.7 50.9       361.7
           2000           127.1          47.0     12.1           22.6            0.0     108.8   18.8      336.4
           2001           103.0          49.0     22.6           17.1            0.0     136.9   44.4      373.0
           2002           100.4            0.0    10.8           27.3            0.0     116.5   35.4      290.4
           2003             69.8         57.1     22.7           12.7            0.0     151.4   55.4      369.1
           2004             84.8         53.5     32.5            9.6            0.0     152.4   27.6      360.4
           2005             82.4         44.4     23.0           22.3            0.0     156.4   54.4      382.9
           2006             44.4           0.0    21.0            0.0            0.0     148.0   27.5      240.9
           2007           104.2            0.0    36.0           18.4            0.0     105.6   11.1      275.3
           2008             83.1         24.8     25.4            0.0            0.0     145.6   10.5      289.4
           2009             38.8           0.0    34.1            0.0            0.0      39.9   40.2      153.0
           2010             55.8           0.0    66.8            0.0            0.0      43.6   19.6      185.8
           2011             54.3           0.0    76.2            0.0            3.7       0.0    3.8      138.0
           2012             15.6           0.0    88.6            0.0            4.3      14.1   18.1      140.8
           2013             38.0           0.0    87.3            0.0            5.0       0.0   29.8      160.0
           2014             20.7           0.0    80.0            0.0            3.3       0.0   42.2      146.2
           a. Data reported under trade code # 261400-010. Includes upgraded ilmenite.
           Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                        © 2015 IHS



Japanese imports of ilmenite peaked at 382 thousand metric tons in 2005; mainly from Vietnam,
Australia, and Malaysia. Ilmenite imports from Vietnam were about half of total imports until then. Since
the Vietnamese government announced that it will ban the exportation of unprocessed titanium ore in
2012, Japanese imports from Vietnam have been stopped, and India has been the main country of imports
since then.




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                                                                           a
              Japanese Imports of Other Titanium Ore
              (thousands of metric tons)
                            Australia          Canada           India          South Africa   Other      Total
              1995              48.3               na            13.6                  13.2     0.9       76.0
              1996                41.8                na           9.9                 35.1    12.2        99.0
              1997                40.5                0.0        12.1                  13.8     0.5        67.0
              1998                62.7                0.3        10.5                  16.8     6.8        97.1
              1999                60.6                0.0          8.5                 26.6     0.5        96.2
              2000                54.3                1.0        11.6                  13.3     0.2        80.4
              2001                55.7              23.0         23.0                   7.7     3.4      112.8
              2002                51.7                9.9        23.6                   9.1     0.2        94.5
              2003                50.9                4.6        24.7                   7.8     0.1        88.1
              2004                51.0                4.6        27.6                   6.6     0.1        90.0
              2005                65.8                9.3        43.0                   8.1     0.7      126.9
              2006                40.7              15.7         40.0                   7.8     0.4      104.6
              2007                60.0              19.2         42.0                   9.7    10.8      141.7
              2008                59.9              11.9         42.3                   8.9     2.7      125.7
              2009                19.7              24.4         32.0                   7.3     6.7        90.2
              2010                36.7              19.5         41.0                  35.2     7.0      139.4
              2011                50.9              18.7         45.0                  61.4    11.7      187.7
              2012                38.1              37.7         54.3                  74.8    76.3      281.1
              2013                21.7              32.0         37.1                  43.6    34.0      168.5
              2014                24.2              24.0         39.4                  97.0    32.2      216.8
              a. Data reported under trade code # 261400 (equals the sum of trade code numbers 261400010
              and 261400090). Includes rutile, synthetic rutile, leucoxene and slag.
              Source: Global Trade Atlas, Global Trade Information Services, Inc.
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Ishihara Sangyo at its Yokkaichi plant started producing synthetic rutile in 1971, but it this ceased in
1994. In the early 1990s, imports of ilmenite were around 444 thousand metric tons, with most coming
from Australia, Malaysia, and India. Titanium ore contains naturally occurring radioactive materials, and
residue from the producing process was detected with a relatively high level of radioactivity (uranium and
thorium). Now, Naturally Occurring Radioactive Materials (NORM) are under self-regulation by
Japanese producers of titanium and titanium dioxide in Japan.

As a result of self-regulation of NORM, total imports of ilmenite have decreased from 80% of total
imports in 2004 to 50% in 2013. Imports from Malaysia declined dramatically and Japanese producers
began importing Vietnamese ilmenite, which was plentiful, with low radioactivity levels and available at
a low price. Imports of ilmenite from Vietnam were over 100 thousand metric tons, making it the largest
importing country during 200008. In recent years, imports of ilmenite from India are the largest, while
imports from Vietnam have declined because of that country’s ban on exports. Imports from Australia
have also dropped because of the higher price. Some imported ilmenite is used for production of welding
bar materials, titanium metal, and black titanium oxide.




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In addition, titanium slag is imported from South Africa and Canada, while upgraded ilmenite is imported
from India. The imported products from Australia include various grades of titanium ore, such as rutile
and synthetic rutile.


Titanium dioxide

Producing companies

The following table presents Japanese producers of titanium dioxide:

Japanese Producers of Titanium Dioxide
                                             Average
                                              Annual
                                             Capacity      Raw       Product
                                          (thousands of   Material     and
                                  Plant    metric tons)    and        Trade
      Company                Location     2014     2019    Process    Names                   Remarks
Fuji Titanium               Kobe,          13     13       Sulfate   Fujititan® Feedstock is imported ilmenite.
Industry Co., Ltd.          Hyogo                                               Uses Fuji Titanium technology. The
                                                                                company became a 100%
                                                                                subsidiary of Ishihara Sangyo
                                                                                Kaisha, Ltd. in March 2005.

Ishihara Sangyo             Yokkaichi,    86      86       Sulfate   Tipaque® Feedstock is ilmenite and slag.
Kaisha, Ltd.                Mie                                               Sulfate process uses Glidden-
                                                                              Durkee (Hanson PLC) technology.

                            Yokkaichi,    68      68      Chloride   Tipaque® Feedstock is synthetic rutile. Plant
                            Mie                                               uses Kerr-McGee technology.

Sakai Chemical              Iwaki,        50      50       Sulfate    Titone®   Feedstock is ilmenite and slag.
Industry Co., Ltd.          Fukushima                                           Upon taking over Tohkem’s
                                                                                business, plant was expanded by
                                                                                17 thousand metric tons per year in
                                                                                2002.
Tayca Corporation           Saidaiji,     60      60       Sulfate              Feedstock is ilmenite and slag. In
                            Okayama                                             early 2008, company started
                                                                                adding capacity to produce
                                                                                microparticles of TiO2 and ZnO.
                                                                                Capacity for the new unit is 1.2
                                                                                thousand metric tons per year,
                                                                                which raised microparticle capacity
                                                                                to 2.6 thousand metric tons per
                                                                                year.
Titan Kogyo K.K           Ube,            16      16      Chloride   Suntiox or Feedstock is ilmenite. Titan Kogyo
                          Yamaguchi                                  Kronos®. has been able to use the trade
                                                                                name Kronos® since 1936.

Total                                     293    293
Source: IHS Chemical estimates.
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Ishihara Sangyo Kaisha is the main TiO2 producer in Japan, with two production lines, one for the sulfate
process and another for the chloride process. Ishihara is increasing use of the chloride process while
decreasing use of the sulfate process. Between 2008 and 2012, Japanese capacity for sulfate-process
titanium dioxide fell from 237 thousand to 219 thousand metric tons, while total capacity for the chloride
process increased from 68 thousand to 84 thousand metric tons.

Historical developments in the Japanese titanium dioxide industry have been:

    x    In 2002, Sakai Chemical expanded its plant in Iwaki from 43 thousand to 60 thousand metric tons
         per year.

    x    In 2003, Furukawa shut down anatase production in 2003 in Osaka. In 2000, the company had
         switched from production of rutile to anatase pigment. Capacity was 13 thousand metric tons per
         year.

    x    In March 2005, Fuji Titanium Industry became a 100% subsidiary of Ishihara Sangyo Kaisha.

    x    In 2009, Tayca finished building a new plant for ultrafine particle titanium dioxide, with an
         annual capacity of 1.2 thousand metric tons at its Okayama plant. Tayca’s total production
         capacity for ultrafine particle titanium oxide is now 2.6 thousand metric tons.

The average titanium dioxide operating rate in Japan has been about 60% in recent years, and the market
outlook is not favorable, with little growth expected except for ultrafine particle TiO2.

There are also small-scale specialty-grade titanium dioxide producers. Toho Titanium produces
electronic- and pharmaceutical-grade titanium dioxide. Ishihara Sangyo and Tayca are major producers of
ultrafine particle titanium dioxide, while Sakai Chemical and Titan Kogyo are also producers. Showa
Titanium, Nippon Aerosil, and CI Kasei are also supplying ultrafine titanium dioxide.

Sumitomo Chemical built a plant to manufacture titanium dioxide photocatalysts at Ehime, Japan, with a
production capacity of 5 metric tons per year in 2003, which was expanded to 15 metric tons per year in
2005. Most commercially available TiO2 photocatalysts react to the ultraviolet rays in sunlight and are
used for outdoor applications, but Sumitomo’s version exhibits the ability to decompose dirt and kill
bacteria under indoor lighting, such as the light from a fluorescent lamp. The photocatalyst samples are
used by makers of coating materials and sanitary fixtures.


Salient statistics

The following table presents Japanese production, year-end stocks and shipments of titanium dioxide:




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              Japanese Production, Shipments, and Stocks of Titanium Dioxide
              (thousands of metric tons, gross weight)
                                             Production                                       Stocks
                                                                          a
                               Anatase             Rutile         Total       Shipments    (year-end)
              1980                45.0             129.9           174.9           174.2          9.5
              1985                   52.0           165.7          217.7           217.5         10.2
              1990                   62.5           217.3          279.8           276.8         19.4
              1995                   58.8           190.5          249.3           239.3         29.6
              2000                   59.5           210.7          270.3           263.8         28.7
              2001                   54.6           202.4          257.0           246.9         39.2
              2002                   46.5           194.0          240.5           250.8         29.2
              2003                   50.0           203.5          253.5           255.6         27.5
              2004                   47.6           205.8          253.4           254.5         26.6
              2005                   44.4           214.6          259.0           251.5         34.5
              2006                   39.0           201.0          239.9           248.0         28.1
              2007                   39.1           206.9          246.0           247.0         29.1
              2008                   39.5           185.7          225.2           220.1         35.5
              2009                   28.9           133.0          161.9           168.7         30.1
              2010                   38.1           169.5          207.6           201.7         37.2
              2011                   37.3           177.2          214.4           205.4         47.6
              2012                   31.1           154.3          185.4           179.6         56.5
              2013                   26.0           147.9          173.9           186.1         47.2
                     b
              2014                   28.7           147.9          176.6           183.5         49.1
              a. Totals may not equal the sums of the categories because of rounding.
              b. Data for 2014 are estimated based on January to October 2014 data.
              Source: Ministry of Economy, Trade and Industry.
                                                                                            © 2015 IHS



TiO2 production in Japan peaked in 1990 and has since remained in the 240270 thousand metric ton-per-
year range except during the recent decrease due to the global economic recession during 200809. In the
1960s, 50% of the pigment was anatase and 50% was rutile. However, in recent years, because of a
preference for rutile, the split has been less than 20% anatase and more than 80% rutile. Production of
TiO2 in Japan is affected by the main application, such as white pigments and the paper industry. In
addition to the price increase of raw material for titanium dioxide, such as imported titanium ore and
domestically produced sulfuric acid, decreased revenue for titanium dioxide producers has caused lower
titanium oxide imports from China and South Korea.

The following table presents Japanese supply/demand for titanium dioxide:




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                Japanese Supply/Demand for Titanium Dioxide
                (thousands of metric tons, gross weight)
                                Production                 Imports             Exports                  Consumption
                1994                 238.0                    82.0                80.5                        239.5
                1995                    249.3                   86.7                  77.7                     258.3
                2000                    270.3                   72.7                  89.1                     253.9
                2001                    257.0                   68.6                  79.1                     246.5
                2002                    240.5                   61.0                  99.2                     202.3
                2003                    253.5                   64.2                 100.0                     217.7
                2004                    253.4                   71.5                 103.7                     221.2
                2005                    259.0                   65.9                  96.8                     228.1
                2006                    239.9                   68.5                  97.0                     211.4
                2007                    246.0                   71.2                 102.5                     214.7
                2008                    225.2                   70.7                  84.3                     211.7
                2009                    161.9                   65.3                  66.5                     160.7
                2010                    207.6                   82.8                  91.5                     198.9
                2011                    214.4                   77.4                  85.5                     206.3
                2012                    185.4                   68.6                  62.2                     191.8
                2013                    173.9                   74.4                  70.9                     177.4
                2014                    177.0                   92.8                 103.0                     166.8
                Sources:
                (A) Ministry of Economy, Trade and Industry (data for Production).
                (B) Japan Exports & Imports, Japan Tariff Association (data for Imports and Exports).

                (C) IHS Chemical estimates (data for consumption).
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Japanese consumption averaged 250 thousand metric tons in 1995-2001 and about 215 thousand metric
tons in 200208, but dropped to 161 thousand metric tons in 2009. After 2008, domestic apparent
consumption of titanium dioxide in Japan has fluctuated due to inventory adjustment. Production was
larger than consumption by 2011. This is due to the economic downturn in 2011 that affected titanium
dioxide prices and reduced total demand for domestically produced TiO2.

Apparent consumption of domestic TiO2 has decreased to 177 thousand metric tons in 2013 and 167
thousand metric tons in 2014 due to inventory stock; actual consumption is around 180–190 thousand
metric tons.


Consumption

The following table presents Japanese consumption of domestically produced titanium dioxide, excluding
imports of titanium dioxide:




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                                                                                a
       Japanese Consumption of Domestic Titanium Dioxide
       (thousands of metric tons, gross weight)
                                      Inks and                             Textile
                                                 b                                                                       c
                  Paints        Masterbatch           Plastics     Paper   Fibers    Elastomers       Other      Total
       1975         57.0                    15.2           6.7      10.2      5.5           3.6         8.9       107.1
       1980          73.5                   18.3            10.3    10.5      5.1              3.4       9.2      130.3
       1985          83.7                   25.7            14.2    10.9      5.1              3.8      15.0      158.4
       1990        109.2                    38.9            20.7    19.3      4.8              3.6      21.8      218.2
       1995          75.8                   36.4            19.7    15.5      4.6              2.9      19.9      174.8
       2000          81.4                   36.5            20.0    19.1      3.4              2.4      20.4      183.1
       2001          77.6                   35.4            18.4    18.2      3.1              2.1      19.2      174.0
       2002          78.4                   35.7            18.5    18.4      3.1              2.1      19.4      175.7
       2003          74.1                   35.5            17.9    17.3      2.5              2.6      19.4      169.5
       2004          74.4                   36.2            18.1    14.8      2.5              2.5      18.8      167.3
       2005          76.6                   36.7            18.3    14.5      2.3              2.2      17.8      168.3
       2006          76.1                   36.5            18.6    11.6      2.6              2.0      17.1      164.5
       2007          74.1                   35.4            18.0    10.4      3.1              2.0      17.9      160.7
       2008          69.1                   34.2            16.1     9.8      3.0              1.7      15.7      149.8
       2009          49.8                   30.0            11.2     5.1      2.0              1.5      10.6      110.2
       2010          50.6                   35.4            13.0     4.8      3.1              1.8      11.7      120.4
       2011          51.4                   42.4            12.1     5.5      2.6              1.7      11.6      127.2
       2012          66.0                   54.4            16.5     6.6      3.3              1.6      16.5      164.9
       2013          66.0                   53.9            16.5     6.7      3.3              1.6      21.9      169.8
       2014          65.9                   53.1            16.4     5.8      3.3              1.6       8.5      154.5
       a. For 1975–96, data are for the fiscal year beginning on April 1 of the year indicated, and for the calendar year
       for 1997–2011.
       b. Printing ink producers engage in other activities, such as preparing color concentrates and masterbatches for
       the plastics industry and manufacturing specialty paints such as automotive finishes and can coatings. Industry
       sources indicate that no more than 50% of the amount in this category has actually been consumed in printing
       inks in recent years.
       c. Totals may not equal the sums of the categories because of rounding.
       Source: Japan Titanium Oxide Industry Association.
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Domestic TiO2 is mainly use for paints (about 40–42% of total domestic TiO2 consumption), followed by
inks and masterbatches and plastics. Applications for paper have decreased from more than 10% in 2004
to around 3.7% in 2014, due to increased imported TiO2.

The following table presents Japanese consumption of total titanium dioxide, including imported titanium
dioxide:




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                                                                   a
          Japanese Consumption of Titanium Dioxide
          (thousands of metric tons, gross weight)
                               Printing                           Textile
                                                                                                             b
                    Paints         Inks     Plastics   Paper      Fibers      Elastomers   Other     Total
          2000        133            32           36      19           4               4      25        254
          2001         130            32         35         18          5             3      23         247
          2002         103            23         30         18          4             3      21         202
          2003         111            27         31         18          4             4      22         217
          2004         114            28         32         18          4             4      22         221
          2005         119            29         33         19          3             3      21         228
          2006         109            26         32         19          3             3      19         211
          2007         110            27         32         19          4             3      20         215
          2008         109            28         30         19          4             3      19         212
          2009           82           23         23         14          3             2      13         161
          2010           99           26         29         16          5             3      21         199
          2011           98           25         34         15          4             3      27         206
          2012           92           31         32         12          4             2      18         192
          2013           81           27         30         12          3             2      22         177
          2014           83           28         30         11          4             2       9         167
          a. Total of domestically produced and imported.
          b. Totals may not equal the sums of the categories because of rounding.
          Source: IHS Chemical estimates.
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The main application for titanium dioxide was paint (83 thousand metric tons, accounting for 50% of total
consumption), followed by plastic (18%), printing inks (17%), and papers. This consumption pattern has
been the same since 2000.

However, the percentage of imported TiO2 to total Japanese TiO2 consumption has increased from 30% in
the early 2000s to 56% in 2014. In the early 2000s, the main application for imported titanium dioxide
was for printing inks (accounting for about 44% of total imported titanium dioxide), followed by
elastomers, paints, and plastics. Applications for paper have increased since 2006, and this has been the
largest application for imported titanium dioxide (accounting for 48% in 2014), followed by paints (5%)
and printing inks (5%). Considering the cost of production, TiO2 applications for the paper industry in
Japan have shifted to white kaolin clay and powered calcium carbonate instead of using titanium dioxide.
But this will reduce the strength of the paper and increase its weight.

Growth in the consumption of commodity-grade titanium dioxide was in line with the Japanese GDP
growth rate, with little difference among each segment. However, demand for titanium dioxide in Japan is
expected to stay at the same level for the coming five years.

On the other hand, appreciable specialty applications are small in volume, but growing rapidly in Japan,
including the photocatalytic grade of TiO2 based on anatase pigment; this grade has a relatively small
particle size in order to maximize surface area, which maximizes photocatalytic activity and promotes
rapid oxidation when exposed to UV light. When used in exterior tiles, glasses, and ceramics, the pigment
exhibits a self-cleaning effect through the decomposition of NOx and SOx compounds from polluted
environments. There also is interest in developing a grade of TiO2 that can destroy adsorbed organic


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pollutants when exposed to ambient indoor lighting or diffused daylight. One solution is to dope the TiO2
with carbon atoms to produce a catalyst that is activated by exposure to visible light. Patent EP1887055
describes the doping of TiO2 for use in a coating that inhibits growth of algae and mushrooms. Another
application is the use of doped TiO2 in interior wall coatings that would be able to destroy formaldehyde,
solvents, plasticizers, carbon monoxide, and other organic contaminants.

The producers of ultrafine titanium dioxide powders—Tayca, Ishihara Sangyo, Sakai Chemical, and Titan
Kogyo—all offer powders based on both anatase and rutile grades.

TOTO, a manufacturer of ceramic sanitary equipment and plumbing hardware, is a leader in developing
applications using nanoscale TiO2 for its photocatalytic properties. Companies have filed more than 1,300
domestic and overseas patent applications in relation to applied products, manufacturing technology and
coating materials, and have been granted approximately 350 worldwide patents. TOTO has also signed
license agreements with 100 manufacturers (including 19 overseas manufacturers). The following are the
applications and the licensees:

    x   Building exterior and interior walls to provide self-cleaning, durability, and aesthetics. Applied
        for steel plates, tiles, stone material, painting, and film.

    x   Interior tiles to provide antibacterial properties, especially desirable in hospitals, pools, and public
        restrooms

    x   Hydrophilicity provides cleaning ease and self-cleaning by rainfall that can be used for tunnel
        lighting, tunnel walls, and road mirrors.

    x   Hydrophilicity of a material can prevent dewdrops forming on side-view mirrors, rearview
        mirrors, and motorcycle windshields.

    x   Exterior glass for self-cleaning properties (PPG, Nippon Sheet Glass, and Asahi Glass are TOTO
        licensees)
             -   Roofing materials to block UV rays and provide self-cleaning
             -   Domes to provide self-cleaning in order to maintain brightness

    x   Exterior of tall structures to provide self-cleaning by rainfall
             -   Automotive exterior mirrors, providing sheening during rainfall
             -   Soundproof walls
             -   Traffic delineators

Other applications include greenhouse surfaces, tents for camping, and toothbrushes. In addition, there is
a photocatalytic spray that will keep cars dirt-free for one year.

Some companies applying the coatings are Dainippon Toryo, Tohpe, and Japan Hydrotect Coatings (a
joint venture between TOTO and Okitsumo Incorporated). Daikin Industries, Sharp, and Mitsubishi Paper
Mills have promoted the use in interior applications, such as air conditioners, air cleaners, or water
treatment filters, which absorb and decompose substances resulting from exposure to tobacco tar, odor,
and bacteria. Toshiba Lighting and Technology and Hitachi have commercialized self-cleaning lighting
fixtures.


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Photocatalytic-grade titanium dioxide is dominated by Japanese producers, with a worldwide market size
of about 630 metric tons in 2014 and a sales value of around $900 million. This market is expected to
continue growing.

Another growing application is ultrafine (0.02–0.04 micrometer) particle size rutile TiO2 that is one-tenth
the size of pigment grade. The ultrafine TiO2 is relatively transparent and its UV light barrier properties
enable use as a sunscreen in cosmetics. In automobile topcoat applications, the ultrafine TiO2 imparts an
appearance that changes when viewed at different angles (i.e., a flip-flop appearance). Other applications
of ultrafine TiO2 include use in toner additives, silicone rubber flame retardants, catalyst carriers, and
magnetic tape binder additives. Major producers of ultrafine particle TiO2 include Ishihara Sangyo and
Tayca, which supply products in domestic and overseas markets. Worldwide consumption of ultrafine
TiO2 was about 2.5 thousand metric tons in 2011, while Japanese consumption of ultrafine TiO2 was
estimated at about one thousand metric tons in recent years.

Another possible commercial application would be use of photocatalytic TiO2 to coat offset printing
presensitized plates, which would be reuseable and able to create high-quality images. Researchers at the
Kanagawa Academy of Science and Technology (KAST) and Tokyo Ohka Kogya, which jointly
developed the coated plates, claim that the plates can replace conventional aluminum plates that produce
hazardous wastewater after use and must be discarded.


Price

Japanese unit sales prices for titanium dioxide are shown in the following table:

              Japanese Unit Sales Prices for Titanium Dioxide
                                     Anatase                                  Rutile
                            Yen per         Dollars per            Yen per         Dollars per           Exchange Rate
                           Kilogram          Kilogram             Kilogram          Kilogram             (yen per dollar)
              1995              296                3.15                376                4.00                        94
              2000              311                2.88                334                3.09                       108
              2001              321                2.63                336                2.75                       122
              2002              309                2.47                333                2.66                       125
              2003              296                2.55                334                2.88                       116
              2004              289                2.68                332                3.07                       108
              2005              271                2.46                308                2.80                       110
              2006              272                2.34                297                2.56                       116
              2007              274                2.32                299                2.53                       118
              2008              281                2.73                305                2.96                       103
              2009              291                3.11                288                3.08                      93.6
              2010              298                3.40                282                3.21                      87.8
              2011              299                3.75                306                3.83                      79.8
              2012              340                4.26                335                4.21                      79.7
              2013              342                3.50                328                3.36                      97.6
              2014a             342                3.26                333                3.18                     104.7
              a. Data for 2014 are estimated.
              Sources:
              (A) Ministry of Economy, Trade and Industry (data for Yen per Kilogram).
              (B) International Financial Statistics, International Monetary Fund (data for Exchange Rate).
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Unit sales prices for anatase and rutile titanium dioxide remained at around 300 yen per kilogram from
2000 to 2008 due to fulfilled demand by domestically produced TiO2. After the economic downturn in
2008, titanium ore supply decline, which caused an increase in titanium dioxide raw materials prices. As a
result, the price of anatase and rutile titanium dioxide increased to 330–340 yen per kilogram.


Trade

Japan has traditionally been a net exporter of titanium dioxide. The following table presents Japanese
trade in titanium dioxide:
                                                                            a
                     Japanese Trade in Titanium Dioxide
                     (thousands of metric tons, gross weight)
                                                          Imports                                     Exports
                     1965                                       --                                       39.1
                     1970                                          --                                        40.8
                     1975                                        7.6                                         31.7
                     1980                                       20.7                                         40.0
                     1985                                       42.2                                         59.3
                     1990                                       65.2                                         90.9
                     1995                                       86.7                                         77.7
                     2000                                       72.7                                         89.1
                     2001                                       68.6                                         79.1
                     2002                                       61.0                                         99.2
                     2003                                       64.2                                     100.0
                     2004                                       71.5                                     103.7
                     2005                                       65.9                                         96.7
                     2006                                       68.4                                         97.0
                     2007                                       71.2                                     102.6
                     2008                                       70.7                                         84.3
                     2009                                       65.3                                         66.5
                     2010                                       82.8                                         91.5
                     2011                                       77.4                                         85.5
                     2012                                       68.6                                         62.2
                     2013                                       74.4                                      70.9
                     2014b                                      92.8                                     102.5

                     a. Data are for the fiscal year beginning on April 1 of the year indicated for
                     1965–93, and for calendar year for 1994–2011. In the 1970s, export data are
                     believed to include substantial portions of beneficiated ilmenite. Data since
                     1999 have been reported under trade code numbers 2823 and 320611.

                     b. Data for 2014 are estimated based on January to November 2014 data.


                     Sources:
                     (A) Japan Exports & Imports, Japan Tariff Association (data for Imports for 1994–98).

                     (B) Japan Titanium Oxide Industry Association (data for Exports for 1965–98).

                     (C) Global Trade Atlas, Global Trade Information Services, Inc. (data for 1999–2014).
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The following table presents Japanese trade in titanium dioxide by country:

     Japanese Trade in Titanium Dioxide by Country of Origin and Destination
     (thousands of metric tons)
                                                                            a
                                                                Anatase
                                          b                                                         c
                             Imports                                                      Exports
                                   South                                                  South
             China France Korea Other Total                     China Indonesia Korea Taiwan Other                      Total
     1999      6.4     0.7  1.9   2.1 11.1                        6.5       1.3   7.0     7.7  8.7                       31.2
     2000      6.9          4.4          2.1      1.9   15.3          7.7           1.4     5.4           7.6     6.2    28.3
     2001      5.4          5.0          1.9      1.9   14.3          7.5           1.0     3.7           6.6     4.7    23.5
     2002      5.6          0.6          2.1      0.8    9.1          9.0           1.1     2.7           6.1     6.6    25.5
     2003      6.8          1.6          2.6      0.6   11.6      12.9              0.9     2.8           4.9     7.1    28.6
     2004      8.6          1.6          3.6      1.4   15.2      12.8              1.0     2.7           8.4     6.2    31.1
     2005      6.4          0.7          4.3      1.7   13.1          9.5           1.5     2.3           7.2     5.8    26.3
     2006      6.0          0.8          7.5      0.8   15.1          8.4           1.5     1.9           7.8     6.7    26.3
     2007      6.1          0.7          8.8      0.4   16.0      11.4              1.5     1.5           8.1     9.0    31.5
     2008      4.8          0.8          7.7      0.6   14.0          8.1           2.0     1.5           6.3     6.3    24.2
     2009      5.0          0.9          5.9      1.9   13.7          7.5           1.7     2.0           4.4     3.9    19.5
     2010      9.0          0.3          7.9      2.2   19.3          7.7           1.7     1.1           3.0     7.3    20.8
     2011      7.4          7.7          0.6      2.1   17.8          5.8           2.0     3.6           2.5     5.3    19.2
     2012      7.7          5.5          1.8      2.5   17.5          4.8           2.3     1.1           1.9     4.6    14.7
     2013      7.0          5.1          1.9      1.2   15.2          5.8           2.0     1.0           2.5     5.0    16.3
     2014      9.9          5.4          2.0      1.2   18.5          5.3           3.2     1.3           2.9     5.6    18.3


                                                                            d
                                                                 Rutile
                                                  e                                                        f
                                    Imports                                                      Exports
                                              United                                    South
              Australia     Taiwan             States   Other   Total           China   Korea     Taiwan        Other    Total
     1999         12.1          8.4              18.4    21.2    60.0            18.6     8.6        13.4        33.0     73.6
     2000            11.5         11.5           19.1    15.3    57.4            19.0      6.1          12.0     23.7    60.8
     2001            12.4         11.3           16.2    14.4    54.3            20.5      5.9          10.2     19.0    55.6
     2002            12.1          9.7           17.8    12.3    51.9            26.7      8.2          11.2     27.6    73.7
     2003            11.4          9.8           19.0    12.5    52.7            29.8      8.3           9.8     23.5    71.4
     2004            10.5         12.1           20.9    12.8    56.3            28.8      8.0           9.6     26.2    72.6
     2005             7.9         12.6           20.5    11.8    52.8            25.2      9.1           8.2     27.9    70.4
     2006             7.9         11.5           22.0    11.9    53.3            27.1      8.0           8.8     26.8    70.7
     2007             7.9         12.3           23.5    11.5    55.2            30.3      7.5           7.5     25.8    71.1
     2008             6.3         13.6           24.8    12.1    56.8            24.0      6.1           5.4     24.6    60.1
     2009             5.2         13.9           24.5     8.0    51.6            18.6      3.8           3.3     21.3    47.0
     2010             6.1         16.1           29.8    11.5    63.5            23.0      7.3           8.7     31.7    70.7
     2011             4.6         14.3           26.8    13.9    59.6            23.0      7.3           8.7     27.2    66.2
     2012             4.2          9.7           24.9    12.3    51.1            23.0      7.3           8.7      8.5    47.5
     2013             5.2         17.1           24.0    12.9    59.2            23.0      7.3           8.7     15.6    54.6
     2014             7.2         26.6           24.5    16.0    74.3            21.1     12.1           8.9     42.1    84.2



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        a. Reported under code # 282300000.
        b. Mainly anatase.
        c. Includes anatase unfinished materials and other.
        d. Reported under code # 320611000.
        e. Mainly rutile.
        f. Mainly rutile; includes some ultrafine grades.
        Sources:
        (A) Japan Exports & Imports, Japan Tariff Association (data for 1999–2007).
        (B) Global Trade Atlas, Global Trade Information Services, Inc. (data for 2008–11).
                                                                                                © 2015 IHS



The main importing country for anatase titanium dioxide was China (accounting for more than 51% of
total imports), followed by South Korea (27%), and France in 2014. Compared with decreased ilmenite
imports, imports of both anatase and rutile titanium dioxide have increased continuously in recent years.
Imports of rutile titanium dioxide is mainly from Taiwan (26.6%), followed by the United States (24.5%),
and Australia in 2014.


Other Asia

Raw Materials

India

Indian reserves account for 28.5% of the world’s reserve base of ilmenite—85 million metric tons of
contained TiO2 of over 700 million metric tons worldwide. The country’s deposits have been worked
since before World War II. The original Indian ilmenite was high in TiO2 (65%), but also contained
relatively high amounts of chromium and vanadium, which tended to impart a yellow tint to the TiO2
pigment made from it. Consequently, markets for Indian ilmenite diminished except for domestic
consumption. However, because of its high TiO2 content, this ilmenite is suitable for additional
processing into synthetic rutile. India also produces upgraded ilmenite that is exported to Japan and other
countries.

The following table presents Indian producers of titanium dioxide raw materials:




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 Indian Producers of Titanium Dioxide Raw Materials—2014
                                                                    Annual Capacity
                                                               (thousands of metric tons,
                                                                     gross weight)
                     Company and                                               Synthetic
                     Mine Location                            Ilmenite Rutile            Rutile                     Remarks
 Beach Minerals Co. Pbt. LTd.
     Kuttam, Tamil Nadu                                          150           --          --        49–51% TiO2.
 Cochin Minerals and Rutile Limited (CMRL)

     Edayar, Kerala                                                --          --          50
 DCW Ltd.
   Sahupuram, Tamil Nadu                                           --          --          48        Product contains 95% TiO2 from
                                                                                                     Ilmenite. Started in 1970.
 Indian Rare Earths Ltd. (IREL)                                                                      Government-owned entity.
   Chatrapur, Orissa                                             220           --          --        50.25% TiO2.
   Chatrapur, Orissa                                               --         10           --        94.25% TiO2.
   Chatrapur, Orissa                                               --          --         100        90.5% TiO2.
   Chavara, Kerala                                               154           --          --        59% TiO2 from ilmenite.
   Chavara, Kerala                                                 --         10           --        95% TiO2 from rutile.
   Manavalakurichi, Tamil Nadu                                    90           --          --        55% TiO2 from Ilmenite. Expanding
                                                                                                     capacity by 100 thousand metric
                                                                                                     tons per year.
   Manavalakurichi, Tamil Nadu                                     --          4           --        94% TiO2 from rutile.
 Kerala Minerals and Metals Ltd. (KMML)
  Chavara, Kerala                                                  --          --          50        92–93% TiO2.
  Chavara, Kerala                                                 63           --          --        59.88% TiO2 chloride process.
   Chavara, Kerala                                                 --          4           --        93.20% TiO2.
 Travancore Titanium Products Ltd. (TTPL)                                                            97.5% TiO2, sulfate process.
                                                                                                     Established in 1946.
     Kochuveli, Kerala                                             --         na           --
 V.V. Minerals
   Kanyakumari, Tamil Nadu                                       450           --          --        51.0–52.5% TiO2.
   Kanyakumari, Tamil Nadu                                         --         12           --        95% TiO2. Formerly Kilburn
                                                                                                     Chemicals.
 Total                                                          1,127         40          248
 Source: Indian Minerals Yearbook, Government of India, Ministry of Mines, Indian Bureau of Mines.
                                                                                                                                  © 2015 IHS



The following table presents Indian production of ilmenite and rutile:




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                                                                                     a
                         Indian Production of Ilmenite and Rutile
                         (thousands of metric tons)
                                                         Ilmenite                              Rutile
                         1980                                168                                    5
                         1985                                  143                                    6
                         1990                                    na                                  13
                         1995                                  170                                   13
                         2000                                  205                                   15
                         2001                                  232                                   16
                         2002                                  250                                   15
                         2003                                  270                                   17
                         2004                                  250                                   15
                         2005                                  297                                   18
                         2006                                  313                                   18
                         2007                                  432                                   20
                         2008                                  378                                   20
                         2009                                  420                                   20
                         2010                                  540                                   20
                         2011                                  540                                   16
                         2012                                  540                                   16
                         2013                                  542                                   16
                         2014                                  550                                   17
                         a. Data are for the fiscal year, which begins April 1 of the year
                         indicated.
                         b. Data from 2011 to 2014 are estimates.
                         Source: Minerals Yearbook-Titanium, U.S. Department of the Interior, U.S.
                         Geological Survey.


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Production of ilmenite has increased since 1998 due to the Indian government allowing private company
participation. In 2000, VV Minerals became the first private company to get an export license.




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                                                                                                a
                    Indian Exports of Titanium Ores And Concentrates
                    (thousands of metric tons)
                                                                                South
                                China        Japan      Netherlands             Korea         Other        Total
                    2000            --           6                1                 --           50          58
                    2001              --          17                  21              --        56             94
                    2002              --          27                   --                 0     31             58
                    2003               1          26                    0                 0    161           187
                    2004             40           45                  81             42        234           442
                    2005             40           52                  61             25        269           447
                    2006             21           49                  46             50        188           354
                    2007             57           47                  12             35         87           239
                    2008             38           64                  61             30         61           253
                    2009            224           46                106              35             8        420
                    2010            551         314                 127              32        116         1,139
                    2011         1,041            97                141              89        100         1,469
                    2012            520         125                 151              36         49           882
                    2013            362           64                160              30        107           723
                    2014b           327           95                181              58        103           765
                    a. Reported under code # 261400.
                    b. Data for 2014 are estimated based on partial data of January-June.
                    Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                        © 2015 IHS



Exports of titanium dioxide ores from India are mainly to China (42.7%), followed by the Netherlands
(23.7%), and Malaysia (13.3%) in 2014.


Malaysia

In Malaysia, several tin producers recover heavy mineral sands containing titanium ores; when tin prices
rise, ilmenite production tends to increase as well. Two companies that recover ilmenite from tin mining
are TOR Minerals International (Ipoh) and Beh Minerals (Lahat and Perak). TOR Minerals produces
synthetic rutile that is sold as HITOX® TiO2 pigment, which is described in the Introduction section.
Production is sold through trading companies.


Sri Lanka

Lanka Mineral Sands Limited produces ilmenite, with a capacity of 90 thousand metric tons; rutile, with a
capacity of 9 thousand metric tons; and hi titanium ilmenite, with a capacity of 4 thousand metric tons at
Pulmoddai and Trincomalee plants. The ilmenite assays at 54% TiO2 content and reserves are estimated
to be 3.25 million metric tons.




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Vietnam

The Vietnamese coastline has sand deposits that contain ilmenite, rutile, and other heavy minerals. The
following table presents Vietnames producers of titanium dioxide raw materials:

   Vietnamese Producers of Titanium Dioxide Raw Materials—2014
                                             Annual Capacity
                                        (thousands of metric tons,
                                              gross weight)
               Company and                              Synthetic
               Mine Location            Ilmenite Rutile     Rutile                  Remarks
   Bimal Minerals Co. Ltd.
     Cat Khanh, Qui Nhon, and              70       --        --     Malaysia Mining Corp, and Syarikat
     Binh Dinh Provinces                                             Pendorong Sdn, Phd., 60% and Binh
                                                                     Dinh Minerals CO., 40%. Cat Khanh
                                                                     mine.
   Ha Tinh Minerals and Trading Co.
    Cam Hoa Ky Annh-Cam,                  450       na        --     TiO2 54% of ilmenite and 83% of rutile.
    Suyen Ky Khan, and Ky Ninh,                                      Cao Bang Mine.
    Ha Tinh Province
   Mineral Development Co.
   No.4 and No. 5
    Quang Ngan, Vinh My in Thua            50       --        --     Wholly owned subsidiary of state-
    Thien-Hu Province; Tuy Hoa, Dong                                 owned Vietnam National Minerals Corp.
    Xuan in Phu Yen Province; Vinh                                   (VIMICO). Vinh City mine.
    City, Nghe An Province



   Total                                     520
   Source: JOGMEC.
                                                                                                    © 2015 IHS



Estimated reserves of ilmenite in Vietnam are believed to be 1,600 thousand metric tons and more.
Ilmenite is produced in state-owned mines in Vietnam. Exports were mainly to China, Japan, South
Korea, and Thailand in 2014. Vietnam was the largest exporter of ilmenite to China until July 2013.
However, total exports have rapidly decreased and are expected to drop to 250 thousand metric tons in
2015. In early 2009, the Vietnamese government set out a number of restrictions, such as the halt of
exports of unprocessed ilmenite. In addition, exports of deeply processed titanium ore must be approved
by the Prime Ministry.

The following table presents Vietnames production of ilmenite and rutile:




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                                                                                              a
                         Vietnamese Production of Ilmenite and Rutile
                         (thousands of metric tons)
                                                         Ilmenite                                 Rutile
                         1995                                 50                                       --
                         2000                                  174                                     --
                         2001                                  180                                     --
                         2002                                  180                                     --
                         2003                                  314                                     --
                         2004                                  550                                     0
                         2005                                  523                                     0
                         2006                                  605                                     0
                         2007                                  654                                     1
                         2008                                  710                                     1
                         2009                                  699                                     1
                         2010                                  912                                     1
                         2011                                  841                                     --
                         2012                               1,144                                      --
                                a
                         2013                               1,170                                      --
                              a
                         2014                               1,180                                      --
                         a. Data for 2013 and 2014 are estimates.
                         Source: Minerals Yearbook-Titanium, U.S. Department of the Interior, U.S.
                         Geological Survey.
                                                                                            © 2015 IHS



Ilmenite exports from Vietnam were mainly to Asian countries, such as China, Japan, South Korea, India,
Taiwan, and Malaysia until 2010. China is still the main destination.


Titanium dioxide

Producing companies

The following table presents Other Asian producers of titanium dioxide (excluding Japan and China):




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 Other Asian Producers of Titanium Dioxide
                                          Average
                                      Annual Capacity         Raw         Product
                                       (thousands of         Material       and
                            Plant
                                        metric tons)          and          Trade
     Company              Location    2014      2019         Process       Names                  Remarks
 India
 Kerala Minerals        Quilon,        40           40     Chloride       kemox     The state-owned plant uses Kerr-
 and Metals Ltd.        Kerala                             Process                  McGee’s chloride process. In
 (KMML)                                                                             August 2008, announced plans to
                                                                                    upgrade facilities to produce 40
                                                                                    thousand metric tons per year and
                                                                                    to produce synthetic rutile
                                                                                    feedstock.
 Kolmak                 Kalyani,       3.6          3.6    Sulfate and              Makes anatase grade in own
 Chemicals              West                               domestic                 sulfate process.
 Ltd.                   Bengal                             ilmenite and
                                                           sulfate
                                                           process
 Travancore             Thrivanthap    17     17           Domestic                 Makes anatase grade in Tioxide
 Titanium               uram,                              ilmenite and             sulfate process. Has announced
 Products Ltd.          Kerala                             Sulfate                  an expansion to 27 thousand
 (TTPL)                                                    Process.                 metric tons per year, but no
                                                                                    timetable has been reported.

 VVti Pigments          Tuticorin,     25     25                                    Formerly Kilburn Chemicals.
 PVT.                   Tamil Nadu                         Sulfate                  Feedstock is Indian ilmenite.
 Ltd.                                                      Process.                 Makes anatase grade in own
                                                                                    sulfate process.
 Total India                          85.6         85.6
 Malaysia
 Huntsman               Kemaman        60     60           Sulfate                  Feedstock is Australian ilmenite
 Pigments                                                  Process.                 (60% TiO2).
 South Korea
 Cosmo                  Inchon         30     30           Sulfate                  Produces anatase pigment.
 Titanium                                                  Process.                 Changed name from Hancook
 Ind., Co., Ltd.                                                                    Titanium Industries in 2003. Plant
                                                                                    produces 6 thousand metric tons
                                                                                    of TiO2 per year for fiber
                                                                                    production.
                        Ulsan          30     30           Sulfate                  Produces special grades such as
                                                           Process.                 general anatase and anatase for
                                                                                    textile processing. Plans to
                                                                                    eventually produce rutile TiO2.

 Taiwan
 DuPont                 Kuanyin       160     160          Chloride                 Plant is a major exporter to China.
 Taiwan                 Hsiang,                            Process.                 Company name will be changed to
 Ltd.                   Taoyuan                                                     Chemars in July 2015.
                        Hsien
 Total                                365.6        365.6
 a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance
 schedules, and changing environmental requirements.
 Source: IHS Chemical estimates.

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A number of projects have been proposed in India, due to its ample supply of native ilmenite, but
currently there are only four major producers of TiO2, with a total capacity of 86 thousand metric tons per
year. KMML is the only producer of rutile-grade titanium dioxide in India.

Other projects have been evaluated for Vietnam due to its ample supply of feedstocks, but currently there
is no production.


Salient statistics

The following table presents Other Asian supply/demand for titanium dioxide in 2011 and 2014
(excluding Japan and China):

                     Other Asian Supply/Demand for Titanium Dioxide
                     (thousands of metric tons)
                                                                         2011
                                           Production         Imports       Exports   Consumption
                     India                         52            146            69            130
                     Indonesia                           --         83            0              83
                     Malaysia                           43          30           42              31
                     Philippines                         --         34            0              34
                     Singapore                          45          44           69              20
                     South Korea                        46       139             39            146
                     Taiwan                            138          64          150              51
                     Thailand                            --         91            2              89
                     Other                               --         70            1              69
                     Total                             325       701            372           654


                                                                         2014
                                           Production         Imports       Exports   Consumption
                     India                         48            151            62            136
                     Indonesia                           --         82            0              82
                     Malaysia                           31          53           50              34
                     Philippines                         --         33            0              33
                     Singapore                           --         35           24              12
                     South Korea                        44       140             34            150
                     Taiwan                            145          55          145              55
                     Thailand                            --         88            1              87
                     Other                               --         98            2              96
                     Total                             268       735            319           685
                     Source: IHS Chemical estimates.
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Future consumption should grow at about 4% per year.




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India

The following table presents Indian supply/demand for titanium dioxide:

                      Indian Supply/Demand for Titanium Dioxide
                      (thousands of metric tons)
                                   Production              Imports           Exports          Consumption
                      2000                 43                  22                  1                   64
                      2001                     43                 26                  2                            66
                      2002                     48                 39                  7                            80
                      2003                     50                 43                  7                            85
                      2004                     52                 53                 17                            88
                      2005                     61                 67                 43                            85
                      2006                     63                 59                 21                           101
                      2007                     59                 73                 28                           104
                      2008                     53                 80                 41                            92
                      2009                     61                 85                 32                           114
                      2010                     64                118                 57                           126
                      2011                     52                146                 69                           130
                      2012                     50                133                 55                           128
                      2013                     53                136                 48                           140
                      2014a                    48                151                 62                           136

                      a. Data for 2014 are estimated based on January to September 2014 data.
                      Sources:
                      (A) IHS Chemical estimates (data for Production and Consumption).
                      (B) Global Trade Atlas, Global Trade Information Services, Inc. (data for Imports and
                      Exports).
                                                                                                      © 2013 IHS



In India, production of TiO2 has been 48–55 thousand metric tons in recent years, while consumption has
been 120–140 thousand metric tons. Imports continue to rise to meet increasing demand. The Indian
government has tried to encourage foreign investors to build TiO2 capacity, as there are plentiful supplies
of ilmenite. In 2014, consumption of TiO2 was as follows:

                           Indian Consumption of Titanium Dioxide—2014
                           (percent)
                           Paints and Coatings                                                           66
                           Plastics                                                                      22
                           Printing Inks                                                                      3
                                   a
                           Other                                                                              9
                           Total                                                                     100%
                           a. Includes paper, leather, ceramics, and miscellaneous uses.
                           Source: IHS Chemical estimates.
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Per capita consumption has been approximately 0.05 kilogram in recent years. For the next five years,
consumption of TiO2 is expected to increase at 8.5–9% annually as the paint and coatings industry
continues to grow strongly.

Imports are mainly from Taiwan, China, the United States, and Australia. Exports are mainly to Japan and
Singapore.

Malaysia

Malaysian supply and demand for titanium dioxide is shown in the following table:

                      Malaysian Supply/Demand for Titanium Dioxide
                      (thousands of metric tons)
                                   Production           Imports         Exports           Consumption
                      2005                 50               31              57                     24
                      2006                     60               21              57                         25
                      2007                     50               22              44                         28
                      2008                     45               19              36                         28
                      2009                     47               20              41                         26
                      2010                     51               27              49                         29
                      2011                     43               30              42                         31
                      2012                     41               31              40                         32
                      2013                     39               47              53                         33
                      2014                     31               53              50                         34
                      Sources:
                      (A) IHS Chemical estimates (data for Production and Consumption).
                      (B) IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                      Information Services, Inc. (data for Imports and Exports).
                                                                                                © 2015 IHS



Huntsman is the only producer of TiO2 in Malaysia, with an estimated operating rate of around 55–65%
in recent years. Per capita consumption in Malaysia was approximately 1.1 kilograms in recent years. For
the next five years, consumption of TiO2 is expected to increase at 5.0–5.5% annually.

Singapore

Singaporean supply and demand for titanium dioxide is shown in the following table:




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                       Singaporean Supply/Demand for Titanium Dioxide
                       (thousands of metric tons)
                                    Production           Imports         Exports           Consumption
                       2000                 26               23              35                     14
                       2001                     29               29              42                         15
                       2002                     30               36              52                         14
                       2003                     43               38              65                         16
                       2004                     45               37              65                         17
                       2005                     50               35              67                         18
                       2006                     48               42              73                         17
                       2007                     50               43              77                         16
                       2008                     48               45              75                         18
                       2009                     52               40              76                         16
                       2010                     44               43              70                         17
                       2011                     45               44              69                         20
                       2012                     48               41              69                         20
                       2013                     37               36              54                         19
                       2014                      --              35              24                         12
                       Sources:
                       (A) IHS Chemical estimates (data for Production and Consumption).
                       (B) IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                       Information Services, Inc. (data for Imports and Exports).
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ISK Singapore Ptd. Ltd., the sole producer of chloride-route titanium dioxide in Singapore, was shut
down in August 2013 due to a sharp increase in feedstock prices and worldwide sluggish demand for
titanium dioxide. Ishihara decided to consolidate titanium dioxide production within its existing plant at
Yokkaichi, Japan.

Per capita consumption was approximately 3.5 kilograms in recent years. Imports of TiO2 are mainly
from the United States and Taiwan, and exports are mainly to India, Indonesia, South Korea, and other
Asian countries. For the next five years, consumption of TiO2 is expected to increase at 5–6% annually.

South Korea

South Korean supply and demand for titanium dioxide is shown in the following table:




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                      South Korean Supply/Demand for Titanium Dioxide
                      (thousands of metric tons)
                                   Production           Imports         Exports           Consumption
                      2000                 42              100              26                    116
                      2001                     42             104               27                    119
                      2002                     21             128               29                    120
                      2003                     30             118               28                    120
                      2004                     44             115               35                    124
                      2005                     43             110               36                    117
                      2006                     52             117               40                    128
                      2007                     56             118               41                    133
                      2008                     50             123               35                    137
                      2009                     51             111               34                    128
                      2010                     45             139               39                    145
                      2011                     46             139               39                    146
                      2012                     45             117               33                    129
                      2013                     45             132               37                    140
                      2014                     44             140               34                    150
                      Sources:
                      (A) IHS Chemical estimates (data for Production and Consumption).
                      (B) IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                      Information Services, Inc. (data for Imports and Exports).
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Operating rate of titanium dioxide production in the Republic of Korea has been around 75–78% in recent
years. Imports are fulfilling total demand for TiO2. Imports are mainly rutile from the United States,
China, and Japan. In 2005, South Korea imposed antidumping measures against Chinese imports of
titanium dioxide, but in mid-2011, the government rescinded the ruling, as it found that prices were high
enough so as not to threaten domestic producers. For the next five years, consumption for TiO2 is
expected to be 0.6–1.0% annually. Per capita consumption was approximately 3.0 kilograms in recent
years.

Taiwan

Taiwanese supply and demand for titanium dioxide is shown in the following table:




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                      Taiwanese Supply/Demand for Titanium Dioxide
                      (thousands of metric tons)
                                   Production           Imports         Exports           Consumption
                      2000                100               58              90                     68
                      2001                   108                53              95                         66
                      2002                   102                60              97                         65
                      2003                   124                57            113                          68
                      2004                   120                63            117                          66
                      2005                   125                56            125                          56
                      2006                   135                63            135                          63
                      2007                   145                61            144                          62
                      2008                   150                56            149                          57
                      2009                   150                46            145                          51
                      2010                   150                63            167                          46
                      2011                   138                64            150                          51
                      2012                   135                46              98                         83
                      2013                   145                56            127                          74
                      2014                   145                55            145                          55
                      Sources:
                      (A) IHS Chemical estimates (data for Production and Consumption).
                      (B) IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                      Information Services, Inc. (data for Imports and Exports).
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Per capita consumption of titanium dioxide in Taiwan was approximately 2.5 kilograms in 2014. Imports
of TiO2 were mainly from the United States (43.9%), while exports are mainly to China, India, Japan,
South Korea, and other Asian countries. For the next five years, consumption of TiO2 is expected to
increase at 4–5% annually.

Exports of titanium dioxide from Taiwan are shown in the following table:




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                                                                            a
                Taiwanese Exports of Titanium Dioxide
                (thousands of metric tons)
                                                                           South
                           China India Japan Singapore                     Korea Thailand Other              Total
                2000          33     7    11         3                        14        3    18                89
                2001          32     6    11         5                        18        3    17                93
                2002          39     8    10         4                        14        4    16                95
                2003          54     9    10         5                        15        6    12               112
                2004          51    12    12         5                        15        7    12               116
                2005          56    13    12         3                        15        6    17               123
                2006          67    14    12         5                        12        8    15               133
                2007          74    17    12         6                        13        7    12               142
                2008          61    21    14         8                        21        9    15               148
                2009          66    26    14         5                        12        8    14               144
                2010          74    31    16         6                        15       10    14               165
                2011          56    37    14         5                        11        7    18               149
                2012          48    21    10         2                         1        6     8                97
                2013          50    27    17         4                         1       10    16               126
                2014b         57    25    21         6                         4       12    18               145
                a. Reported under code # 320611.
                b. Data for 2014 are estimated based on January to October 2014 data.
                Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                        © 2015 IHS


Trade

Recent imports into Other Asian countries are as follows:

                          Other Asian Imports of Titanium Dioxide
                          (thousands of metric tons)
                                        Indonesia          Philippines           Thailand         Othera
                          2000                 43                   27                 41             --
                          2001                 37                   24                 40             --
                          2002                 39                   28                 53             --
                          2003                 33                   30                 56             --
                          2004                 48                   30                 71             --
                          2005                 44                   25                 64            56
                          2006                 60                   24                 69            50
                          2007                 52                   30                 75            59
                          2008                 60                   30                 77            46
                          2009                 54                   31                 70            60
                          2010                 72                   36                 94            74
                          2011                 83                   34                 91            70
                          2012                 78                   20                 80            61
                          2013                 83                   24                 86            68
                          2014                 82                   33                 88            98
                          a. Other includes Bangladesh, Sri Lanka, Pakistan, and Vietnam.
                          Source: Global Trade Atlas, Global Trade Information Services, Inc.
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Imports of TiO2 into other Asian countries in recent years are as follows: Vietnam—30–40 thousand
metric tons; Pakistan—25–30 thousand metric tons; Bangladesh—6–7 thousand metric tons per year; and
Sri Lanka—5–8 thousand metric tons per year.


Price

The table below shows how Asian prices have fluctuated:

                  Average Asian Market Prices for Titanium Dioxide Pigment
                  (dollars per metric ton)
                  2009
                    Average                                                          1,763
                  2010
                    Average                                                          2,225
                  2011
                    Average                                                          2,638
                  2012
                    Average                                                          2,850
                  2013
                    1st Quarter                                                      3,065
                    2d Quarter                                                       2,850
                    3d Quarter                                                       2,850
                    4th Quarter                                                      2,850
                  2014                                                               3,138
                    1st Quarter                                                      3,205
                    2d Quarter                                                       3,140
                    3d Quarter                                                       2,850
                    4th Quarter                                                      2,850
                  Source: IHS Chemical estimates.
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Oceania

Raw materials

Australia is a major source of raw materials for titanium dioxide pigments, accounting for about 14% of
world production of ilmenite and 58–59% of world production of rutile. Deposits on the east coast are
becoming more costly to mine than those on the west coast because of a lower concentration of heavy
minerals in the deposits being worked, but some of the coproduced ilmenite is now used to make
synthetic rutile. Producers claim that 45% of the known high-grade rutile reserves on Australia’s east
coast are not accessible because of environmental restrictions. With an abundance of upgradeable
ilmenite, Western Australia has several mines and heavy sand processing plants.

The following table presents Australian producers of titanium dioxide raw materials:




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 Australian Producers of Titanium Dioxide Raw Materials—2014
                                         Annual Capacity
                                      (thousands of metric
             Capacity                   tons, gross weight)
           Mine Location          Ilmenite    Rutile Leucoxene                         Remarks
 Cristal
   Ginkgo (Murray Basin),            400        63          58    Formerly Bemax, was incorporated in Australia in
   Western Australia                                              1987. Cristal Australia Pty Ltd is a wholly-owned
                                                                  subsidiary of the Naiotnal Titanium Dioxide
                                                                  Company Limited (Cristal).
 Doral Mineral Sands
   Bunbury,                          110        --          5     Started in 2002. Exports to the United States, the
   Western Australia                                              Republic of Korea, Taiwan, and India. A major
                                                                  customer is DuPont in the United States.

 Iluka Resources Ltd.
   Murray Basin, Victoria             --      >225          2     Production started ramping up after operation
                                                                  started in 2006.
   Perth Basin,                     1,234       77          --    Also production capacity for synthetic rutile.
   Western Australia
 Sibelco Australiaa
   North Stradbroke Island           174        80          --    Owned 51% by Iluka Resources. Major customers
                                                                  are DuPont in the United States and Tioxide in the
                                                                  United Kingdom.
 Tronox
     Chandala,                       450        37          20    Formerly a joint venture between Tronox and
     Western Australia                                            subsidiaries of Exxaro Australia Sands, which
     Cooljarlooa,                                                 became wholly owned by Tronox in 2011 when
     Western Australia                                            Tronox acquired Exxaro Resources’ mineral sands
                                                                  operations. Output from KZN Sands and Namakwa
                                                                  Sands mines is transported to Chandala plant,
                                                                  where some ilmenite is upgraded to synthetic rutile
                                                                  (220 thousand metric tons annually). About 50% of
                                                                  the synthetic rutile is processed at Tronox’s
                                                                  Kwinana TiO2 plant and the rest is exported.


 Total                              2,368      482          85
 a. Formerly Uniminm (Consolidated Rutilte Limited/ CRL).
Source: IHS Chemical estimates.
                                                                                                             © 2015 IHS



In mid-2008, Cristal, the TiO2 producer based in Saudi Arabia, acquired 55.5% of Bemax, which added to
the 34.5% of Bemax it already owned. Cristal uses the production to feed the TiO2 plant in Kemerton and
the new smelting plant in Saudi Arabia. The company also plans to expand its mineral sands operations in
Australia.

Sibelco Australia, formerly consolidated Rutile Limited (CRL), was acquired in 2009 by Australian
minerals mining company Unimin Australia Limited. In 2011, Unimin Australia changed its name to
Sibelco Australia.




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The following table presents Australian production of ilmenite, rutile, and synthetic rutile:

                                                                                                                a
                 Australian Production of Ilmenite, Rutile, and Synthetic Rutile
                 (thousands of metric tons)
                                           Ilmenite                     Rutile                    Synthetic Rutile
                 1970                          863                        368                                    --
                 1975                            991                       348                                       32
                 1980                         1,385                        312                                        53
                 1985                         1,419                        212                                        na
                 1990                         1,602                          na                                       na
                 1995                         1,030                        220                                        na
                 2000                         1,100                        226                                       650
                 2001                         1,150                        220                                        na
                 2002                         1,100                        218                                        na
                 2003                         1,170                        164                                       666
                 2004                         1,090                        160                                       608
                 2005                         1,140                        160                                        na
                 2006                         1,330                        207                                        na
                 2007                         1,400                        297                                        na
                 2008                         1,320                        309                                        na
                 2009                         1,210                        266                                        na
                 2010                            991                       361                                       na
                 2011                            900                       440                                       na
                 2012                            940                       480                                       na
                 2013                            940                       450                                       na
                 2014a                           940                       450                                       na
                 a. Data for 2014 are estimates.
                 Sources:
                 (A) Quarterly Bulletin of Mineral Sands Statistics, Australian Bureau of Mineral Resources, Geology and
                 Geophysics (data for ilmenite and rutile for 1970-1985).
                 (B) Annual Report, Western Titanium and Associated Minerals Consolidated (datum for Synthetic Rutile
                 for 1975).
                 (C) IHS Chemical estimates (data for Synthetic Rutile for 1980 and 2003–04).
                 (D) Minerals Yearbook-Titanium, U.S. Department of the Interior, Bureau of Mines (data for ilmenite and
                 rutile for 1990–95).
                 (E) Quarterly Mineral Statistics, Australian Bureau of Agricultural and Resource Economics (ABARE)
                 (data for Synthetic Rutile for 1990–2000).
                 (F) Minerals Yearbook-Titanium, U.S. Department of the Interior, U.S. Geological Survey (data for
                 Ilmenite and Rutile for 1995–2011).
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Australia was one of the largest net-exporting countries for titanium ore, with about 800–1,000 thousand
metric tons from 2001 to 2007. However, exports from Australia have drastically decreased since 2008.




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Titanium dioxide

Producing companies

The following table presents Australian producers of titanium dioxide:

 Australian Producers of Titanium Dioxide
                                      Annual Capacity
                                          as of
                                                       a
                                      1 January 2014
           Company and                 (thousands of
          Plant Location                metric tons)       Process                       Remarks
Cristal Global                                                        Formerly known as Millennium Inorganic
                                                                      Chemicals, which was acquired in 2007. Trade
                                                                      name TiONA.
  Australind, Western Australia              100           Chloride   Start-up in 1988. Feedstock is synthetic
                                                                      Australian rutile.
Tronox                                                                Formerly known as TiWest, a joint venture
                                                                      between Tronox and Exxaro Australia Sands
                                                                      Pty. Tronox acquired the titanium feedstocks
                                                                      and TiWest interests of Exxaro in 2011.

  Kwinana                                    150           Chloride   Start-up in 1966. Feedstock is synthetic
                                                                      Australian rutile from captive mining operations.
                                                                      Uses Kerr-McGee process. Recently added a
                                                                      cogeneration plant. Expansion from 110
                                                                      thousand metric tons per year in 2009 cost
                                                                      AU$100 million.
Total                                        250
a. Capacities are somewhat flexible, and can be dependent on the variations in feedstock ores, product mixes, maintenance
schedules, and changing environmental requirements.
Source: IHS Chemical estimates.
                                                                                                               © 2015 IHS



Cristal Global started production of titanium dioxide in 1988. The major disadvantages to expanding TiO2
plants in Australia are substantially higher capital (about 30% higher than in the United States),
electricity, and chlorine costs than in competing areas. On the other hand, the transportation cost of
shipping pigment instead of ore is much less. Tronox also has titanium dioxide pigment capacity, with
more than 150 thousand metric tons of annual capacity in Kwinana.


Salient statistics

Oceanian supply and demand for titanium dioxide is shown in the following table:




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                       Oceanian Supply/Demand for Titanium Dioxide
                       (thousands metric of tons)
                                   Production           Imports        Exports         Consumption
                       2000               181               24            140                   65
                       2001                  181               25            132                      74
                       2002                  181               21            155                      46
                       2003                  181               23            150                      54
                       2004                  200               23            178                      45
                       2005                  200               25            174                      50
                       2006                  200               22            173                      49
                       2007                  200               26            177                      49
                       2008                  170               26            147                      50
                       2009                  210               18            179                      49
                       2010                  205               23            173                      55
                       2011                  225               24            195                      54
                       2012                  179               24            146                      56
                       2013                  198               28            169                      57
                       2014                  200               30            173                      57
                       Sources:
                       (A) IHS Chemical estimates (data for Production and Consumption).
                       (B) IHS Chemical estimates based on data from the Global Trade Atlas, Global Trade
                       Information Services, Inc. (data for Imports and Exports).
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Per capita consumption was approximately 2 kilograms in recent years. For the next five years,
consumption of TiO2 is expected to increase at 5–6% annually.


Trade

All imports of TiO2 into Australia are believed to be special grades of TiO2. Exports of titanium dioxide
from Australia are shown in the following table:




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                                                                     a
        Australian Exports of Titanium Dioxide
        (thousands metric of tons)
                                                                                       South
                   China India Indonesia               Malaysia          Philippines   Korea Thailand Other   Total
        2000          24     2         5                      3                    9      32        9    56    140
        2001            28        1               5              2                8       30       9     49    132
        2002            39        4               4              2               10       31      14     52    156
        2003            49        3               4              2                7       25      13     47    150
        2004            55        6               7              2                5       25      17     61    178
        2005            51      15                6              2                9       23      12     56    174
        2006            57      11                5              3                6       24      15     52    173
        2007            53      11                8              3                6       26      15     55    177
        2008            45      10                8              3                5       19      10     46    146
        2009            57      12                7              2               12       17      16     56    179
        2010            49      17               11              3               13       22      17     42    173
        2011            48      17               11             14               14       24      18     48    195
        2012            26      13                9             24                9        5      11     50    146
        2013            34      19               15             23               15        4      14     46    169
        2014b           43      30               13             18               15       11      23     19    173
        a. Reported under trade code # 320611.
        b. Data for 2014 are estimated based on January to August 2014 data.
        Source: Global Trade Atlas, Global Trade Information Services, Inc.
                                                                                                          © 2015 IHS



The main destination for exports of titanium dioxide from Australia is China, which accounted for more
than 25% of the total in 2014. Exports to India have increased in recent years.

In recent years, New Zealand has imported 8–10 thousand metric tons of titanium dioxide annually, with
most coming from Australia (50% of total imports) and Taiwan (24.5%).


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additional information that is pertinent to the subject of this report:

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